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                                                                                          The Honorable Tana Lin
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        5

        6                                 UNITED STATES DISTRICT COURT
                                    FOR THE WESTERN DISTRICT OF WASHINGTON
        7                                          AT SEATTLE
        8    CHEYANNE ROSA DIXSON,
                                                                 CASE NO. 2:24-cv-01673-TL
        9
                                             Plaintiff,
                                                                 DECLARATION OF JOHN LYNCH, MD
       10                                                        IN SUPPORT OF DEFENDANT CITY OF
                              v.
                                                                 ISSAQUAH’S MOTION FOR SUMMARY
       11                                                        JUDGMENT AND MOTION TO
             CITY OF ISSAQUAH, a municipal corporation           EXCLUDE DR. HARVEY RISCH
       12    in and for the State of Washington; MAYOR
             MARY LOU PAULY in her official capacity;
       13
             WALLY BOBKIEWICZ, City Administrator,
       14    in his official capacity; STEPHANIE
             JOHNSON, Human Resources Director, in her
       15    official capacity,
       16                                    Defendants.
       17

       18
                      I, John Lynch, MD, declare as follows:
       19
                      1.      I am over the age of 18 and am competent to testify to the following facts. I am a
       20
             board-certified physician in infectious disease, an active infectious diseases clinician, a Professor
       21
             of Medicine at the University of Washington (“UW”) School of Medicine, and an Associate
       22
             Medical Director of Harborview Medical Center. In my role as an Associate Medical Director, I
       23
             am responsible for Harborview Medical Center’s Infection Prevention & Control, Antimicrobial
       24
             Stewardship, Employee Health, and Sepsis programs. I also served on the Board of Directors of
       25
       26

             DECLARATION OF JOHN LYNCH, MD IN SUPPORT OF                           SUMMIT LAW GROUP, PLLC
             DEFENDANT CITY OF ISSAQUAH’S MOTION FOR                                 315 FIFTH AVENUE SOUTH, SUITE 1000
             SUMMARY JUDGMENT AND MOTION TO EXCLUDE                                   SEATTLE, WASHINGTON 98104-2682
             DR. HARVEY RISCH - 1                                                          Telephone: (206) 676-7000
             CASE NO. 2:24-cv-01673-TL                                                        Fax: (206) 676-7001
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        1    the Infectious Diseases Society of America (“IDSA”) from 2019–2022 and was recognized as a

        2    Fellow of IDSA (“FIDSA”) in 2020.

        3             2.          I was the Lead for the Medical-Technical Team for UW Medicine’s COVID-19

        4    Emergency Operations Center (“EOC”) from February 2020 until December 2023, when the

        5    Medical-Technical Team was no longer required. In that capacity, I helped guide UW Medicine’s

        6    response to the COVID-19 pandemic, including with respect to UW Medicine’s decision and

        7    policy to require COVID-19 vaccinations for its clinical employees.

        8             3.          I earned my Doctor of Medicine (“MD”) from the UW School of Medicine in 2002

        9    and my Master’s in Public Health (“MPH”) in epidemiology and global health from the UW

       10    School of Public Health in 2011. After completing my internship and residency in internal

       11    medicine at the Massachusetts General Hospital in 2005, I did my clinical fellowship in infectious

       12    diseases at the UW School of Medicine (2005–2009) and was a post-doctoral fellow in viral

       13    immunology in the laboratory of Dr. Julie Overbaugh at the Fred Hutchinson Cancer Research

       14    Center (now the Fred Hutchinson Cancer Center). I am an active teacher and have a long history

       15    of providing infectious diseases education for students, residents, fellows, physicians, nurses,

       16    pharmacists, many other types of healthcare workers, and the public.

       17             4.          A copy of my CV, which contains additional information regarding my

       18    qualifications and a list of publications I authored or co-authored, is attached as to this declaration

       19    as Exhibit A.

       20                                      I.   FACTS OR DATA CONSIDERED
       21             5.          In addition to the medical studies, public health data, and news reports cited herein

       22    and knowledge I have gained in my decades of working in clinical infectious diseases, infectious

       23    disease research, public health, and epidemiology, I considered the following materials in forming

       24    the opinions set forth in this declaration:

       25                     x   City of Issaquah (the “City”) Administrative Order, Update: COVID-19
       26                         (Coronavirus) Protection Plan & Policy Updates – August 10 and 20, 2021

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                              x   State of Washington, Office of the Governor, Proclamation by the Governor 21-
        1
                                  14.4.1
        2
                              x   City of Issaquah Police Officer Position Description.
        3
                              x   Cheyanne Dixon’s religious accommodation request form.
        4                     x   October 1, 2021 letter to Cheyanne Dixon from Stephanie Johnson regarding her
        5                         request for accommodation.
        6                     x   October 15, 2021 letter to Cheyanne Dixon from Stephanie Johnson regarding

        7                         additional safety protocols during the limited extension period.
                              x   October 18-19, 2021 email chain between Cheyanne Dixon, Lauren Knox, Scott
        8
                                  Behrbaum, and Paula Schwan regarding Plaintiff’s request for accommodation.
        9
                              x   October 19, 2021 email chain between Scott Behrbaum and Paula Schwan
       10
                                  regarding COVID Testing Oversight for Supervisors.
       11
                              x   January 5-6, 2022 email chain between Cheyanne Dixon, Stephanie Johnson, and
       12                         Paula Schwan regarding COVID testing.
       13                     x   February 2, 2022 Notice of Intent to Separate Employment to Cheyanne Rosa from
       14                         Wally Bobkiewicz.

       15                     x   February 14, 2022 Letter regarding separation of employment to Cheyanne Rosa
                                  from Mayor Pauly.
       16
                              x   The Memorandum of Understanding between the City and the Issaquah Police
       17
                                  Officers’ Association related to COVID-19.
       18
                              x   Deposition of Cheyanne Dixson, Dixson v. Issaquah, August 30, 2023, and exhibits
       19                         used during the deposition.
       20                     x   The declarations submitted in support of and in opposition to the Issaquah Police
       21                         Department’s Motion for Summary Judgment in Dixson v. Issaquah Police

       22                         Department, Case No. 2-22-cv-01771-RAJ.

       23             6.          I have also toured the Issaquah Police Department and Issaquah City Jail and

       24    reviewed photos of the same and officers’ cars.

       25
                1
                See https://governor.wa.gov/sites/default/files/proclamations/21-14.4%20-%20COVID-
       26    19%20Vax%20WA%20Amendment%20%28tmp%29.pdf.

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                                                II. THE COVID-19 PANDEMIC
        1
                      7.        COVID-19 is an infectious disease that can result in serious illness or death. It is
        2
             caused by the SARS-CoV-2 virus, which is a novel coronavirus not identified in humans prior to
        3
             December 2019 that spreads easily from person to person.
        4
                      8.        As I describe in more detail later in this declaration, the COVID-19 virus has
        5
             continued to evolve since it was first discovered in December 2019. As a result, there have been
        6
             (and continue to be) many variants of the virus, with each new variant more infectious than those
        7
             prior. While these variants have different characteristics, some characteristics have remained
        8
             consistent across the variants that have developed since December 2019. These characteristics
        9
             include:
       10                     x COVID-19 spreads mainly from person to person through very small airborne
       11                        respiratory droplets, usually referred to as aerosols, which are produced when an
       12                        infected person exhales, coughs, sneezes, or talks.

       13                     x There is a delay of at least a few days after exposure and infection before onset of
                                 symptoms.
       14
                              x People can spread the virus before their symptoms begin (pre-symptomatic
       15
                                 transmission) and during an asymptomatic infection which results in people
       16
                                 unknowingly spreading the virus to others. This is similar to other respiratory
       17                        viruses like influenza.
       18                     x Although many patients experience mild to moderate symptoms, or no symptoms,
       19                        some patients experience severe or critical illness requiring hospitalization and

       20                        intensive care treatment, such as the use of ventilators (intubation).
                              x A subset of those with severe disease will die. As of January 16, 2025, over
       21
                                 1.2 million people in the U.S. have died due to COVID-19.2 More than 16,200 have
       22
                                 died in Washington State.
       23
                              x Older adults and people of any age with certain underlying medical conditions are
       24                        at higher risk for severe COVID-19 illness.
       25
                2
               See U.S. Center for Disease Control and Prevention (CDC) National Center for Health Statistics, Provisional
       26    COVID-19 Mortality Surveillance, https://www.cdc.gov/nchs/nvss/vsrr/covid19/index.htm.

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                              x Some COVID-19 survivors experience long-term health complications (sometimes
        1
                                 called “long COVID”). These complications include the development of chronic
        2
                                 symptoms including debilitating fatigue and body system abnormalities affecting
        3                        the brain, heart, lungs, and other systems.
        4
                      9.        On January 20, 2020, the U.S. Centers for Disease Control & Prevention (“CDC”)
        5
             and the Washington State Department of Health (“DOH”) announced what was then believed to be
        6
             the first confirmed case of COVID-19 in the United States in Snohomish County, Washington.3, 4
        7
             By late February/early March, public health officials recognized the spread of COVID-19 in
        8
             Washington, including an individual with COVID-19 from Snohomish County who had not
        9
             traveled, and an outbreak in the Life Care Center, a skilled nursing facility in Kirkland, associated
       10
             with at least 167 cases and 43 deaths.5 On February 29, 2020, DOH announced that a patient had
       11
             died in the Evergreen Health Medical Center in Kirkland, which was then believed to be the first
       12
             COVID-19 death in the United States. (In April 2020, it was determined that the first known
       13
             COVID- 19 death had occurred in early February in California.)6
       14

       15

       16

       17

       18

       19
                3
       20        See CDC, CDC Museum COVID-19 Timeline, Mar. 14, 2023,
             https://www.cdc.gov/museum/timeline/covid19.html.
       21       4
                 See Heather P. McLaughlin, et al., COVID-19 Response Efforts of Washington State Public Health Laboratory:
             Lessons Learned, 111(5) Am. J. Public Health 867 (May 2021),
       22    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8034017/.
                5
                See Asia Fields & Paige Cornwell, Coronavirus killed hundreds at Washington state’s long-term care facilities.
       23
             Widespread testing may finally be near, Seattle Times, Apr. 18, 2020, https://www.seattletimes.com/seattle-
             news/coronavirus-killed-hundreds-at-washington-states-long-term-care-facilities-six-weeks-later-widespread-testing-
       24    may-finally-near/ (updated May 8, 2020).
       25       6
                See Thomas Fuller & Mike Baker, Coronavirus Death in California Came Weeks Before First Known U.S. Death,
             N.Y. Times (updated May 7, 2020), https://www.nytimes.com/2020/04/22/us/coronavirus-first-united-states-
       26    death.html.

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        1             10.     On January 30, 2020, the World Health Organization declared the COVID-19

        2    outbreak a “public health emergency of international concern.”7,8 On January 31, 2020, then-U.S.

        3    Health and Human Services Secretary Alex M. Azar II declared a public health emergency. 9, 10

        4             11.     Over the course of 2020, public health measures designed to limit the spread of

        5    COVID-19 (e.g., “lockdown” or “stay at home” policies, masking and testing requirements, and

        6    social distancing measures) caused enormous disruption to life and work in the United States and

        7    Washington State.

        8             12.     Since COVID-19 was first detected in the United States, it has disproportionately

        9    affected—both in terms of numbers of infections and numbers of severe cases leading to

       10    hospitalizations—certain groups, including the elderly, those with underlying health conditions,

       11    and incarcerated individuals.11 The Washington State Respiratory Illness Dashboard tracked

       12    outcomes for Washington residents by region throughout the pandemic, including hospitalizations

       13    and deaths due to COVID-19 in different demographic groups. In King County, for example, for

       14    people aged 65 or older, the hospitalization rate for COVID was 18.4 per 100,000 individuals,

       15    compared to less than 10 per 100,000 for all other younger age groups. Similarly, the death rate for

       16       7
                See World Health Organization, WHO Director-General’s statement on IHR Emergency Committee on Novel
             Coronavirus (2019-nCoV), January 30, 2020, https://www.who.int/director-general/speeches/detail/who-director-
       17
             general-s-statement-on-ihr-emergency-committee-on-novel-coronavirus-(2019-ncov). The World Health Organization
             declared that COVID-19 was an established and ongoing health issue which no longer constitutes a public health
       18    emergency of international concern on May 5, 2023.
                8
       19        See World Health Organization, Statement on the fifteenth meeting of the IHR (2005) Emergency Committee on
             the COVID-19 pandemic, May 5, 2023, https://www.who.int/news/item/05-05-2023-statement-on-the-fifteenth-
       20    meeting-of-the-international-health-regulations-(2005)-emergency-committee-regarding-the-coronavirus-disease-
             (covid-19)-pandemic.
       21       9
                See Administration for Strategic Preparedness and Response, Determination That a Public Health Emergency
             Exists, Jan. 31, 2020, https://aspr.hhs.gov/legal/PHE/Pages/2019-nCoV.aspx. The federal public health emergency
       22    expired on May 11, 2023.
                10
                  See Department of Health and Human Services, HHS Secretary Xavier Becerra Statement on End of COVID-19
       23
             Public Health Emergency, May 11, 2023, https://www.hhs.gov/about/news/2023/05/11/hhs-secretary-xavier-becerra-
             statement-on-end-of-the-covid-19-public-health-emergency.html.
       24
               11
                  See Lewis NM, Salmanson AP, Price A, Risk I, Guymon C, Wisner M, Gardner K, Fukunaga R, Schwitters A,
       25    Lambert L, Baggett HC, Ewetola R, Dunn AC. Community-Associated Outbreak of COVID-19 in a Correctional
             Facility - Utah, September 2020-January 2021. MMWR Morb Mortal Wkly Rep. 2021 Apr 2;70(13):467-472. doi:
       26    10.15585/mmwr.mm7013a2. PMID: 33793464; PMCID: PMC8022878.

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        1    those 65 years and older was 4.2 per 100,000, compared to less than 1 per 100,000 for the other

        2    age groups.12 These rates were consistent with trends elsewhere in Washington and nationally.13 In

        3    the United States as a whole, in January 2021, the COVID-19 hospitalization rate peaked at 21 per

        4    100,000 people and, after a decrease, rose again to 12.6 per 100,000 people in July 2021. Those

        5    over 65 years of age were disproportionately impacted in all areas of the US.14 COVID-19 also

        6    disproportionately affected members of certain racial and ethnic groups including Black, Hispanic,

        7    American Indian/Alaska Native, and Native Hawaiian/Pacific Islander.15 These disproportional

        8    impacts have been seen both nationally and in Washington State.16,17 Low-income populations and

        9    those experiencing disabilities have also been disproportionately impacted by COVID-19,

       10    especially those with underlying medical conditions or experiencing systemic health and social

       11    inequalities.18, 19

       12                13.      There was (and remains) wide consensus among public health officials that

       13    developing an effective COVID-19 vaccine was crucial to returning to some semblance of

       14    “normal life.”

       15

       16

       17
                12
                     See https://kingcounty.gov/en/dept/dph/health-safety/disease-illness/covid-19/data/covid-summary.
       18
                13
                 See https://data.cdc.gov/Public-Health-Surveillance/Rates-of-COVID-19-Cases-or-Deaths-by-Age-Group-
       19    and/3rge-nu2a/about_data.
                14
                     See https://covid.cdc.gov/covid-data-tracker/?ref=quillette.com#covidnet-hospitalization-network.
       20       15
                     Ibid.
       21       16
                 See Don Bambino Geno Tai, et al., Disproportionate Impact of COVID-19 on Racial
             and Ethnical Minorities in the United States: a 2021 Update, 9 Journal of Racial and Ethnic
       22      Health Disparities 2022, 2334-39, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8513546/.
                17
                  See Public Health – Seattle & King County, COVID-19 race and ethnicity data, Feb. 21, 2024,
       23
             https://kingcounty.gov/en/legacy/depts/health/covid-19/data/race-ethnicity.
               18
                  See Blair Whittington, Disparities in COVID-19 Hospitalization at the Intersection of Race and Ethnicity and
       24    Income, 11 Journal of Racial and Ethnic Health Disparities 2, 1116-23 (Apr. 2023),
             https://www.cdc.gov/mmwr/volumes/72/wr/mm7226a5.htm.
       25
                19
                 See CDC, People With Disabilities, https://www.cdc.gov/ncbddd/humandevelopment/covid-19/people-with-
       26    disabilities.html (updated July 20, 2022).

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                     III. VACCINE DEVELOPMENT, EFFECTIVENESS, AND FDA APPROVAL
        1
                      14.     Scientists began developing COVID-19 vaccines in January of 2020. Recognizing
        2
             the severe impact of COVID-19 worldwide and drawing on significant work from before the
        3
             COVID-19 emergency was declared, scientists were able to develop safe, reliable, COVID-19
        4
             vaccines with unprecedented speed.20
        5
                      15.     On December 11, 2020, the U.S. Food and Drug Administration (“FDA”) issued an
        6
             Emergency Use Authorization (“EUA”) for the use of Pfizer and BioNTech’s COVID-19 vaccine
        7
             (the “Pfizer vaccine”).
        8
                      16.     On December 18, 2020, the FDA issued an EUA for Moderna TX, Inc.’s COVID-
        9
             19 vaccine (the “Moderna vaccine”).
       10
                      17.     On February 27, 2021, the FDA issued an EUA for the use of the Janssen (Johnson
       11
             & Johnson) COVID-19 Vaccine (the “J&J vaccine”).
       12
                      18.     The Pfizer and Moderna vaccines are messenger RNA (“mRNA”) vaccines, which
       13
             teach human cells how to make a SARS-CoV-2 virus “spike protein” which elicits a protective
       14
             immune response and protects the body against future COVID-19 infection. These vaccines use
       15
             the normal processes in our cells to make these proteins. Genetic information encoded in our cells’
       16
             DNA is transferred to mRNA, which is used as a template for protein production. Importantly, the
       17
             process cannot go in the other direction. This means that the vaccine mRNA cannot go into the
       18
             nuclei of our cells where our DNA is located, nor can the mRNA be incorporated into our DNA.
       19
             Like all our mRNA, the vaccine mRNA participates in making thousands of copies of the spike
       20
             protein before it is degraded as part normal cell activities. The spike proteins are then trafficked to
       21
             the cell surface where our immune cells can detect them and go on to develop a specific immune
       22
             response that will be ready if the person is later exposed to the SARS-CoV-2 virus. This latter
       23
             effect is the same pathway for all vaccines regardless of the technology that is used.
       24

       25
                20
                  See National Institutes of Health, Decades in the Making: MRNA COVID-19 Vaccines,
       26    https://covid19.nih.gov/nih-strategic-response-covid-19/decades-making-mrna-covid-19-vaccines.

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        1             19.     The benefit of mRNA vaccines—like all vaccines—is that those vaccinated gain

        2    protection against a virus without having to risk the serious consequences of getting sick or dying.

        3    Researchers have been studying and working on mRNA vaccine technology for decades. In the

        4    1980s, for example, researchers explored ways to produce mRNA without cell culture, known as

        5    in vitro transcription. It would take several decades, however, before scientists would determine

        6    how to translate that process into an effective vaccine. In 2023, Dr. Katalin Karikó and Dr. Drew

        7    Weissman were jointly awarded the Nobel Prize in Physiology or Medicine for their “discoveries

        8    concerning nucleoside base modifications that enabled the development of effective mRNA

        9    vaccines against COVID-19.”21 The COVID-19 vaccines have been held to the same rigorous

       10    safety and effectiveness standards as all other types of vaccines in the United States. These mRNA

       11    vaccines initially required administration of two doses for maximum immunity, to be received 21

       12    days apart (for Pfizer) or 28 days apart (for Moderna).

       13             20.     The J&J vaccine is an adenovirus-based vaccine. It is a viral vector vaccine that

       14    uses a weakened live virus (i.e., an adenovirus) as the delivery method for transporting a

       15    recombinant vaccine for COVID-19. Recombinant vaccines use a small piece of genetic material

       16

       17
                21
                  See Nobel Prize, Press Release, Oct. 2, 2023, https://www.nobelprize.org/prizes/medicine/2023/press-release/.
       18    The Nobel Prize Committee’s Press Release announcing the award describes the 2005 breakthrough the ultimately led
             to the mRNA vaccines:
       19
                “Karikó and Weissman noticed that dendritic cells recognize in vitro transcribed mRNA as a foreign substance,
       20    which leads to their activation and the release of inflammatory signaling molecules. They wondered why the
             in vitro transcribed mRNA was recognized as foreign while mRNA from mammalian cells did not give rise to the
       21    same reaction. Karikó and Weissman realized that some critical properties must distinguish the different types of
             mRNA.
       22       RNA contains four bases, abbreviated A, U, G, and C, corresponding to A, T, G, and C in DNA, the letters of the
             genetic code. Karikó and Weissman knew that bases in RNA from mammalian cells are frequently chemically
       23    modified, while in vitro transcribed mRNA is not. They wondered if the absence of altered bases in the in
             vitro transcribed RNA could explain the unwanted inflammatory reaction. To investigate this, they produced different
       24    variants of mRNA, each with unique chemical alterations in their bases, which they delivered to dendritic cells. The
             results were striking: The inflammatory response was almost abolished when base modifications were included in the
       25    mRNA. This was a paradigm change in our understanding of how cells recognize and respond to different forms of
             mRNA. Karikó and Weissman immediately understood that their discovery had profound significance for using
       26    mRNA as therapy. These seminal results were published in 2005, fifteen years before the COVID-19 pandemic.”

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        1    from the virus to trigger an immune response like the response generated by the two mRNA

        2    viruses. Only one dose was initially needed for the J&J vaccine.

        3                 21.      EUAs are used by the FDA during public health emergencies to provide access to

        4    medical products that may be effective in preventing or treating a disease. In determining whether

        5    to issue an EUA for a vaccine, the FDA evaluates the available evidence and assesses any known

        6    or potential risks and any known or potential benefits of the vaccine. If the risk-benefit assessment

        7    is favorable, the vaccine is made available during the public health emergency. For the COVID-19

        8    vaccines, the agency evaluated data submitted by the manufacturers about the vaccine’s safety and

        9    effectiveness, and conducted its own analyses, before reaching each decision and found the data to

       10    be “clear and compelling” to support the use of the vaccine for the prevention of COVID-19.22

       11                 22.      The FDA’s evaluation of the Pfizer vaccine’s safety included approximately 38,000

       12    participants who enrolled in an ongoing, randomized, placebo-controlled international study, the

       13    majority of whom were U.S. participants. These participants, 18,801 of whom received the

       14    vaccine and 18,785 of whom received a saline placebo, were followed for a median of two months

       15    after receiving the second dose. The most reported side effects, which typically lasted several

       16    days, were pain at the injection site, tiredness, headache, muscle pain, chills, joint pain, and fever.

       17    The trials “did not raise any specific safety concerns.”23 Efficacy in preventing confirmed COVID-

       18    19 cases was 95.0%, with 8 COVID-19 cases in the vaccine group and 162 COVID-19 cases in the

       19    placebo group.24

       20                 23.      The FDA’s evaluation of the Moderna vaccine’s safety and efficacy included a

       21    randomized, double-blinded, and placebo-controlled trial of approximately 30,400 participants.

       22

       23       22
                  See FDA, The Path for a COVID-19 Vaccine from Research to Emergency Use Authorization,
             https://www.fda.gov/emergency-preparedness-and-response/coronavirus-disease-2019-covid-19/covid-19-
       24    vaccines#eua-vaccines.
                23
                 See FDA, Emergency Use Authorization (EUA) for an Unapproved Product Review Memorandum: Pfizer-
       25    BioNTech COVID-19 Vaccine (Dec. 11, 2020), https://www.fda.gov/media/144416/download.
                24
       26            Ibid. at 9.

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        1    Efficacy in preventing confirmed COVID-19 cases occurring at least 14 days after the second dose

        2    of the vaccine was 94.5% percent, with 5 COVID-19 cases in the vaccine group and 90 COVID-

        3    19 cases in the placebo group. Safety data from a November 11, 2020, interim analysis of

        4    approximately 30,350 participants with a median of seven weeks of follow-up after the second

        5    dose supported a favorable safety profile, with no specific safety concerns identified that would

        6    preclude the issuance of an EUA. The most common adverse reactions were pain at the injection

        7    site, fatigue, headache, muscle pain, joint pain, and chills.25

        8             24.     The FDA’s evaluation of the J&J vaccine included a randomized, double-blinded,

        9    and placebo-controlled trial of a single dose of the vaccine in approximately 40,000 participants.26

       10    Efficacy in preventing COVID-19 cases occurring at least 14 days after the single-dose

       11    vaccination was 66.9%. Safety analysis supported a favorable safety profile with no specific safety

       12    concerns identified that would preclude the issuance of an EUA. The most common adverse

       13    reactions were injection site pain, headache, fatigue, and myalgia. Although the J&J vaccine can in

       14    rare cases cause a serious type of blood clots, they have occurred in fewer than one in a million

       15    cases. This rare but serious side effect led the FDA in May 2022 to modify its EUA for the J&J

       16    vaccine to “individuals 18 years of age and older for whom other authorized or approved COVID-

       17    19 vaccines are not accessible or clinically appropriate, and to individuals 18 years of age and

       18    older who elect to receive the Janssen COVID-19 Vaccine because they would otherwise not

       19    receive a COVID-19 vaccine.”27

       20             25.     These positive clinical results held true in the real world after the EUAs were

       21    issued. After collecting data in real world use, in April 2021, Pfizer announced that its vaccine had

       22       25
                See FDA, Emergency Use Authorization (EUA) for an Unapproved Product Review Memorandum: Moderna
             COVID-19 Vaccine/mRNA-1273 (Dec. 18, 2020), https://www.fda.gov/media/144673/download.
       23       26
                See FDA, Emergency Use Authorization (EUA) for an Unapproved Product Review Memorandum: Janssen
             COVID-19 vaccine (Ad26.COV2.S) (Feb. 27, 2021), https://www.fda.gov/media/146338/download.
       24
                27
                   See FDA, Coronavirus (COVID-19) Update: FDA Limits Use of Janssen COVID-19 Vaccine to Certain
       25    Individuals, (May 5, 2022),
             https://www.fda.gov/media/158318/download#:~:text=Specifically%2C%20CBER%20has%20determined%20that,el
       26    ect%20to%20receive%20the%20Janssen.

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        1    91.3% efficacy against COVID-19, based on how well it prevented symptomatic COVID-19

        2    infection seven days through up to six months after the second dose.28 It also found it to be 100%

        3    effective in preventing severe disease as defined by the U.S. Centers for Disease Control &

        4    Prevention (CDC), and 95.3% effective in preventing severe disease as defined by the FDA.29

        5    Similarly, Moderna announced in April 2021 that its vaccine had greater than 90% efficacy

        6    against cases of COVID-19 and more than 95% efficacy against severe cases.30, 31

        7                26.     Initially, the COVID-19 vaccines were approved for emergency use only by adults

        8    18 and over who are not pregnant and have healthy immune systems. After additional study,

        9    however, the FDA later extended the authorization of all three COVID-19 vaccines for pregnant

       10    women, moderately or severely immunocompromised individuals, and the Pfizer vaccine for all

       11    people 12 years of age and older. Thus, the only group for whom the Pfizer and Moderna vaccines

       12    (together, the “mRNA vaccines”) are currently contraindicated are those acutely allergic to their

       13    ingredients—specifically polyethylene glycol or polysorbate—which is estimated to occur in only

       14    2.5 to 11.1 cases per 1 million doses.32

       15                27.     On August 23, 2021, the FDA approved the first vaccine—the Pfizer vaccine—for

       16    the prevention of COVID-19 disease in individuals 16 years of age and older.33

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                28
       19         See Pfizer and BioNTech Confirm High Efficacy and No Serious Safety Concerns Through Up to Six Months
             Following Second Dose in Updated Topline Analysis of Landmark COVID-19 Vaccine Study, Pfizer (April 1, 2021),
       20    https://www.pfizer.com/news/press-release/press-release-detail/pfizer-and-biontech-confirm-high-efficacy-and-no-
             serious.
       21       29
                     Ibid.
                30
       22          See Berkeley Lovelace, Jr., Moderna says new data shows its Covid vaccine is more than 90% effective against
             virus six months after second shot, CNBC (April 13, 2021), https://www.cnbc.com/2021/04/13/covid-vaccine-
             moderna-says-new-data-shows-its-90percent-effective-six-months-after-second-dose.html.
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                31
                   See Kathy Katella, Comparing the COVID-19 Vaccines: How Are They Different, Yale Medicine, Aug. 26, 2021,
       24    https://www.yalemedicine.org/news/covid-19-vaccine-comparison.
                32
                 See Kimberly G. Blumenthal et al., Acute Allergic Reactions to mRNA COVID-19 Vaccines, 325 JAMA 1562
       25    (2021) https://jamanetwork.com/journals/jama/fullarticle/2777417.
                33
       26            See Letter of Authorization, FDA (Aug. 23, 2021), https://www.fda.gov/media/144416/download.

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        1                28.     On January 31, 2022, the FDA announced the second approval of a COVID-19

        2    vaccine—the Moderna COVID-19 vaccine for the prevention of COVID-19 disease in individuals

        3    18 years of age and older.34

        4                29.     On June 17, 2022, the FDA extended the EUAs of both mRNA vaccines to include

        5    use in children as young as six months of age.35

        6                30.     Data also shows that COVID-19 vaccination is safe for pregnant people. Studies

        7    assessing vaccination early in pregnancy did not find an increased risk of miscarriage among

        8    pregnant people who received an mRNA COVID-19 vaccine.36, 37 The CDC has instead

        9    recommended that pregnant people get vaccinated against COVID-19, in part because they are at a

       10    higher risk of becoming severely ill from the disease compared to non-pregnant people.38

       11                31.     COVID-19 vaccines continue to be the best tools available to prevent symptomatic

       12    COVID-19 and reduce the risk of persistent post-COVID symptoms/long-COVID.39,40 The

       13    extremely high effectiveness of the vaccines in preventing symptomatic infections was important

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                34
       15            See Letter of Authorization, FDA (Jan. 31, 2022), https://www.fda.gov/media/155815/download.
                35
                  See CDC Advisory Committee On Immunization Practices, Grading of Recommendations, Assessment,
       16    Development and Evaluation (GRADE): Pfizer-BioNTech COVID-19 Vaccine for Children Aged 6 Months-4 Years,
             https://www.cdc.gov/acip/grade/covid-19-pfizer-biontech-vaccine-6-months-4-
       17    years.html?CDC_AAref_Val=https://www.cdc.gov/vaccines/acip/recs/grade/covid-19-pfizer-biontech-vaccine-6-
             months-4-years.html.
       18       36
                  See CDC, COVID-19 Vaccination for People Who Are Pregnant or Breastfeeding,
             https://www.cdc.gov/covid/vaccines/pregnant-or-
       19    breastfeeding.html?CDC_AAref_Val=https://www.cdc.gov/coronavirus/2019-
             ncov/vaccines/recommendations/pregnancy.html.
       20       37
                 See Tom T. Shimabukuro, et al., Preliminary Findings of mRNA Covid-19 Vaccine Safety in Pregnant Persons,
       21    384 New England J. Med. 2273 (2021), https://www.nejm.org/doi/full/10.1056/nejmoa2104983.
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                 See CDC, COVID-19 Vaccines While Pregnant and Breastfeeding, https://www.cdc.gov/coronavirus/2019-
       22    ncov/vaccines/recommendations/pregnancy.html (updated Nov. 3, 2023).
                39
                 Wu X, Xu K, Zhan P, Liu H, Zhang F, Song Y, Lv T, Comparative efficacy and safety of COVID-19 vaccines in
       23
             phase III trials: a network meta-analysis, BMC Infect Dis. 2024 Feb 21;24(1):234. doi: 10.1186/s12879-023-08754-3.
             PMID: 38383356; PMCID: PMC10880292.
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                  Man MA, Rosca D, Bratosin F, Fira-Mladinescu O, Illie AC, Burtic SR, Fildan AP, Fizedean CM, Jianu AM,
       25    Negrean RA, Marc MS, Impact of Pre-Infection COVID-19 Vaccination on the Incidence and Severity of Post-
             COVID Syndrome: A Systematic Review and Meta-Analysis, Vaccines (Basel). 2024 Feb 12;12(2): 189. doi: l
       26    0.3390/vaccinesl2020189. PMID: 38400172; PMCID: PMCI 0893048.

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        1    for slowing the spread of COVID-19, as asymptomatic cases have been found to be approximately

        2    60% less transmissible than symptomatic cases, possibly because the lack of coughing, sneezing,

        3    and other respiratory symptoms may reduce the spread of respiratory aerosols.41,42

        4             32.     As of November 2023, more than 13.5 billion COVID-19 vaccine doses had been

        5    administered around the world, and more than 5.4 billion people (67% of the global population)

        6    had received a complete primary series of a COVID-19 vaccine.43 More than 270 million

        7    Americans (81.4% of the population) have received at least one COVID-19 vaccine dose, and 230

        8    million Americans (69.5%) have completed a primary series.44

        9                              IV. WHY VACCINES ARE SO IMPORTANT
       10             33.     In 2021 and 2022, the COVID-19 vaccines played an incredibly important role in

       11    our response to the pandemic. The vaccines were the main tool to control the pandemic and to start

       12    bringing out lives back to normal. The vaccines prevented severe illness and death, slowed the

       13    spread of new infections, reduced strain on healthcare systems, protected vulnerable populations,

       14    and allowed schools, businesses, and travel to reopen. Vaccination was the predominant

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                41
       20         See Tan J, Ge Y, Martinez L, Sun J, Li C, Westbrook A, Chen E, Pan J, Li Y, Cheng W, Ling F, Chen Z, Shen Y,
             Huang H, Transmission roles of symptomatic and asymptomatic COVID-19 cases: a modelling study, Epidemiol
       21    Infect. 2022 Sep 27;150:e171. doi: 10.1017/S0950268822001467. PMID: 36263615; PMCID: PMC9588416.
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                 See Buitrago-Garcia D, Ipekci AM, Heron L, Imeri H, Araujo-Chaveron L, Arevalo-Rodriguez I, Ciapponi A,
       22    Cevik M, Hauser A, Alam MI, Meili K, Meyerowitz EA, Prajapati N, Qiu X, Richterman A, Robles-Rodriguez WG,
             Thapa S, Zhelyazkov I, Salanti G, Low N, Occurrence and transmission potential of asymptomatic and
       23    presymptomatic SARS-CoV-2 infections: Update of a living systematic review and meta-analysis. PLoS Med. 2022
             May 26;19(5):e1003987. doi: 10.1371/journal.pmed.1003987. PMID: 35617363; PMCID: PMC9135333.
       24       43
                  See World Health Org., COVID-19 vaccination, World data (Nov. 26, 2023),
             https://data.who.int/dashboards/covid19/vaccines.
       25
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                  See CDC, COVID-19 Vaccinations in the United States (final update May 11, 2023), https://covid.cdc.gov/covid-
       26    data-tracker/#vaccinations_vacc-people-booster-percent-pop5.

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        1    mechanism to develop immunity in the U.S. population, followed by people with prior

        2    infections.45,46,47

        3             34.     People should get vaccinated regardless of whether they already were infected with

        4    COVID-19 for several reasons. First, research has not yet shown how long a person who had

        5    COVID-19 will be protected from getting COVID-19 again after recovery.48 Individuals who have

        6    had COVID-19 might have some antibodies even after their infection has passed that provide

        7    protection against COVID-19. But the amount of protection that these individuals have against the

        8    virus varies from person to person and wanes over time. As these individuals’ natural immunity

        9    decreases, their risk of contracting COVID-19 increases. There is no known “time threshold” after

       10    which a person’s infection mediated immunity is no longer protective. As a result, unless

       11    vaccinated, they would need to get infected again, along with the entire range of potential effects

       12    (including death), to regain any level of subsequent immunity.

       13             35.     Second, studies show that being fully vaccinated provides better protection as

       14    compared to having recovered from COVID-19. A CDC study of individuals with previous

       15    COVID-19 infections through June 2021 found that those who were unvaccinated had 2.34 times

       16    the odds of reinfection compared with those who were fully vaccinated.49 These findings, and

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       18       45
                  See Gram, M. A. et al. Vaccine effectiveness against SARS-CoV-2 infection or COVID-19 hospitalization with
             the Alpha, Delta, or Omicron SARS-CoV-2 variant: A nationwide Danish cohort study. PLoS Med. 19, e1003992
       19    (2022).
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       20        See Lauring, A. S. et al. Clinical severity of, and effectiveness of mRNA vaccines against, covid-19 from
             omicron, delta, and alpha SARS-CoV-2 variants in the United States: prospective observational study. BMJ 376,
       21    e069761 (2022).
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                  See Kerr, S., Vasileiou, E., Robertson, C. & Sheikh, A. COVID-19 vaccine effectiveness against symptomatic
       22    SARS-CoV-2 infection and severe COVID-19 outcomes from Delta AY.4.2: Cohort and test-negative study of 5.4
             million individuals in Scotland. J. Glob. Heal. 12, 05025 (2022).
       23       48
                  See COVID-19 Vaccine Frequently Asked Questions, CDC,
             https://www.cdc.gov/covid/vaccines/faq.html?CDC_AAref_Val=https://www.cdc.gov/coronavirus/2019-
       24    ncov/vaccines/faq.html.
       25       49
                  See Alyson M. Cavanaugh, et al., Reduced Risk of Reinfection with SARS-CoV-2 after COVID-19—Kentucky,
             May-June 2021, 70 Morbidity & Mortality Weekly Report 1081 (Aug. 13, 2021),
       26    https://www.cdc.gov/mmwr/volumes/70/wr/mm7032e1.htm?s_cid=mm7032e1_w.

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        1    others, suggest that among people who have had COVID-19 previously, getting fully vaccinated

        2    provides additional protection against reinfection.50

        3             36.     Other studies have found stronger immune response with vaccination after

        4    infection with COVID-19, including both higher levels of antibodies and longer duration of

        5    protection.51

        6             37.     The evidence also suggests that vaccines are effective at reducing the risk and

        7    severity of so-called “long COVID.”52

        8             38.     The CDC and FDA do not recommend that people use antibody or serology tests,

        9    which look for antibodies from a previous infection or from vaccination, to assess the need for

       10    vaccination in an unvaccinated person or assess immunity to SARS-CoV-2.53,54 This is because

       11    antibody tests have variable sensitivity and specificity, as well as positive and negative predictive

       12    values, and are not authorized for the assessment of immune response in vaccinated people.

       13    Furthermore, the serologic correlates of protection have not been established, and antibody testing

       14    does not evaluate the cellular immune response, which may also play a role in vaccine-mediated

       15    protection.

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       17       50
                See also Leonidas Stamatatos, et al., mRNA vaccination boosts cross-variant neutralizing antibodies elicited by
             SARS-CoV-2 infection, 372 Science 1413 (2021), https://pubmed.ncbi.nlm.nih.gov/33766944/.
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                51
                  See Thomas W. McDade, et al., Durability of antibody response to vaccination and surrogate neutralization of
       19    emerging variants based on SARS-CoV-2 exposure history, 11 Scientific Reports 17325 (Aug. 30, 2021),
             https://www.nature.com/articles/s41598-021-96879-3; Alice Cho, et al., Anti- SARS-CoV-2 Reporter Binding
       20    Domain Antibody Evolution after mRNA, 600 Nature 517-522 (2021),
             https://www.biorxiv.org/content/10.1101/2021.07.29.454333v2.
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                  See Greg Vanichkachorn, et al., Potential reduction of post-acute sequelae of SARS-CoV-2 symptoms via
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       22    https://journals.sagepub.com/doi/10.1177/10815589231191812; Oyungerel Byambasuren, et al., Effect of covid-19
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       23    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9978692/.
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                  See CDC, Interim Guidelines for COVID-19 Antibody Testing,
       24    https://archive.cdc.gov/www_cdc_gov/coronavirus/2019-ncov/hcp/testing/antibody-tests-guidelines.html.
       25       54
                  See FDA, Antibody (Serology) Testing for COVID-19: Information for Patients and Consumers,
             https://www.fda.gov/medical-devices/coronavirus-covid-19-and-medical-devices/antibody-serology-testing-covid-19-
       26    information-patients-and-consumer.

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        1             39.     Antibody or T-cell tests are also of limited value in assessing any protection from

        2    subsequent infection. Generally, these tests do not quantitate the level of immune response, and

        3    the outcome is only “positive” or “negative.” Having a positive result indicates only that there is a

        4    high likelihood that the person was infected at some time in the past. It does not imply that the

        5    person has any protection from subsequent infection, nor does it impact any recommendation to be

        6    vaccinated.55

        7             40.     Someone who would rather get infected with SARS-CoV-2 and subsequently

        8    develop COVID-19 as a means to developing some level of temporary immunity would not be

        9    making a rational choice from a public health perspective. During the emergency phase of the

       10    pandemic, that choice would have entailed substantial risks to one’s own health and to the health

       11    of others.

       12             41.     COVID-19 infection continues to be associated with a range of outcomes including

       13    severe acute illness and death, serious, persistent symptoms due to long COVID, and other

       14    connected gastrointestinal, pulmonary, reproductive, immune, nervous, and cardiovascular system

       15    syndromes.56

       16             42.     This novel virus and the diseases that it causes continue to be studied, and with our

       17    limited understanding, an intervention like vaccination that decreases infection and/or disease

       18    severity is extraordinarily important and warranted. Infected individuals also risk infecting others

       19    in their family, social community, work circles, and anyone else with whom they come in contact.

       20    Infection with COVID-19 can quickly spread to others; and each afflicted person can be a public

       21    health threat given the highly infectious nature of the virus, especially when COVID-19 was

       22
                55
                 See Sudeb C. Dalai, et al., Clinical Validation of a Novel T-Cell Receptor Sequencing Assay for Identification of
       23
             Recent or Prior Severe Acute Respiratory Syndrome Coronavirus 2 Infection, 75 Clinical Infectious Diseases 2079
             (May 6, 2022), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9129217/.
       24
                56
                   See Davis et al., Long COVID: major findings, mechanisms and recommendations, 21 Nature Reviews
       25    Microbiology 133, (Apr. 17, 2023), https://doi.org/10.1038/s41579-022-00846-2; Jin-Gyu Cheong, et al., Epigenetic
             memory of coronavirus infection in innate immune cells and their progenitors, 2023 Cell 186, 1-21,
       26    https://doi.org/10.1016/j.cell.2023.07.019.

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        1    raging in late 2021 and early 2022. Importantly, infected individuals can transmit the infection

        2    prior to developing any symptoms while assuming they are not infectious.57 Similarly, some

        3    people may be asymptomatic throughout their entire infection and unknowingly infect those

        4    around them.58

        5             43.     All these issues outweigh any infection-mediated immunity benefits. Vaccines are

        6    safe, effective, and associated with mild side effects and a greatly reduced risk of severe illness or

        7    death.

        8             44.     Alternatives to vaccination, such as regular COVID-19 testing, would not have

        9    been an adequate public health strategy to defeat COVID-19. Unvaccinated people, subject to

       10    regular testing, are among positive cases that have caused outbreaks in Washington State. For

       11    example, past opt-out testing policies for unvaccinated staff in congregate facilities have not been

       12    effective at preventing new COVID-19 infections—adversely affecting employees, clients, and

       13    families, and even the lives of dedicated staff. Workplace outbreaks in 2021 were also common.59

       14             45.     In addition, tests are not 100% accurate. There are 2 types of tests: polymerase

       15    chain reaction (“PCR”) tests and antigen tests. PCR testing must be administered by a healthcare

       16    worker, which most non-healthcare employers would have to hire to obtain the specimens. While

       17    getting a PCR test at a dedicated testing facility is possible, doing so would require additional time

       18    away from work, and reliance on the delivery of results by the employee to the employer in a

       19    timely fashion. Both factors lead to more delay between the swab being obtained and the receipt of

       20
                57
                  See Liu Y; Centre for Mathematical Modelling of Infectious Diseases nCoV Working Group; Funk S, Flasche S.
       21    The contribution of pre-symptomatic infection to the transmission dynamics of COVID-2019. Wellcome Open Res.
             2020 Apr 1;5:58. doi: 10.12688/wellcomeopenres.15788.1. PMID: 32685697; PMCID: PMC7324944; Song Y, Shim
       22    E. Proportion of Pre-Symptomatic Transmission Events Associated with COVID-19 in South Korea. J Clin Med. 2022
             Jul 6;11(14):3925. doi: 10.3390/jcm11143925. PMID: 35887689; PMCID: PMC9324033.
       23       58
                  See Shi N, Huang J, Ai J, Wang Q, Cui T, Yang L, Ji H, Bao C, Jin H. Transmissibility and pathogenicity of the
             severe acute respiratory syndrome coronavirus 2: A systematic review and meta-analysis of secondary attack rate and
       24    asymptomatic infection. J Infect Public Health. 2022 Mar;15(3):297-306. doi: 10.1016/j.jiph.2022.01.015. Epub 2022
             Jan 31. PMID: 35123279; PMCID: PMC8801962.
       25
                59
                 Sara Luckhaupt, et al., COVID-19 Outbreaks Linked to Workplaces, 23 US Jurisdictions, August-October 2021,
       26    138 Public Health Report 333 (2023), https://pubmcd.ncbi.nlm.nih.gov/36482712/.

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        1    a potentially positive test result, and more time for exposing more coworkers and members of the

        2    public to COVID-19. Accordingly, regular PCR tests would likely require an infrastructure for

        3    supplying swabs and transport media, transportation of the specimens to a contracted lab, and a

        4    mechanism for the lab results to be communicated back to the employer. There would also need to

        5    be a tracking database, and a person assigned to tracking the tests, test cadence, and test results. A

        6    person with knowledge of medical testing result interpretation would need to be available to

        7    provide recommendations based on the test results, which are often ambiguous. With ambiguous

        8    results, the worker may be required to remain at home in isolation when not infected. For most

        9    employers outside of healthcare, this would be a complex and likely costly process that, in 2021

       10    and 2022, would need to be maintained indefinitely as the direction of the pandemic was very

       11    much unknown.

       12             46.     PCR tests can take a day or more to return results. The sensitivity of this test is very

       13    good but can remain positive for weeks after resolution of infection, during which time a person

       14    could be re-infected, and the new infection would not be detected. Accordingly, regular PCR

       15    testing may fail to detect a COVID-19 infection. In addition, individuals can be infected with and

       16    transmit COVID-19 while they are either asymptomatic or in a pre-symptomatic phase. This

       17    means that a person, while waiting for her test result, would be working with others, and

       18    potentially transmitting COVID-19.

       19             47.     The alternative approach is to use “rapid” antigen tests. While antigen testing could

       20    be done by the employee, antigen tests were not commonly available at the time of the initial

       21    vaccine mandate and were also not widely available at the time of the Plaintiff’s accommodation

       22    requests. In addition, they were not FDA approved for testing asymptomatic people. This is due to

       23    the poor sensitivity of an antigen test even for symptomatic individuals. A test with poor

       24    sensitivity means that a person could have a negative test while they are in fact infected, allowing

       25    them to work and to transmit COVID-19. Such a false negative test may also encourage behaviors

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        1    that increase the risk of transmission based on the mistaken belief that the individual is not

        2    infected.

        3                48.   For example, in a study reviewing publications through March 2021 concluded that

        4    even for indicated use (a symptomatic person), the rapid (antigen) tests fail to positively detect

        5    infection approximately 20% to 30% of the time with the first week of symptom onset.60 For

        6    asymptomatic individuals, sensitivity of the rapid (antigen) tests (the ability to detect infection

        7    when infection is present) ranges from 35.8% to 71%. In a review of studies of rapid (antigen)

        8    tests used for this purpose, researchers found that roughly half of those identified by PCR tests as

        9    infected had a negative rapid (antigen) test.61 The conclusion of the study authors was as follows:

       10    “The results of this rapid review indicate serious issues in misidentifying asymptomatic

       11    individuals as COVID-19 negative, when in fact they are infected and carrying the SARS-CoV-2

       12    virus.”62

       13                49.   It is also possible for a worker to test negative on a given day, contract COVID-19

       14    the next day, and be contagious before the next test occurs. In the meantime, that unvaccinated

       15    individual could have potentially exposed their families, colleagues, or other persons with whom

       16    they come into contact to COVID-19. The turn-around time from obtaining a test swab to having

       17    an actionable result also varies. For the more accurate PCR tests, result times vary from, at a

       18    minimum 6 to 8 hours, to days. During this time, infected employees would be exposing all those

       19    around them. Rapid antigen tests allow for faster results but have a significantly higher rate of

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                60
                  See Dinnes, J., et al., Rapid, point-of-care antigen tests for diagnosis of SARS-CoV-2 infection, 7 Cochrane
       22    Database of Systemic Reviews 2022,
             https://www.cochranelibrary.com/cdsr/doi/10.1002/14651858.CD013705.pub3/full (originally published August 26,
       23    2020 and updated March 24, 2021, and July 22, 2022).
                61
                  See Alyssa M. Indelicato, et al., Rapid Antigen Test Sensitivity for Asymptomatic COVID-19 Screening, 6
       24    PRiMER 18 (2022),
             https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9258726/#:~:text=Sensitivity%20ranged%20from%2035.8%25%20t
       25    o,the%20higher%20number%20about%20exposur.
                62
       26            Ibid.

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        1    false negatives. A false negative would also result in infected employees exposing all those around

        2    them.63

        3              50.    Because PCR tests can take multiple days to return results, even if the Plaintiff

        4    submitted to PCR tests every day, that would not avoid the risk that they would be infected with

        5    and/or transmit COVID-19 while at work. And because of the risks of false negative PCR tests

        6    and asymptomatic infection and transmission, a regimen of daily PCR testing would similarly not

        7    avoid those risks.

        8              51.    Further, at various points during the emergency phase of the pandemic there were

        9    shortages of rapid antigen tests, including in fall 2021, which would create serious issues for

       10    protocols that are over-reliant on testing to prevent infected individuals from spreading the virus.64

       11              52.    Additionally, the benefits of some equipment thought of as protective are not

       12    supported by research findings. For example, plastic barriers or shields were frequently deployed

       13    during the pandemic as a “common-sense” intervention to prevent transmission when physical

       14    distancing was not possible. The basis for the use of these physical barriers was to block the flow

       15    of infectious droplets from the infected person to the uninfected person on the other side of the

       16    barrier. Critically, there were no real data to support the use of these tools, especially after it was

       17    established that the primary mode of COVID-19 transmission was aerosol-based and not

       18    droplets.65 Aerosols, as floating “clouds” of invisible particles can easily move around, including

       19    around barriers and through any openings in the barriers. In a study by Cadnum, et al., it was

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                63
                 See CDC, COVID-19 Testing: What You Need to Know, Sept. 25, 2023, https://www.cdc.gov/coronavirus/2019-
       23    ncov/symptoms-testing/testing.html.
                64
                  See CDC, Lab Advisory: Shortage of COVID-19 Rapid Tests May Increase Demand for Laboratory Testing, Sept.
       24    2, 2021, https://www.cdc.gov/locs/2021/09-02-2021-lab-advisory-Shortage_COVID-
             19_Rapid_Tests_Increase_Demand_Laboratory_Testing_1.html.
       25
                65
                  See JC Chamary, Why Face Shields and Plexiglass Barriers Don’t Block Coronavirus, Forbes, Oct 23, 2020,
       26    https://www.forbes.com/sites/jvchamary/2020/10/23/covid19-coronavirus-aerosols/?sh=5c3f82bc1541.

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        1    shown that barriers with any openings were ineffective.66 The same research group published

        2    another study highlighting that barriers can increase the risk of transmission to the person behind

        3    the barrier.67 Air is brought into and removed from built environments based on the known

        4    structure of that environment and plastic barriers interfere with mechanical ventilation and airflow

        5    and can increase the concentration of infectious aerosols on the “protected” side of the barrier.68, 69

        6    Notably, the CDC does not include the use of plastic barriers as a tool to reduce the risk of

        7    COVID-19.70 Protective equipment like these plastic barriers are not effective tools for

        8    mitigation, especially when compared to vaccination programs.

        9             53.      Likewise, use of personal protective equipment is a complement—not a

       10    substitute—for getting vaccinated. Masks and vaccines share the goal of preventing infection,

       11    disease, and virus transmission, and they accomplish it in complementary ways. Masks shore up

       12    protection on the outside (when worn and worn properly); vaccines shore up security through

       13    immunity from the inside. Moreover, a work-based masking requirement applies only while

       14    employees are at work. Those employees may become infected while outside of work, for example

       15    at home where one would not be expected to wear a mask. Vaccines, on the other hand, are

       16    effective around the clock. There is no combination of mitigations for individuals who are going

       17    to work onsite that are equivalent to those same mitigations, or a subset of those mitigations, in

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       19
                66
                   Cadnum JL, et al., Do plexiglass barriers reduce the risk for transmission of severe acute respiratory syndrome
       20    coronavirus 2 (SARS-CoV-2)?, 44 Infection Control & Hospital Epidemiology 2023, 1010-13,
             https://pubmed.ncbi.nlm.nih.gov/34726150/ (e-published in Nov. 2021).
       21      67
                  Cadnum JL,et al., Real-World Evidence on the Effectiveness of Plexiglass Barriers in Reducing Aerosol
       22    Exposure. 4 Pathogens & Immunity 2022, 66-77, https://pubmed.ncbi.nlm.nih.gov/36381131/.
                68
                 See Tara Paker-Pope, Those Anti-Covid Plastic Barriers Probably Don’t Help and May Make Things Worse,
       23    N.Y. Times, Aug. 19, 2021, https://www.nytimes.com/2021/08/19/well/live/coronavirus-restaurants-classrooms-
             salons.html.
       24       69
                See Vuorinen V, et al., Modelling aerosol transport and virus exposure with numerical simulations in relation to
             SARS-CoV-2 transmission by inhalation indoors, 130 Saf Sci. 2020, https://pubmed.ncbi.nlm.nih.gov/32834511/.
       25
                70
                 See Ventilation in Building, CDC, https://www.cdc.gov/coronavirus/2019-ncov/community/ventilation.html
       26    (updated May 12, 2023).

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        1    addition to vaccination. For example, there are no data supporting a combination of testing and

        2    masking compared to vaccination and masking.

        3                54.   The cited studies in Exhibits B & C, as well as data and recommendations from

        4    national, state, and local public health officials, strongly support the conclusion that vaccination

        5    combined with non-pharmaceutical interventions (NPIs) like sick leave, masking, social

        6    distancing, and testing, was superior to using NPIs alone. There are no studies demonstrating that

        7    NPIs alone were or are equivalent to NPIs plus vaccination to reduce the risk of infection and

        8    transmission in the workplace. Attached hereto as Exhibit D are two illustrative documents that

        9    demonstrate the hierarchy of potential methods for preventing infection and virus transmission.

       10                55.   Researchers from the Yale School of Public Health estimated by the end of June

       11    30, 2021, COVID-19 vaccines prevented nearly 280,000 deaths and 1.25 million hospitalizations

       12    in the United States.71

       13                56.   By December 2021, those estimates increased to vaccines preventing over 1 million

       14    deaths and 10 million hospitalizations in the United States.72 The majority of these prevented

       15    deaths and hospitalizations would have occurred in the late summer and fall of 2021.73

       16                57.   At the end of 2022, those estimated numbers increased yet again. Researchers now

       17    estimate COVID-19 vaccines in the U.S. prevented over 3 million deaths and 18 million

       18    hospitalizations.74 In a more recent study evaluating the impact of COVID-19 vaccines in select

       19    Latin American and Caribbean countries, researchers estimated that between 610,000 and

       20       71
                 See Alison Galvani, et al., Deaths and Hospitalizations Averted by Rapid U.S. Vaccination Rollout, The
       21    Commonwealth Fund, Jul. 7, 2021, https://www.commonwealthfund.org/publications/issue-briefs/2021/jul/deaths-
             and-hospitalizations-averted-rapid-us-vaccination-rollout.
       22       72
                  See Eric Schneider, et al., The U.S. COVID-19 Vaccination Program at One Year: How Many Deaths and
             Hospitalizations Were Averted, The Commonwealth Fund, Dec, 14, 2021,
       23    https://www.commonwealthfund.org/publications/issue-briefs/2021/dec/us-covid-19-vaccination-program-one-year-
             how-many-deaths-and.
       24       73
                     Ibid.
       25       74
                  See Megan Fitzpatrick, et al., Two Years of U.S. COVID-19 Vaccines Have Prevented Millions of
             Hospitalizations and Deaths, The Commonwealth Fund, December 13, 2022,
       26    https://www.commonwealthfund.org/blog/2022/two-years-covid-vaccines-prevented-millions-deaths-hospitalizations.

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        1    2,610,000 deaths were prevented due to vaccination.75 It has clearly been shown throughout all

        2    phases of the pandemic that COVID-19 vaccines are safe and reduce infection rates, transmission,

        3    disease severity, long COVID, and death due to COVID-19.

        4                     V.   2021 WASHINGTON STATE VACCINE REQUIREMENTS
        5                                       AND POST-VACCINE VARIANTS
        6             58.      In the late summer and early fall of 2021, Governor Inslee issued several iterations
        7    of Proclamation 21-14 (“State Proclamation”), which collectively prohibited most state employees
        8    and Washington healthcare providers from working after October 18, 2021, without being fully
        9    vaccinated against COVID-19.76 When it took effect, the State Proclamation applied to three
       10    covered sectors—state government, healthcare, and education.
       11             59.      On August 10, 2021, the King County Executive issued Executive Order ACO-8-
       12    27-EO (the “Executive Order”), which prohibited King County executive branch employees from
       13    working after October 18, 2021, without being fully vaccinated against COVID-19.77
       14             60.      I understand that on August 20, 2021, City of Issaquah Mayor Mary Lou Pauly and
       15    City Administrator Wally Bobkiewicz issued an Update: COVID-19 (Coronavirus) Protection
       16    Plan & Policy Updates – August 10 and 20, 2021, which required City of Issaquah employees to
       17    be fully vaccinated against COVID-19 as a condition of employment by October 18, 2021. I also
       18    understand that the City’s vaccination policy provided that workers who were medically unable or
       19    had an objection to the vaccine based upon a sincerely held religious belief could apply for an
       20    exemption and accommodation from the vaccination requirement.
       21
                75
                  See Alexandra Savinkina, Daniel M Weinberger, Cristiana M Toscano, Lucia H De Oliveira, Estimated deaths
       22    averted in adults by COVID-19 vaccination in select Latin American and Caribbean Countries, Open Forum
             Infectious Diseases, 2024, https://doi.org/10.1093/ofid/ofae528.
       23       76
                  See Office of Washington Governor Jay Inslee, Proclamations, Procl. 21-14.1 at 4, Aug. 20, 2021,
             https://governor.wa.gov/sites/default/files/proclamations/21-14.1%20-%20COVID-
       24    19%20Vax%20Washington%20Amendment.pdf.
       25       77
                  King County Executive, Order Pursuant to Proclamation of Emergency; COVID-19 Vaccination Requirements
             for Executive Branch Employees, Aug. 10, 2021, https://your.kingcounty.gov/dnrp/temp/ACO-8-27-EO-emergency-
       26    order-covid-19-vaccination-requirements.pdf

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        1                61.   At the time the Proclamation and City’s Order requiring vaccination were

        2    announced, COVID-19 cases were spiking due to the Delta variant, despite other strategies and

        3    safety measures in place. This was followed by the Omicron waves, which continued in this area

        4    into 2022. Attached hereto as Exhibit E are true and correct copies of the Washington Department

        5    of Health and King County Public Health dashboard reports for that period, which show the spikes

        6    in cases, hospitalizations, and deaths during these two waves.

        7                62.   The Delta variant was more than twice as infectious as earlier strains. Virus cases

        8    approached levels last seen in the winter 2020 COVID-19 surge. As of July 30, the DOH said 1 in

        9    172 Washington residents was estimated to have an active COVID-19 infection.78 By August 6, 1

       10    in 156 Washington residents was estimated to have an active COVID-19 infection.79 The increase

       11    in COVID-19 infections put a strain on hospitals already dealing with staffing challenges, which

       12    was compounded by an increase in staff who have tested positive for the virus. Hospitalizations in

       13    the state due to COVID-19 were at an all-time high in late August of 2021.80 At the time,

       14    unvaccinated individuals between the ages of 16 and 64 were 10 times more likely to be

       15    hospitalized than those who were vaccinated.81 In September of 2021, 95% of hospitalized patients

       16    were unvaccinated.82 In the period leading up to December 2021, in King County unvaccinated

       17    persons were 4.5x more likely to test positive for COVID-19 than fully vaccinated persons, 32x

       18    more likely to be hospitalized, and 40x more likely to die. Attached as Exhibit F is a true and

       19    correct copy of Seattle and King County Public Health COVID-19 Outcomes by Vaccination

       20

       21       78
                  King 5, Delta variant causing COVID-19 cases to spread 'like wildfire' in Washington, Aug. 15, 2021,
             https://www.king5.com/article/news/health/coronavirus/delta-variant-covid-19-infections-spreading-
       22    washingtonstate/281-4bace20b-469e-4e00-8dbe-ce15c5cf32e6.
                79
                  Rich Mendez, Washington state Covid transmission and hospitalizations hit all-time high, CNBC, Aug. 20, 2021,
       23
             https://www.cnbc.com/2021/08/20/covid-washington-state-infections-and-hospitalizations-hit-record.html.
       24       80
                     Ibid.
                81
                     Ibid.
       25
                82
                  See Kate Walter, Washington state Covid-19 hospitalizations still at ‘sobering’ levels, KUOW, Sep. 13, 2021,
       26    https://www.kuow.org/stories/washington-state-covid-19-hospitalizations-still-at-sobering-levels.

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        1    Status. This was likely because COVID-19 vaccines provided strong protection against infection

        2    during the Delta phase, with vaccine efficacy rates up to high 80s%.

        3                63.   Data suggested the Delta variant caused more severe illness than previous variants

        4    in unvaccinated people. In studies conducted in Scotland and Canada, patients infected with the

        5    Delta variant were more likely to be hospitalized than patients infected with other strains of the

        6    virus.83 The data also suggested that the Delta variant was more infectious and that unvaccinated

        7    individuals were likely to be infectious for longer than vaccinated individuals.84

        8                64.   At the time the Proclamation and City’s Order requiring vaccination were

        9    announced, data also suggested that vaccination offered higher protection than previous COVID-

       10    19 infection. In a CDC study spanning from January to September of 2021, participants were over

       11    five times more likely to have COVID-19 again if they were unvaccinated and had a prior

       12    infection.85,86 A separate September 2021 CDC report found that unvaccinated people were five

       13    times more likely to contract, ten times more likely to be hospitalized with, and eleven times more

       14    likely to die from COVID-19 than those who were fully vaccinated.87 And, as the CDC stated in

       15    August 2021, “[t]he Delta variant causes more infections and spreads faster than earlier forms of

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       19       83
                   See CDC, Delta Variant: What We Know About the Science, August 6, 2021,
             https://stacks.cdc.gov/view/cdc/108671.
       20       84
                     Ibid.
       21       85
                  See CDC, Vaccination Offers Higher Protection then Previous COVID-19 Infection, Oct. 29, 2021,
             https://archive.cdc.gov/#/details?url=https://www.cdc.gov/media/releases/2021/s1029-Vaccination-Offers-Higher-
       22    Protection.html.
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                 See Catherine H. Bozio, et al., Laboratory-Confirmed COVID-19 Among Adults Hospitalized with COVID-19-
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             Like Illness with Infection-Induced or mRNA Vaccine-Induced SARS-CoV-2 Immunity – Nine States, January-
             September 2021, 70 Morbidity & Mortality Weekly Report 1539 (2021), https://www.cdc.gov/mmwr/volumes/70
       24    /wr/mm7044e1.htm.
       25       87
                  See CDC, Monitoring Incidence of COVID-19 Cases, Hospitalizations, and Deaths, by Vaccination Status — 13
             U.S. Jurisdictions, April 4–July 17, 2021, 70 Morbidity & Mortality Weekly Report 1539 (2021),
       26    https://www.cdc.gov/mmwr/volumes/70/wr/mm7037e1.htm?s_cid=mm7037e1_w.

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        1    the virus that causes COVID-19,” but “[v]accines continue to reduce a person’s risk of contracting

        2    the virus that causes COVID-19, including this variant.”88

        3                65.     The Delta variant was followed by the Omicron waves. On November 25, 2021,

        4    scientists in South Africa identified a new variant, which would later be named Omicron.89 Less

        5    than a month after its discovery in South Africa, Omicron was the dominant strain of the virus in

        6    the United States.90, 91 The highly infectious Omicron variant waves began in late 2021, displacing

        7    the Delta variant in the United States. Subvariants in the same Omicron family continue to

        8    constitute all COVID-19 waves to this day.92 Within weeks of the first detected case of COVID-19

        9    due to the Omicron variant in December 2021, cases, hospitalizations, and deaths due to COVID-

       10    19 in the United States and in Washington State started to climb quickly as this variant spread.93

       11    By the middle of January 2022 in Washington, COVID-19 cases reached record levels with case

       12    counts (positive tests) of 1750.3 per 100,000 (137,649 cases during the week of 1/9/22-1/15/22),

       13    almost 20% of all hospitalizations due to COVID-19 infection, and 4.1 deaths per 100,000 (322

       14    deaths the week of 1/23/22-1/29/22).94 During this period of high transmission, COVID-19

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                  See CDC, Benefits of Getting a COVID-19 Vaccine, Aug. 16, 2021,
       17    https://web.archive.org/web/20211018080349/https://www.cdc.gov/coronavirus/2019-ncov/vaccines/vaccine-
             benefits.html (web archive from Oct. 18, 2021).
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                 See South Africa detects new variant, prompting new international travel restrictions, N.Y. Times, Nov. 26,
       19    2021, https://www.nytimes.com/2021/11/25/world/variant-south-africa-covid.html.
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                   See Travis Caldwell and Clair Colbert, Omicron is now the dominant strain of coronavirus in the U.S. according
       20    to the CDC, CNN, Dec. 21, 2021, https://www.cnn.com/2021/12/20/health/us-coronavirus-monday/index.html.
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       21         See Omicron now dominant virus strain in King County, Western WA, Associated Press, Dec. 21, 2023,
             https://apnews.com/article/coronavirus-pandemic-health-seattle-washington-e3e6671b7e863d51700e0e03bcfd70d2
       22    (“[T]he super-infectious variant will soon overtake delta throughout the rest of the state.”).
                92
                     See CDC, COVID Data Tracker, https://covid.cdc.gov/covid-data-tracker/#variant-proportions.
       23       93
                  See CDC, COVID Data Tracker, https://covid.cdc.gov/covid-data-
             tracker/#trends_weeklyhospitaladmissions_select_00; Wash. DOH, Respiratory Illness Data Dashboard,
       24    https://doh.wa.gov/data-and-statistical-reports/diseases-and-chronic-conditions/communicable-disease-surveillance-
             data/respiratory-illness-data-dashboard
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                 See Wash. DOH, Respiratory Illness Data Dashboard, https://doh.wa.gov/data-and-statistical-reports/diseases-
       26    and-chronic-conditions/communicable-disease-surveillance-data/respiratory-illness-data-dashboard

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        1    vaccination continued to provide protection from infection, hospitalization, and death due to

        2    COVID-19.95

        3             66.     Though breakthrough infections increased with the Omicron variant, the vaccines,

        4    particularly with booster doses, remained highly effective in preventing severe illness caused by

        5    Omicron. For example, the World Health Organization held a virtual meeting on March 15, 2022,

        6    to review evidence from several studies that assessed COVID-19 vaccine effectiveness against

        7    severe Omicron disease using several outcome definitions. After reviewing those studies, the

        8    researchers concluded that “current vaccine formulations continue to have utility in preventing the

        9    most severe forms of diseases.”96 Multiple other studies have found similar results.97

       10             67.     It is important to remember that much of what we know now about the virus and

       11    the disease was unknown at the time the City’s Order, King County Executive Order, and State

       12    Proclamation requiring vaccination were announced. In 2021, it was unknown exactly how the

       13    virus was transmitted and what mitigations, aside from vaccination, were the most effective. As

       14    new variants emerged with greater transmission potential and greater pathogenicity, they reshaped

       15    our understanding of transmission protection.

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                  See CDC, COVID Data Tracker, https://covid.cdc.gov/covid-data-tracker/#vaccine-effectiveness, DOI:
       17
             http://dx.doi.org/10.15585/mmwr.mm7142a3; DOI: http://dx.doi.org/10.15585/mmwr.mm7142a4;
             DOI: http://dx.doi.org/10.15585/mmwr.mm7129e1; DOI: http://dx.doi.org/10.15585/mmwr.mm7118a4; Emma K.
       18    Accorsi, et al., Effectiveness of Homologous and Heterologous Covid-19 Boosters against Omicron, 386 N. Engl. J.
             Med. 2433(2022), https://www.nejm.org/doi/10.1056/NEJMc2203165.
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                  See Daniel R. Feikin, et al., Assessing vaccine effectiveness against severe COVID-19 disease caused by omicron
       20    variant. Report from a meeting of the World Health Organization, 40 Vaccine 3516 (2022),
             https://www.sciencedirect.com/science/article/pii/S0264410X22005230?via%3Dihub.
       21       97
                   See also Mie Agermose Gram, et al., Vaccine effectiveness against SARS-CoV-2 infection or COVID-19
             hospitalization with the Alpha, Delta, or Omicron SARS-CoV-2 variant: A nationwide Danish cohort study, Plos
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             Lauring, et al, Clinical severity of, and effectiveness of mRNA vaccines against, covid-19 from omicron, delta, and
       23    alpha SARS-CoV-2 variants in the United States: prospective observational study, BMJ, Mar. 9, 2022,
             https://www.bmj.com/content/376/bmj-2021-069761; Mark G. Thompson, et al., Effectiveness of a Third Dose of
       24    mRNA Vaccines Against COVID-19–Associated Emergency Department and Urgent Care Encounters and
             Hospitalizations Among Adults During Periods of Delta and Omicron Variant Predominance, 71 Morbidity &
       25    Mortality Weekly Report 139 (2022), https://www.cdc.gov/mmwr/volumes/71/wr/mm7104e3.htm; Hung Fu Tseng, et
             al., Effectiveness of mRNA-1273 against SARS-CoV-2 Omicron and Delta variants, 28 Nature Medicine 1063
       26    (2022), https://www.nature.com/articles/s41591-022-01753-y.

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        1             68.      In 2021, attention turned from a droplet-mediated form of transmission to an

        2    aerosol-form of transmission.98 The fact that COVID is transmitted over distances via aerosols in

        3    indoor spaces was clear to many scientists early in the pandemic and was later recognized as the

        4    main mode of transmission.99 An unvaccinated person can therefore increase the likelihood of

        5    COVID-19 transmission and infection amongst others by simply being present, even if masked, in

        6    a lunchroom, office space, bathroom, or corridor. These aerosols can persist in the air even after

        7    the person leaves the space, like smoke from a cigarette. This risk is compounded in unventilated

        8    or poorly ventilated spaces. Police officers, such as Plaintiff, interact with individuals and groups

        9    of people from communities of color, notably the Hispanic and Pacific Islander/Native Hawaiian

       10    communities, which were disproportionately impacted by COVID-19 infections, severe disease,

       11    and death.100,101,102

       12             69.      Aerosol transmission implied that infections could occur over greater distances

       13    than previously thought, including via ventilation ducts, and in spaces that were previously

       14    inhabited by individuals with COVID-19. This mechanism explained cases and outbreaks of

       15    transmission spread over distance and over time versus direct, near contact. Outbreaks were

       16    described in outdoor café settings and in vertically oriented apartments separated by floors and

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                  See Julian W. Tang, et al., Airborne transmission of respiratory viruses including severe acute respiratory
       19    syndrome coronavirus 2, 29(3) Current Opinion Pulmonary Medicine 191,
             .https://pubmed.ncbi.nlm.nih.gov/36866737/.
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                  See Noorimotlagh Z, Jaafarzadeh N, Martínez SS, Mirzaee SA. A systematic review of possible airborne
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                  See Acosta, A. M. et al., Racial and Ethnic Disparities in Rates of COVID-19–Associated Hospitalization,
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        1    doors but connected by ventilation ducts.103 Based on available data at the time the City’s Order,

        2    King County Executive Order, and State Proclamation requiring vaccination were announced,

        3    work in large spaces or even outdoors was not clearly associated with a decreased risk of

        4    infection.104 Even jobs requiring a significant amount of time spent outdoors could bring

        5    employees into proximity with others. As examples, police officers have some of the highest

        6    recorded times spent outdoors, but also have some of the highest risks of COVID exposure and

        7    infection and COVID-19 was the leading cause of police officer deaths in 2020, 2021, and

        8    2022.105 Similarly, there was a well-documented COVID-19 outbreak among wildland firefighters

        9    in 2020.106

       10             70.     In the original epidemiological descriptions of COVID-19 outbreaks, construction

       11    workers working in outdoor settings were included among those who were infected.107 Subsequent

       12    studies have described outdoor outbreaks linked to joggers,108 campers,109 and outdoor market

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       14       103
                   See Pengcheng Zhao, Analysis of COVID-19 clusters involving vertical transmission in residential buildings in
       15    Hong Kong, 16(5) Build Simul. Building Simulation 701, (August 31, 2022),
             https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9430008.
       16       104
                   See Elizabeth L. Yanik, et al., Occupational characteristics associated with SARS-CoV-2 infection in the UK
             Biobank during August–November 2020: a cohort study, 22(1) BMC Public Health 1884 (Oct. 10, 2022),
       17    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9549452/.https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9549452/.
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             Fatality-Rept-FINAL-opt.pdf (last visited Feb. 16, 2024).
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                   See Amanda Reiff Metz, et al., Investigation of COVID-19 Outbreak among Wildland Firefighters during
       21    Wildfire Response, Colorado, USA, 2020, 28 Emerging Infectious Diseases 8 (Aug. 1551 (2022),
             https://wwwnc.cdc.gov/eid/article/28/8/22-0310_article.
       22       107
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             China, August 2022, PubMed (Nov. 18, 2022) https://pubmed.ncbi.nlm.nih.gov/36483192/.
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                109
                 Na-Young Kim, et al., The first outbreak of coronavirus disease (COVID-19) at outdoor camping site in South
       26    Korea, 2020, 34 J. of Epidemiology (2024) https://pubmed.ncbi.nlm.nih.gov/37460295/.

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        1    shoppers.110 These facts underscore the risks of transmission even in outdoor settings, let alone

        2    large indoor spaces, such as airports, which pose an increased risk of transmission due to their

        3    more limited airflow.

        4             71.      Though some of our knowledge has evolved, what we did know in 2021 and 2022

        5    (and what is still true) is that vaccines offer protection against transmission—both indoors and

        6    outdoors—and that reducing transmission limits the development of more dangerous variants,

        7    eases pressure on extremely overwhelmed health care facilities and saves lives.

        8             72.      Based on recommendations from the CDC, the Washington Department of Health,

        9    local health jurisdictions, and my own research and understanding, it is my opinion that

       10    vaccination was and is the single best tool available for stemming the spread of COVID-19 and its

       11    variants, especially when used in combination with other mitigations. Vaccination against

       12    COVID-19 is fast (each dose takes about 20 seconds to administer), extremely safe, and highly

       13    effective at preventing transmission of the virus and especially severe disease and death. It

       14    remains the most important and effective public health tool at our disposal to combat COVID-19.

       15    No other public health strategy could effectively meet the City’s goals of maintaining critical

       16    governmental services and operations while protecting the health, safety, and well-being of City

       17    employees and the public at large.

       18                     VI. VACCINE MISINFORMATION AND MISCONCEPTIONS
       19             73.      Throughout the emergency phase of the pandemic and through today, people have

       20    been exposed to a great deal of information from a variety of sources, including news, public

       21    health guidance, fact sheets, infographics, and research, as well as opinions, rumors, myths, and

       22    outright falsehoods. The World Health Organization and the United Nations have characterized

       23    this unprecedented spread of information as an “infodemic.”111

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                   Mingyu Luo, et al., Analysis of a super-transmission of SARS-CoV-2 omicron variant BA.5.2 in the outdoor
       25    night market, 4 Frontiers in Public Health (July 4, 2023), https://pubmed.ncbi.nlm.nih.gov/37469696/.
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        1             74.     Amid all this information, many people have been exposed to health

        2    misinformation—i.e., information that is false, inaccurate, or misleading according to the best

        3    available evidence at the time. Misinformation has caused confusion and led people to decide not

        4    to get a COVID-19 vaccine, along with rejecting other public health measures such as masking

        5    and physical distancing.112

        6             75.     For example, although the only current contraindication to the COVID-19 vaccines

        7    is a rare acute allergy to specific ingredients, a survey in 2021 indicated that more than half of

        8    unvaccinated adults believed that “getting vaccinated posed a bigger risk to their health than

        9    getting infected with the coronavirus.”113 The Washington State Department of Health (“DOH”)

       10    has taken steps to address this misinformation, with a particular emphasis on providing resources

       11    for communities that may be disproportionately impacted by COVID-19. For example, on June 9,

       12    2021, DOH hosted a virtual panel entitled “Stopping Misinformation that Hurts the Black

       13    Community” that focused on preventing the spread of misinformation and providing factual

       14    statistics and resources about the COVID-19 vaccines. DOH has also collected resources and

       15    prepared outreach strategies for communities that may be disproportionately impacted by

       16    COVID-19.114

       17             76.     Because vaccinated persons can become infected, that has led some people to

       18    mistakenly believe that there is no difference between vaccinated and unvaccinated persons in

       19    terms of their viral loads and/or infection rates. Experts in immunology and in vaccine

       20    development agree that there are no “perfectly” effective vaccines, just like there are no perfectly

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             https://www.who.int/news/item/23-09-2020-managing-the-covid-19-infodemic-promoting-healthy-behaviours-and-
       22    mitigating-the-harm-from-misinformation-and-disinformation.
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                  See, e.g., Krista Konger, How misinformation, medical mistrust fuel vaccine hesitancy, Stanford Medicine, Sep.
       23    2, 2021, https://med.stanford.edu/news/all-news/2021/09/infodemic-covid-19.html.
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                  See Adela Suliman, Most unvaccinated Americans believe coronavirus vaccine poses greater health risk than the
       24    disease, poll finds, Wash. Post., Aug. 4, 2021, https://www.washingtonpost.com/nation/2021/08/04/kff-poll-
             coronavirus-vaccine-unvaccinated-americans/.
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                   See DOH, COVID-19 Vaccine - Equity and Engagement,
       26    https://www.doh.wa.gov/Emergencies/COVID19/VaccineInformation/Engagement#heading758.

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        1    effective other medications.115, 116 There are multiple studies from 2021 that investigated this issue

        2    with the COVID vaccines. For example, in a paper published in JAMA in May 2021 that tracked

        3    both symptomatic and asymptomatic healthcare workers (“HCW”) in Israel, the rate of

        4    symptomatic infection in vaccinated HCW was 4.7 per 100,000 person-days and 149.8 per

        5    100,000 in the unvaccinated cohort.117 The asymptomatic infection rate in the vaccinated group

        6    was 19.1 per 100,000 person-days and in the unvaccinated group it was 67.9 per 100,000 person-

        7    days.118 These findings were replicated in multiple other studies supporting reduction of infection

        8    and transmission following vaccination.119, 120 Importantly, the choice to remain unvaccinated

        9    impacts not only the health of the person making this decision, but having more unvaccinated

       10    people in the population also increases the risk of infection for all people, vaccinated and

       11    unvaccinated.121

       12                77.   Even if the (unsupported) assertion that viral loads are similar is correct, the rate of

       13    both asymptomatic and symptomatic infection in the vaccinated population is statistically and

       14    dramatically lower. As a result, both the vaccinated person and all of those around them are at

       15    much lower risk of infection.122 Dismissing the benefits of vaccination by stating that some

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       17      115
                   See Robert Lea, Fact Check: Is it Rare for Any Vaccine to Stop All Transmission, Infection? Newsweek, Oct. 15,
             2021, https://www.newsweek.com/fact-check-rare-vaccine-stop-all-transmission-infection-1638518.
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                   See CDC, Explaining How Vaccines Work, May 24, 2023,
             https://www.cdc.gov/vaccines/hcp/conversations/understanding-vacc-work.html.
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                   See Yoel Angel, et al., Association Between Vaccination with BNT162b2 and Incidence of Symptomatic and
       20    Asymptomatic SARS-CoV-2 Infections Among Healthcare Workers, 325 JAMA 2457 (2021),
             https://pubmed.ncbi.nlm.nih.gov/33956048/.
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                      Ibid.
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       22          See Ottavia Prunas, et al., Vaccination with BNT162b2 reduces transmission of SARS-CoV-2 to household
             contacts in Israel, 375 Science 375 1151 (2022), https://pubmed.ncbi.nlm.nih.gov/35084937/.
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                 See S.T. Tan, et al., Infectiousness of SARS-CoV-2 breakthrough infections and reinfections during the Omicron
             wave, 29 Nature Medicine 358 (2023), https://www.nature.com/articles/s41591-022-02138-x.
       24       121
                   See Fisman DN, et al., Impact of population mixing between vaccinated and unvaccinated subpopulations on
             infectious disease dynamics: implications for SARS-CoV-2 transmission. 194 Canadian Medical Association Journal
       25    573 (2022), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9054088/.
                122
       26             Ibid.

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        1    vaccinated people get infected and that those who are infected have similar viral loads is a

        2    cognitive error due to a misplaced focus on what happens to those individuals instead of the

        3    cumulative, massive decrease in viral load across the population. It is like refusing to wear one’s

        4    seatbelt just because some people still get injured in car accidents even when they are wearing

        5    their seatbelts.

        6             78.       In the context of a police officer, being vaccinated reduces the risk of both

        7    symptomatic and asymptomatic infection, thus reducing the police officer’s risk of infection and

        8    the risk of transmission from that person to others. Of note, later studies have found not only a

        9    reduced risk of infection and reduced severity of symptoms once infected, but also lower viral

       10    loads for both the Delta and Omicron variants (in 2022) among vaccinated frontline and essential

       11    workers following vaccination compared to unvaccinated individuals.123

       12             79.       Dixson states that as of November 2023, she “did not contract CV19 and still have

       13    not.” She also said she never tested positive when subject to testing by the City in late 2021 and

       14    early 2022. If this is correct, she was at the highest risk of infection at the time of the City’s Order

       15    (compared to those who were vaccinated or had a recent infection). Dixson cannot be sure she

       16    never had COVID-19 unless she has the results of antibody tests, also known as serology tests,

       17    that can confirm a past COVID-19 infection; and even that may not be accurate depending on

       18    when the test was taken. Dixson may have been infected and asymptomatic in the past and may be

       19    in the future. She may have also had respiratory symptoms and decided not to get tested. To the

       20    extent that she is basing this assertion on the results of a rapid test, which appears to be what she is

       21    describing, such tests are not 100% accurate, as described above.

       22             80.       Dixson has also stated that she has “God given natural immunity,” which she thinks

       23    will protect her from COVID-19. From an immunological perspective, the only way to have a

       24    COVID-specific immune response (T-cell or B-cell/antibody response) is to be exposed to the

       25
                123
                 See Mark G. Thompson, et al., Association of mRNA Vaccination with Clinical and Virological Features of
       26    COVID-19, 328 JAMA 1523 (2022), https://jamanetwork.com/journals/jama/fullarticle/2797418.

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        1    pathogen or parts of the pathogen (antigens). In the case of COVID-19, this means either being

        2    infected with the virus that causes COVID-19, SARS-CoV-2 or being vaccinated. The term

        3    “natural” has no biological meaning as the immunological response is entirely human derived

        4    regardless of the source of exposure (infection or vaccination). More accurate terms are derived

        5    from the source of exposure. For example, “post-infection” and “vaccine-derived” immune

        6    responses. As humans we are not born with virus specific immune responses due to incomplete

        7    maturation of the neonatal immune system, hence the higher risk of infection in that population.

        8    Once the immune system matures, all subsequent pathogen-specific immunity is the result of

        9    exposure by infection or vaccination. It is important to recognize that unlike the immune response

       10    generated by vaccination, the development of a pathogens-specific response following infection

       11    requires that the person survives the infection and takes the risk of symptomatic infections ranging

       12    from asymptomatic to severe (requiring intensive care support), long COVID, and transmission to

       13    those around them.

       14             81.     Dixson has also stated that she was “100% safe during the entire pandemic,” which

       15    I understand to mean that she is asserting that she never transmitted COVID to either co-workers

       16    or the public. There are no processes that carry a 100% rate of safety from infection aside from

       17    more radical practices like staying in one’s home, alone, and not leaving or interacting with

       18    another person. If a person leaves their home or lives with other people, they are taking some risk

       19    of infection and transmission to others. For example, a person could wear a fit-tested respirator

       20    when they leave their home, but if anyone in their home does not do the same, the person would

       21    be at-risk at home (unless they always wore a fit-tested respirator at home). Infections are more

       22    commonly transmitted in indoor public and crowded settings, but they can also occur outdoors due

       23    to the physics of aerosol transmission. A person who has the goal of maximizing their protection

       24    from COVID-19 would not eat at restaurants, drink anything in a public indoor setting, eat

       25    anything at a friend’s or relative’s home, or find any occasion to remove their respirator when

       26    around another person or people. Relevant to her statement that she was 100% safe is the implicit

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        1    assumption that Dixson was never infected and never transmitted to anyone else. Questions that

        2    would need to be answered to support that claim include: (a) how were these facts established; (b)

        3    how frequently did she undergo PCR testing to confirm that she did not have an asymptomatic

        4    infection; (c) how often were the individuals she was working with or otherwise were around

        5    tested by PCR; and (d) since infection due to a single exposure is common, were all individuals

        6    with even a single exposure to Dixson tracked and tested over the 14 day following exposure?

        7    Without these data, no person can claim that they were “100% safe during the entire pandemic,”

        8    especially someone without the experience and qualifications to opine on such issues.

        9             82.     Some people believe that if they observed vaccinated co-workers testing positive

       10    for COVID-19 (e.g., during the Delta and Omicron waves in fall 2021 and early 2022), that means

       11    that either unvaccinated persons are at no greater risk for getting and transmitting COVID-19, or

       12    that vaccines do not work. As described above, the rate of infection (asymptomatic and

       13    symptomatic) is statistically and meaningfully lower in vaccinated individuals and populations

       14    compared to unvaccinated individuals and populations. The personal observation that vaccinated

       15    individuals got COVID-19 is irrelevant. I understand that almost every person that Dixson

       16    worked with at that time was vaccinated. As a result, any workplace infection that she was aware

       17    of was in a vaccinated colleague. This immediately biases her perception. Another way to frame

       18    this is to consider the following situation: imagine if there are 100 vaccinated people and 2

       19    unvaccinated people in a workplace. If 5 people in the vaccinated group get infected and 1 in the

       20    unvaccinated group gets infected, does this mean that being vaccinated isn’t protective? Not at all.

       21    The rate of infection in the vaccinated group is 5 per 100 and 50 per 100 in the unvaccinated

       22    group. What would happen if vaccinated people were better at getting tested compared to

       23    unvaccinated people who did not “believe” in COVID-19 as a risk? This would dramatically

       24    change the perception of risk. Did Plaintiff get tested whenever she had respiratory infection

       25    symptoms, included “cold symptoms”? Did she get tested following exposure in the household?

       26    All these reasons are why we use scientific studies that test and follow large groups of people to

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        1    determine the impact of an intervention, and in fact commonly required multiple studies that come

        2    to the same conclusion. In the United States, these studies are evaluated by the U.S. Food and

        3    Drug Administration (FDA), the CDC’s Advisory Council on Immunization Practice (ACIP) and

        4    other scientific expert before recommendations are made. Attached hereto as Exhibit C is a true

        5    and correct copy of the recommendations. A similar process occurs in other countries. Of note, all

        6    countries with similar processes have made similar recommendations for COVID-19 vaccination.

        7    Due to this process, by the end of 2022, COVID-19 vaccines prevented 18.5 million COVID-19

        8    hospitalizations and 3.2 million deaths in the U.S. alone. Attached hereto as Exhibit B is a true

        9    and correct copy of the CDC’s Oct. 20, 2023, Morbidity and Mortality Weekly Report. How

       10    would this have happened if we had no scientific studies and individuals relied only on their own

       11    experience? How would we know what antibiotic to use? Or chemotherapy for cancer?

       12             83.     Some people suggest that instead of relying on data shared by public health

       13    authorities, an employer should rely on what it observes in its workplace regarding COVID-19

       14    positive cases and vaccination status to guide its assessment of COVID-19 risks and ways to

       15    reduce them. For the reasons stated above, using small unscientific samples or one’s personal

       16    experience are not valid bases for decision making. In the case of pandemics, facilities and

       17    employers must use public health recommendations, based on the best available science, to make

       18    policy decisions. Employers do not generally have the expertise to collect and to analyze

       19    infectious disease data. Research studies on pandemics and vaccines required large teams with

       20    representation from a broad array of expertise, ranging from statistics, epidemiology,

       21    immunology, laboratory medicine, to clinical personnel. This data is collected and then submitted

       22    to a journal that then sends the paper to a group of individuals who are not involved in the study

       23    but have expertise in the area being studied. These experts review the data and make a

       24    recommendation to publish, improve, or reject the study for publication. When a group of studies

       25    support a similar conclusion, public health officials and other experts can make solid

       26    recommendations to protect our communities. To act against these recommendations is to take a

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        1    stand against the basic principles of medical science and science in general that underpin all the

        2    scientific advances in our society.

        3             84.     Notwithstanding anecdotal observations from a workplace from late 2021 through

        4    April 2022, which may not be accurate based on asymptomatic COVID infections, an

        5    unvaccinated person was still more likely than a fully vaccinated person to contract and transmit

        6    COVID, and to experience serious illness or death from COVID.

        7             85.     I am aware that some people have expressed opposition to receiving the COVID-19

        8    vaccines based on the use of HEK293 cells in the development or testing of the Pfizer and

        9    Moderna vaccines. HEK293 cells are immortalized human embryonic kidney cells that were

       10    isolated in the 1970s. Cell lines from HEK293 cells are widely used in research and

       11    biotechnology, including in medication testing. I have used such cells in my own research.

       12    HEK293 cells were used in the development of Pfizer and Moderna vaccines to confirm that

       13    certain genetic instructions would work in human cells—they were not used to actually produce

       14    either vaccine.124 I also understand that medications that have similarly used HEK293 cell lines in

       15    testing include acetaminophen (Tylenol), acetylsalicylic acid (aspirin), and ibuprofen (Advil), and

       16    that they are used for treatment research for diseases such as Alzheimer’s and hypertension.125

       17             86.     The fact is that we do not know if this immortalized cell line used cells from a

       18    spontaneous abortion (a miscarriage) or an elective abortion. That difference may be important to

       19    the person who wants to get vaccinated otherwise.

       20
                124
                  See Priyanka Runwal, Here are the facts about fetal cell lines and COVID-19 vaccines, National Geographic,
       21    Nov. 19, 2021, https://www.nationalgeographic.com/science/article/here-are-the-facts-about-fetal-cell-lines-and-
             covid-19-vaccines.
       22       125
                   Id. Other well-known drugs and medications using HEK293 cell lines in testing include: Naproxen (Aleve);
             Pseudoephedrine (Sudafed); Diphenhydramine (Benadryl); Loratradine (Claritin); Dextromethrophan (Robitussin);
       23    Guaifenesin (Mucinex); Calcium Carbonate (Tums); Bismuth Subsalicylate (Pepto-Bismol); Levothyroxine
             (Synthroid, Levoxyl); Atorvastatin (Lipitor); Amlodipine (Norvasc); Metoprolol (Toprol, Lopressor); Omeprazole
       24    (Prilosec, Zegerid); Losartan (Cozaar); Albuterol / Salbutamol (ProAir, Ventolin); Sacubitril (Valsartan, Entesto);
             Tenapanor (Ibsrela); Etanercept (Enbrel); Azithromycin (Zithromax); Hydroxychloroquine (Plaquenil); Remdesivir
       25    (Veklury); Ivermectin (Stromectol). See Matthew Schneider, If Any Drug Tested on HEK-293 Is Immoral, Goodbye
             Modern Medicine, Patheos Blog (Nov. 6, 2021), https://www.patheos.com/blogs/throughcatholiclenses/2021/01/if-
       26    any-drug-tested-on-hek-293-is-immoral-goodbye-modern-medicine/ (collecting medical studies).

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            VII. THE CITY’S DECISION THAT IT COULD NOT ACCOMMODATE MS. DIXSON IN
        1                            HER POLICE OFFICER JOB
        2             87.     I understand that the City determined that it was unable to grant an accommodation

        3    for Plaintiff Cheyanne Dixson, a City police officer, beyond February 2022 because it would

        4    cause an undue hardship on the conduct of the City’s business and put the health and safety of

        5    other City employees and community members at risk.

        6             88.     I understand that the City’s assessment of the burden on the City included the

        7    following considerations:
                               In making its determination, the City considered:
        8

        9                            x   Ms. Dixson’s direct contact with the public on a daily basis.
                                     x   The contact Ms. Dixson had with other City employees.
       10
                                     x   Developments in COVID-19 that increased the chances of contracting
       11
                                         and spreading the virus.
       12
                                     x   The cost of continued testing, both from a work efficiency and financial
       13                                perspective.
       14                            x   The City’s plan to reopen offices to both staff and the public beginning
       15                                November 1, 2021.

       16             89.     I understand that this case involves an employee who, as a police officer, would
       17    have the job duty of patrolling assigned geographical areas in the City by car, bike, or on foot or
       18    other means to aide in preventing crime and to enforce criminal traffic laws and regulations. I also
       19    understand that police officers participate in direct contact with the public and members of the
       20    community on a day-to-day basis when doing things such as:
       21                        x Responding to the scene of a crime or accident

       22                            x   Administering first aid
                                     x   Interviewing victims and eyewitnesses
       23
                                     x   Physically detaining law violators
       24
                                     x   Receiving, searching, booking and/or supervising prisoners
       25
       26

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        1                90.     I understand that police officers, during their work, may have to enter public

        2    buildings or private residences and may need to transport suspected law violators in their vehicles.

        3    I also understand that police officers such as Ms. Dixson regularly interact with their peers,

        4    supervisors, and other law enforcement professionals, such as prosecutors, investigators, attorneys,

        5    and other court officials. These settings create risks for transmission of COVID from the police

        6    officers to one another, as well as to other individuals. The risk of infection and transmission to all

        7    other personnel are amplified by the Plaintiff’s unvaccinated status.

        8                91.     As explained above, at the time the vaccination policy was announced, COVID-19

        9    cases were spiking due to the Delta variant despite other strategies in place. This was followed by

       10    the Omicron waves, which continued in this area into 2022. The public health information

       11    available from August 2021 through February 2022, as well as the information available today,

       12    established that an unvaccinated person posed materially higher risks of transmitting COVID-19,

       13    including increasing the potential for causing an outbreak, contracting COVID-19, and developing

       14    severe disease, compared with a vaccinated person. This is true regardless of whether the

       15    unvaccinated person worked indoors or outdoors. An unvaccinated person would increase the

       16    likelihood of COVID-19 transmission and infection amongst others by simply being present, even

       17    if masked, in a lunchroom, office space, bathroom, or corridor. Further, police officers have some

       18    of the highest recorded times spent outdoors but also have some of the highest risks of COVID

       19    exposure and infection.126,127,128

       20                92.     If an unvaccinated employee enters a work site, office, or public area, there is a

       21    greater risk of COVID transmission, leading to infection of co-workers, employees, or members of

       22

       23       126
                  See Boydstun, J. L. & Wells, M. J, A Review of COVID-19 Deaths among Law Enforcement Officers in the
             United States, Polic. J. 97, 259–278 (2024).
       24       127
                      See https://abcnews.go.com/Health/covid-leading-cause-law-enforcement-deaths-2022-3rd/story?id=96363324.
       25       128
                  See Violanti JM, Fekedulegn D, McCanlies E, Andrew ME, Proportionate mortality and national rate of death
             from COVID-19 among US law enforcement officers: 2020 Policing. 2022 May 24;45(5):881-891. doi:
       26    10.1108/pijpsm-02-2022-0022. PMID: 37192870; PMCID: PMC10174272.

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        1    the public and carrying a significant risk of a super-spreader event. Even if an infected officer does

        2    not directly interact with the public, they can interact with and infect other City personnel who do

        3    interact with the public and can then transmit COVID-19 to others. Based on the public health

        4    data at the time of the City’s decision, such risks were greater both locally and nationally.

        5             93.     While transmitting COVID-19 to a co-worker implicates serious issues, including

        6    the outcomes of infection in that person, and the transmission from that person to other people in

        7    their lives (including potentially higher risk family members), transmitting COVID-19 to an

        8    unsuspecting child, member of the community, or a person who has been arrested, and who

        9    therefore does not have the ability to take additional precautions to protect themselves, implicates

       10    potentially even greater issues (as described earlier in this document).

       11             94.     Based on recommendations from the CDC, the Washington Department of Health,

       12    Public Health – Seattle & King County, and my own research and understanding, it is my opinion

       13    that vaccination was and is the single best tool available for stemming the spread of COVID-19

       14    and its variants, especially when used in combination with other mitigations. Vaccination against

       15    COVID-19 is fast (each dose takes about 20 seconds to administer), extremely safe, and highly

       16    effective at preventing transmission of the virus and especially severe disease and death. It

       17    remains the most important and effective public health tool at our disposal in the COVID-19

       18    pandemic. No other public health strategy could effectively meet the City’s goals of safely

       19    providing City services while also protecting the health, safety, and well-being of employees and

       20    the public at large.

       21             95.     The public health information available at the time, as well as the information

       22    available today, established that masking, testing, or social distancing alone or the combination of

       23    masking, testing, and social distancing were not equivalent to the combination of vaccination,

       24    masking, testing, and social distancing in terms of protecting employees and other persons with

       25    whom an employee comes into contact while performing job duties. In my expert opinion, regular

       26    COVID-19 precautions such as masking and other mitigation strategy but cannot replace

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        1    vaccination. There are no scientific data that I am aware of that describe an equivalency between

        2    being vaccinated in addition to other mitigations and not being vaccinated with those same

        3    mitigations. As described above, masking is not a substitute for vaccination, and there are no

        4    studies demonstrating that non-pharmaceutical interventions (such as masking, sick leave, and

        5    access to testing) are, in themselves, sufficient to reduce the risk of infection and transmission in

        6    the workplace compared to vaccination with any combination of those mitigations. Social

        7    distancing can serve as a layer of mitigation, but this is complicated by the fact that we do not

        8    know what a “safe” distance is and by the fact that aerosolized virus remains floating in the air,

        9    creating a risk for people who enter a room after the infected person leaves, and for people in

       10    adjacent spaces with shared air. Vaccination addresses all these concerns.

       11             96.     Testing is far from equivalent to being vaccinated and has not been demonstrated to

       12    be an effective tool to prevent COVID-19 transmission in the workplace compared to the effects

       13    of vaccination. As described earlier in this document, regular testing has several significant

       14    weaknesses. Even putting aside the limitations of PCR and antigen tests, a weekly testing regimen

       15    is not frequent enough to prevent an employee from reporting to work while infected with

       16    COVID-19. For example, if testing is performed every Wednesday, the person could be infectious

       17    and working on Monday, Tuesday, Thursday, Friday, Saturday, and Sunday.

       18             97.     Moreover, even a more frequent testing regimen would also not eliminate these

       19    risks. Because PCR tests can take multiple days to return results, even if the Plaintiff submitted to

       20    PCR tests every day, that would not avoid the risk that they would be infected with and/or transmit

       21    COVID-19 while at work. And because of the risks of false negative PCR tests and asymptomatic

       22    infection and transmission, a regimen of daily PCR testing would similarly not have avoided these

       23    risks. Furthermore, it is not clear that the quantity of antigen tests required to permit daily or

       24    weekly testing would have been available at the time of Plaintiff’s accommodation requests. For

       25    these reasons, even with the required administration and data tracking processes in place, regular

       26    PCR testing or antigen testing could easily fail to detect an infected person.

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        1             98.     It is my opinion that the City’s undue hardship conclusion was supported by the

        2    scientific evidence and public health data available from August 2021 to February 2022 and today.

        3    Given above-mentioned evidence and Plaintiff’s job duties, which entailed interactions with

        4    coworkers and members of the public, any of whom may have risk factors for severe COVID-19

        5    outcomes, including death, it is my opinion that, had the City allowed Plaintiff to continue her

        6    employment unvaccinated, it would have significantly increased the risk that Plaintiff would infect

        7    co-workers and members of the public with COVID-19 or contract the virus herself. Data

        8    available at the time established that an unvaccinated person posed materially higher risks of

        9    transmitting COVID-19, including increasing the potential for causing an outbreak, contracting

       10    COVID-19, developing severe disease, and facing hospitalization or death, compared with a

       11    vaccinated person. Mitigation techniques such as masking, testing, and social distancing are

       12    inferior to vaccination, and even with such safety measures in place, allowing Plaintiff to work

       13    unvaccinated would have still posed significant increased safety risks. The combination of

       14    masking, testing, and at times working outdoors was not equivalent to the combination of

       15    vaccination, masking, and at times working outdoors in terms of protecting employees and other

       16    persons with whom a police officer comes into contact while performing job duties.

       17                   VIII. REBUTTAL TO DR. HARVEY RISCH’S EXPERT REPORTS
       18             99.     I have reviewed the report and addendum prepared by Dr. Harvey Risch in this

       19    matter: “Re: Cheyanne [Dixson] Rosa v. Cit of Issaquah Police Department et al. (“Issaquah”)

       20    Case, Case No. 2:2022cv-1771, in response to expert report provided by Dr. John Lynch, January

       21    21, 2025” (Feb. 19, 2025) (the report) and “Re: Cheyanne [Dixson] Rosa v. Cit of Issaquah Police

       22    Department et al. (“Issaquah”) Case, Case No. 2:2022cv-1771, Addendum and Clarification”

       23    (March 21, 2025) (the addendum). I also reviewed Dr. Risch’s CV and his deposition transcript in

       24    this matter.

       25             100.    I provided two expert reports in this matter. My original expert report was issued

       26    on January 21, 2025. My rebuttal expert report, which contains my opinions rebutting Dr. Risch’s

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        1    testimony and specifically responding to assertions in his report, was issued on March 26, 2025.

        2    Attached hereto as Exhibit G is a true and correct copy of my rebuttal report, which I incorporate

        3    herein subject to the declaration below regarding its truthfulness.

        4             101.    Dr. Risch’s Report highlights his 400+ peer-reviewed publications, but those

        5    predominantly focus on cancer. Of the 6 peer-reviewed articles that relate to COVID-19, one

        6    relates to the alleged politics behind vaccine mandates and the rest relate to treatments for

        7    COVID-19 and espouse theories that have been debunked or called into concern, as explained in

        8    my rebuttal report.

        9             102.    Dr. Risch is the Chief Epidemiology Officer of the Wellness Company, which sells

       10    non-FDA-approved supplements, including ones purporting to treat alleged harms caused by the

       11    COVID-19 vaccines (by supposedly removing the spike protein from people who have been

       12    vaccinated), whose efficacy are unsupported by any scientific data.

       13             103.    Dr. Risch, despite having a long history of research in cancer risk epidemiology,

       14    repeatedly uses information from sources that are strongly associated with anti-vaccine

       15    propaganda, as explained in greater detail in my rebuttal report.

       16             104.    Dr. Risch’s Report regularly uses information that was not available at the time of

       17    the City’s implementation of the vaccine mandate. Data reviewed in hindsight does not give an

       18    appropriate view or analysis of the data available during the relevant period (here August 2021-

       19    February 2022).

       20             105.    Dr. Risch’s statement that it was improper for the City to allegedly considered

       21    “relative risks” posed by unvaccinated individuals lacks any support in the relevant scientific

       22    community. This perspective implies a lack of understanding of how vaccines work and how

       23    vaccine effectiveness is determined. For example, in the original research studies used to

       24    demonstrate the impact of the mRNA vaccines the researchers compared COVID-19 infections,

       25    severe disease, and death in the vaccinated group and the unvaccinated population. At no point did

       26    every unvaccinated person get COVID-19. But when compared to the number of people infected

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        1    in the unvaccinated group, ~95% fewer people in the vaccinated group got infected. The

        2    difference in number infected in the unvaccinated group versus in the vaccinated group is the

        3    relative risk reduction. The reason it is relative and not an absolute reduction is that the absolute

        4    risk of infection varies over time depending on how much COVID-19 is circulating, what variants

        5    are present, and whether there are broadly used NPIs like required masking in indoor public

        6    spaces. Some people who have stated positions against COVID-19 or other vaccines point to the

        7    absolute risk reduction, which can be interpreted as small and thus ineffective. This perspective

        8    again missed the fact that even in a pandemic, in any given short time period (weeks to months)

        9    not every non-immune person is exposed and not every non-immune person is infected. To

       10    respond to Dr. Risch’s comment, the relative risk reduction demonstrated in COVID-19 vaccine

       11    studies is the standard assessment of vaccine efficacy and effectiveness. Dr. Risch again makes the

       12    same error in thinking in his deposition (page 54, lines 19 through 24). Using his numbers, public

       13    health data showed that vaccinated individuals had a 64% reduced risk of infection compared to

       14    unvaccinated individuals. It does not mean that 36% of vaccinated people were going to get

       15    infected. Again, this implies that 100% of people were exposed to a potential transmission event,

       16    which was never the case at any time in the pandemic. On the following page, on lines 3, 4, and 5,

       17    he states that “a third of more [vaccinations] may be useless.” This is an incorrect understanding

       18    of basic vaccine effectiveness.

       19             106.    Dr. Risch’s “risk burden analysis” is not generally accepted in the public health or

       20    occupational health community in the context of assessing workplace risks during a pandemic. I

       21    am not aware of any others who have applied this methodology in the COVID-19 risk assessment

       22    context, let alone the accommodation context. I am similarly unaware of this analysis being

       23    recommended by the CDC or any other public health agency/association or being the subject of

       24    any peer-reviewed publications related to the COVID-19 pandemic. Dr. Risch’s approach also

       25    does not consider other City of Issaquah employees who may or may not have decided to get

       26

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        1    vaccinated. In addition, the City of Issaquah did not have the epidemiological expertise to conduct

        2    the proposed analysis.

        3             107.    Dr. Risch’s 3.65% breakthrough infection “rate” is incorrect and inapplicable for

        4    several reasons, in addition to those noted in my rebuttal report. Contrary to Dr. Risch’s assertion

        5    regarding the number of people in the U.S. that were fully vaccinated by the end of 2021, by the

        6    end of 2021, ~62% of the U.S. population, or 205,811,394 people, were fully vaccinated. See

        7    Exhibit H, which is a true and correct copy of CDC vaccination data published on

        8    https://usafacts.org/visualizations/covid-vaccine-tracker-states/. Using the table on page 9, Dr.

        9    Risch states that 5,105,414 fully vaccinated people had a breakthrough infection by the end of

       10    2021. As such, the cumulative breakthrough infection “rate” at the end of 2021 was only 2.48%

       11    (5,105,414/205,811,394).129 That means that roughly 200,871,921 fully vaccinated people did not

       12    have a breakthrough infection. I consider an intervention that prevents 97.6% of harm events to be

       13    highly effective. Further, Dr. Risch’s breakthrough infection “rate” is not actually a rate. Rather, it

       14    is a nationwide cumulative estimate of breakthrough infections. It is not a relevant data point for

       15    many reasons, including because a cumulative breakthrough infection estimate is not sensitive to

       16    many factors that actual breakthrough rates depend on like case rates, variants, nonpharmaceutical

       17    interventions, and vaccination rates.130 Finally, Dr. Risch’s breakthrough infection “rate” is also

       18    inapplicable because it is retrospective estimate of the whole U.S. population that was not

       19    available to policymakers or experts at the time.

       20             108.    In the first paragraph on page 6 of Dr. Risch’s report, he provides relative risk (RR)

       21    estimates using the following equation: RR=1/(1-vaccine efficacy). Using this formula, which is

       22    technically the reciprocal of the relative risk, he stated that there was a RR of 4.6 for getting

       23    COVID-19 in unvaccinated people compared to vaccinated people in 2021. When the delta variant

       24       129
                  Similarly, as Dr. Risch notes in his Report, in Washington State, between January 2021 and January 2022, only
             about 2.5% of the vaccinated population had a breakthrough infection.
       25
                130
                 See Jones, J. M. et al. Updated US Infection- and Vaccine-Induced SARS-CoV-2 Seroprevalence Estimates
       26    Based on Blood Donations, July 2020-December 2021. JAMA 328, 298–301 (2022).

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        1    was predominant, the RR decreased to approximately 2.8-fold increased risk in unvaccinated

        2    people. In both situations, being unvaccinated was associated with a higher risk of COVID-19

        3    infection. It is important to recognize that these are both fold increases, so they are multipliers of

        4    infection risk compared to vaccinated people. An alternative, and perhaps more intuitive way to

        5    think about vaccine effectiveness, is to understand that a vaccine with 78% effectiveness prevents

        6    78% of the infections that would have otherwise occurred in the absence of the vaccine. During

        7    the delta phase, vaccine effectiveness was estimated to be between ~65% and ~80% (and

        8    potentially higher) depending on the data source and population being evaluated.131,132,133,134 That

        9    range means that vaccination continued to prevent between 65% and 80% of infections that would

       10    have otherwise occurred. Using the upper estimate gives a RR of infection for unvaccinated

       11    people as 5 times the risk compared to vaccinated people. Using either approach, the reduction in

       12    infections due to vaccination was superior to being unvaccinated. Furthermore, there are no data to

       13    support an approach, outside of vaccination, that would provide a similar level of protection for an

       14    Ms. Dixson in her work environment.

       15             109.     In addition to being based on flawed and/or inapplicable data, Dr. Risch’s risk

       16    analysis also fails to consider material information and assumes, without support, that people will

       17    not work while infected or with an asymptomatic infection and that an infected person’s risk to

       18    others is spread uniformly across an organization and across all situations/encounters. My

       19    understanding is that Ms. Dixson worked in multiple locations with coworkers, incarcerated

       20    individuals, and members of the public (including elderly individuals, unhoused individuals, and

       21
                131
       22           See Zheng, C. et al. Real-world effectiveness of COVID-19 vaccines: a literature review and meta-analysis. Int.
             J. Infect. Dis. 114, 252–260 (2022).
       23       132
                See Kow, C. S., Ramachandram, D. S. & Hasan, S. S. The effectiveness of mRNA-1273 vaccine against
             COVID-19 caused by Delta variant: A systematic review and meta-analysis. J. Méd. Virol. 94, 2269–2274 (2022).
       24       133
                 See Rosenberg, E. S. et al. New COVID-19 Cases and Hospitalizations Among Adults, by Vaccination Status —
             New York, May 3–July 25, 2021. Morb. Mortal. Wkly. Rep. 70, 1306–1311 (2021).
       25
                134
                  See Plumb, I. D. et al. Estimated COVID-19 vaccine effectiveness against seroconversion from SARS-CoV-2
       26    Infection, March–October, 2021. Vaccine 41, 2596–2604 (2023).

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        1    those suffering from substance abuse disorders). The “infection risk” associated with allowing

        2    Dixson to work while unvaccinated was distributed equally to all those groups, spaces, and

        3    encounters despite the fact that the risks (of infection, transmission, severe illness, and death),

        4    vulnerabilities, and vaccination statutes associated with those different groups (e.g., coworkers vs.

        5    incarcerated individuals) and exposure situations (e.g., sharing a bathroom/lunchroom vs. sharing

        6    a car or office) vary drastically.

        7             110.    Dr. Risch’s analysis also solely accounts for infection rates, but not transmission.

        8    Unvaccinated people have higher infectious viral loads that take longer to clear than vaccinated

        9    people.135 As such, this means that an infected, unvaccinated person carries a higher risk of

       10    transmission, in addition to their higher risk of infection.

       11             111.    Dr. Rish stated in his testimony (page 79, line 22 through page 80, line 1) that “we

       12    certainly had a whole spectrum of outpatient treatment that was being used at various times that

       13    prevented people from being hospitalized and from dying, and that was an aggressive approach

       14    that should have been used even more.” At no time during the pandemic did we have “a whole

       15    spectrum” of treatments to prevent COVID-19 hospitalizations or dying. We cycled through a

       16    handful of outpatient and inpatient treatments, none of which, aside from steroids for critically ill

       17    patients, was highly effective and continue to be “suggested” rather that strongly recommended.

       18    Dr. Risch’s comment also implies that providers in the United Staes were not adequately treating

       19    people with COVID-19 and if we did, the pandemic would not have been nearly as destructive as

       20    it was. There is no data to support Dr. Risch’s statements.

       21             112.    Finally, Dr. Risch’s assertion that if Ms. Dixson were allowed to work, her fraction

       22    of the City’s police officers’ “absolute” infection risk would be less than the number of vaccinated

       23    police officers with breakthrough infections is specious. This figure improperly considers only the

       24    number of police officers, rather than all Issaquah Police Department staff with whom Dixson

       25
                135
                 See Puhach, O., Meyer, B. & Eckerle, I. SARS-CoV-2 viral load and shedding kinetics. Nat. Rev. Microbiol. 21,
       26    147–161 (2023).

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        1    interacted. Dr. Risch’s absolute infection risk rate calculation is also directly related to the

        2    number of people who are vaccinated and would have been far higher if less than 97% of police

        3    officers were vaccinated due to the mandate. Further, Dr. Risch’s absolute infection risk rate

        4    analysis fails to compare Ms. Dixson’s purported infection risk to the purported infection risk of

        5    each individual police officer. When such a comparison is done using the figures in Dr. Risch’s

        6    Report, it appears that Ms. Dixson had a 5x higher absolute infection risk (11%) than each

        7    vaccinated officer (2.4%). He attempts to explain this difference in risk by spreading the risk

        8    across all interactions by members of the Issaquah Police Department. The fact is that the risk

        9    would be carried by those Ms. Dixson interacts with regularly and by members of the community

       10    who she may interact with only once, including individuals who may not be able to protect

       11    themselves (e.g., unable to wear a mask), all while she is at higher risk of infection and

       12    transmitting to others. Dr. Risch appears to apply a subjective lens to this assessment of risk and

       13    potential harm to Plaintiff’s co-workers and members of the public. He attempts to make a

       14    mathematical argument, as an academic epidemiologist, in place of assessing what

       15    accommodations were possible that reduced that level of risk to approximate the risk of vaccinated

       16    individuals doing the same work. In fact, his recommendation is that Dixson could continue

       17    performing her same job duties without accommodations like masking, testing, or social

       18    distancing, despite the increased risk. I would argue that this position reflects Dr. Risch’s lack of

       19    occupational health and pandemic response experience.

       20             113.    Despite being part of a team that developed a COVID-19 vaccination requirement

       21    for a large health system, guiding UW Medicine’s response to the COVID-19 pandemic, and

       22    working with numerous colleagues across the country and multiple organizations that also

       23    implemented vaccination requirements, I have never seen or heard of the approach outlined by Dr.

       24    Risch used. It is also wildly unrealistic to expect every employer in the United States to have

       25    hired a “credentialed epidemiologist” (page 166, line 16) to perform these calculations.

       26

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        1             114.    For these reasons, and the reasons outlined in my rebuttal report, Dr. Risch’s risk

        2    analysis is flawed and is irrelevant to the issues in this case. My rebuttal report provides

        3    additional information as to the flawed nature of Dr. Risch’s other assertions/opinions.

        4

        5             I declare under penalty of perjury under the laws of the state of Washington that the

        6    foregoing is true and correct to the best of my knowledge.

        7
                                                                
        8             Executed this 22nd day of May, 2025, at _____________, Washington.

        9

       10                                                           ______________________________
                                                                    John Lynch, MD
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CURRICULUM VITEA
JOHN LYNCH, MD, MPH, FIDSA
November 2024

1. Personal Data
       Place of birth: Providence, Rhode Island

2. Education:
       1987-1991      BA, Anthropology/History, University of Rhode Island, Kingston, RI
       1998-2001      MD, University of Washington, Seattle, WA
       2008-2011      MPH, Epidemiology/Global Health, University of Washington, Seattle,
              WA

3. Postgraduate training
       2002-2005      Internship in Internal Medicine, Massachusetts General Hospital, Boston,
                      MA.
       2005-2009      Fellow in Infectious Diseases, University of Washington, Seattle, WA.
       2006-2009      Post-doctoral Fellow, Overbaugh Lab, Fred Hutchinson Cancer Research
                      Center, Seattle, WA.

4. Faculty Positions Held
       2009-2010      Acting Instructor, Department of Medicine, Division of Allergy and
                      Infectious Diseases, University of Washington, Seattle, WA
       2009-2011      Research Associate, Human Biology Division, Fred Hutchinson Cancer
                      Research Center, Seattle, WA
       2010-2014      Assistant Professor, Department of Medicine, University of Washington,
                      Seattle, WA
       2014-2021      Associate Professor, Department of Medicine, University of Washington,
                      Seattle, WA
       2021-          Professor, Department of Medicine, University of Washington, Seattle,
                      WA

5. Hospital Positions
       2009-          Attending Physician, Harborview Medical Center
       2009-          Attending Physician, University of Washington Medical Center
       2010-          Medical Director, Employee Health Services, Harborview Medical Center
       2010-2018      Medical Director, Antimicrobial Stewardship Program, Harborview
                      Medical Center
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      2010-2014    Assistant Medical Director, Infection Control, Harborview Medical Center
      2010-2014    Medical Director, Infectious Disease Clinic, Harborview Medical Center
      2014-                 Medical Director, Infection Prevention & Control, Harborview
                   Medical Center
      2014-                 Co-Chair, UW Medicine Infection Prevention & Control Committee
      2014-                 Chair, Infection Prevention & Control Committee, Harborview
                   Medical Center
      2016-2020    Co-Chair, UW Medicine Antimicrobial Stewardship Committee
      2017-2020    President of the Harborview Medical Center Medical Staff 2019-2020
      2019-2020    Medical Staff President, Harborview Medical Center
      2019-                 Medical Director, Sepsis Program, Harborview Medical Center
      2019-                 Associate Medical Director, Harborview Medical Center
      2020-2023    Clinical Lead, Medical-Technical Team, UW Medicine COVID-19
                   Emergency Operations Center

6. Honors
       1990        Phi Alpha Theta History Honor Society, University of Rhode Island
       1991        President’s Award for Academic Excellence in Anthropology, University of
                   Rhode Island
      1999         Medical Student Association President (Member 1998-2002), University
                   of Washington School of Medicine
      1999, 2002   International AIDS Research and Training Program Fellowships
      2002         Gary E. Leinbach Award, University of Washington School of Medicine
      2002         Alpha Omega Alpha Medical Honor Society, University of Washington
                   School of Medicine
      2002         ACP-ASIM Washington Chapter Outstanding Student in Internal Medicine
      2002         M.D. Degree with Honors, University of Washington School of Medicine
      2005         Morton N. Swartz Humanism in Medicine Award, Massachusetts General
                   Hospital
      2006-2008    National Institutes of Health Loan Repayment Grantee
      2008-2010    University of Washington Institute for Translational Health Sciences
                   Fellow
      2014                 Harborview Medical Center CARES Award, Employee Health
                   Service
      2015                 Harborview Medical Center CARES Award, Infection Control
                   Program
      2018                 Washington State Hospital Association Community Health
                   Leadership Silver Award for UW Tele-Antimicrobial Stewardship Program
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                      (UW TASP)
       2019           Elected to the UW Chapter of the Gold Humanism Honor Society
       2020           University of Washington Distinguished Staff Award (R&T Radiological
                      Response Team, Clinical Lead)
       2020           William O. Robertson Patient Safety Award, Washington State Medical
                      Association
       2021           University of Washington David B. Thorud Leadership Award
       2021           Grassroots Champion Award for Washington State, American Hospital
                      Association

7. Board Certification
       2005-2105       Diplomate, American Board of Internal Medicine
       2007-2028       Diplomate, American Board of Internal Medicine, Infectious Disease

8. Current Licensure
       2002-2005     Massachusetts State License, Physician & Surgeon
       2005-         Washington State License, Physician & Surgeon

9. Diversity, Equity, and Inclusion Activities
       2017-           Co-Director, Center for Stewardship in Medicine
       2019-2022       Diversity Committee, Division of Allergy & Infectious Diseases, UW School
                       of Medicine
       2020            Meetings with President of the Quinault Nation and with Washington
                       State Tribal Leaders and medical directors regarding COVID-19

       Since 2017 I have co-led the UW Tele-Antimicrobial Stewardship Program (TASP) which
       has since broadened to become the Center for Stewardship in Medicine. This program
       provides infectious diseases, antimicrobial stewardship, and infection prevention tele-
       mentoring and other resources to small, rural, and critical access hospitals in the United
       States. We also provided guidance throughout the pandemic. As part of the UW
       Medicine COVID Emergency Operations Center, I was also very active in outreach to and
       education of communities that were disproportionally impacted by the pandemic.

10. Professional Organizations
       2005-         Infectious Diseases Society of America
                     - Chair, COVID PPE Guidelines Committee, 2020-
                     - Board of Directors, 2019-2022
                     - Clinical Affairs Committee Member, 2012-2015
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                      - Program Committee Member, ID Week 2015-2019
                      - ID Week abstract reviewer, 2013-2019
                      - Antimicrobial Resistance Committee Working Group, 2015
       2005-          Infectious Diseases Society of Washington
       2018-          Society for Healthcare Epidemiology of America
       2020-2021      International Task Force on COVID-19 Management, American Thoracic
                      Society
       2020-2022      Washington State Medical Association

11. Education and Training Activities
       a. Didactic Teaching
       2018-                   Lecturer, MEDSCI 520, WWAMI Invaders and Defenders,
                      University of Washington School of Medicine
       2015                    Course Chair, HUBIO 534, Microbiology, University of Washington
                      School of Medicine
       2015-2017      Block Director, MEDSCI 520, WWAMI Invaders and Defenders, University
                      of Washington School of Medicine
       2010-2013      Course Chair, MED 540/EPI 505, Prevention of Healthcare Associated
                      Infections, University of Washington Schools of Medicine and Public
                      Health, Winter Quarters, Seattle, WA
       2010-2015      Lecturer, CONJOINT 550, Clinical Infectious Diseases, University of
                      Washington School of Medicine, Seattle, WA
       2019, 2020 Lecturer, CONJOINT 550, Clinical Infectious Diseases, University of
                      Washington School of Medicine, Seattle, WA
       2010-2017      Lecturer, Quarterly Core Medicine Clerkship Teaching for 3rd year medical
                      students, University of Washington School of Medicine, Seattle, WA
       2013-2014      Course Co-Chair, EPI 529/HSERV 536, Emerging Infections of International
                      Public Health Importance, University of Washington School of Public
                      Health, Winter Quarters, Seattle, WA
       2013                    Co-Director, Global Health and Disparities Ambulatory Block,
                      Internal Medicine Residency Program, University of Washington School of
                      Medicine, Seattle, WA
       2009-2016      Clinical teaching, Internal Medicine, Harborview Medical Center
       2009-                   Clinical teaching, Infectious Diseases consult, Harborview Medical
                      Center
       2008                    Initiated Infectious Diseases Fellow’s Board Review Series,
                      University of Washington
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       b. Thesis Committee Membership
       n/a

       c. Advising/Mentorship
       2015-2017     Yuan Zhou, MD, ID Fellow (Current: private practice)
       2016-2017     Margaret Lind, MPH, PhD (Current: post-doctoral fellow, Yale University)
       2017-2018     Ted Wright, MD, ID Fellow (Current: private practice)
       2017-2018     Chloe Bryson-Cahn, MD, ID Fellow (Current: Assistant Professor, UW)
       2019-2020     Nandita Mani, MD, ID Fellow (Current: Clinical Assistant Professor, UW)
       2019-2023     Dustin Long, MD, Assistant Professor, Anesthesiology and Pain
                     Medicine/Critical Care, UW, Recipient 2019 Society for Healthcare
                     Epidemiology of America Epi Competition Award ($20,000)
       2021-2022     Alyssa Castillo, MD, ID Fellow (Current: Assistant Professor, University of
                     Colorado)
       2021-2022     Peter Bulger, MD, ID Fellow (Current: private practice)
       2022-2023     William Simmons, MD, ID Fellow (Current: Assistant Professor, University
                     of California, San Francisco)
       2023-2024     Hayato Mitako, MD (Current: Assistant Professor, University of Colorado)


       d. Curriculum and Training Program Development
       n/a

       e. Other
       n/a



12. Editorial Responsibilities
        n/a

13. Special Responsibilities and Service
    a. International
       n/a

   b. National
            2010-2014            Malaria section, CDC/NIH/HIVMA/IDSA Guidelines for
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                        Prevention and Treatment of Opportunistic Infections in
                        HIV-positive Adults and Adolescents, published spring
                        2013.
          2012-2015     Clinical Affairs Committee, Infectious Disease Society of
                        America
          2015-2019     Program Committee, Infectious Disease Society of America
          2020-2024     Chair, COVID-19 PPE Guideline Subcommittee, Infectious
                        Diseases Society of America
          2020-2021     NFL COVID-19 Advisory Committee

c. Regional
         2013-2014      Lecturer and Consultant, Washington State Hospital Association,
                        Leading Edge Advanced Practice Topics (LEAPT)/Partnership for
                        Patients, focused on central-line associated bloodstream
                        infections, Clostridium difficile infections and antimicrobial
                        stewardship
          2014-2015     Lecturer and Consultant, Washington State Hospital Association,
                        Leading Edge Advanced Practice Topics (LEAPT)/Partnership for
                        Patients, focused on antimicrobial stewardship and Clostridium
                        difficile infection reduction
          2014-2020     Hospital Infection Leaders Committee, Washington State Hospital
                        Association, Seattle, WA
          2012-2016      King County Medical Society Public Health Liaison Committee,
                        Infectious Disease Society of Washington Representative

d. University of Washington
          2014-Present Healthcare Associated Infection Advisory Board, Washington State
                        Department of Health, Tukwila, WA
          2014-Present Antimicrobial Stewardship Advisory Committee, Washington State
                        Department of Health, Seattle, WA
          2020-Present UW Advisory Committee on Communicable Diseases
          2019-Present Associate Medical Director, Harborview Medical Center, Seattle,
                        WA
          2019-Present Chair, Sepsis Committee, Harborview Medical Center, Seattle, WA
          2019-Present Rotating Chair, UW Medicine Sepsis Committee, UW Medicine,
                        Seattle, WA
          2016-Present Co-Director, UW Center for Stewardship in Medicine
          2015-Present Harborview Medical Center Quality Improvement/Patient Safety
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                    Leadership Committee
      2012-Present UW Medicine Advisory Committee on Blood-borne Pathogens
      2011-Present UW Medicine Infection Control Committee, University of
                    Washington, Seattle, WA (Co-Chair, 2014-Present)
      2010-Present Infection Control Committee, Harborview Medical Center, Seattle,
                    WA (Chair, 2014-Present)
      2010-Present Tuberculosis Subcommittee, Harborview Medical Center, Seattle,
                    WA (Co-Chair, 2014-Present)
      2010-2018     Pharmacy and Therapeutics Committee, Infectious Diseases
                    Subcommittee, University of Washington, Seattle, WA
      2010-Present Organizational Improvement Committee, Harborview
                    Medical Center, Seattle, WA
      2010-Present Organizational Improvement Metrics Committee, Harborview
                    Medical Center, Seattle, WA
      2010-Present Campus Health Services Executive Committee, University of
                    Washington, Seattle, WA
      2010-Present Central Venous Access Device Committee, Harborview Medical
                    Center, Seattle, WA
      2010-Present Environment of Care Committee, Harborview Medical Center,
                    Seattle, WA

      Past
      2007-2018     Infectious Diseases Fellowship Curriculum Committee, University
                    of Washington, Seattle, WA
      2010- 2018     Seattle Antimicrobial Stewardship Program, Harborview Medical
                    Center, Seattle, WA (Medical Director)
      2010-2015      Surgical Care Improvement Project (SCIP), Harborview Medical
                    Center, Seattle, WA
      2010-2023      WASH Committee, Harborview Medical Center, Seattle, WA
      2011-2014      Core Measures Performance, Harborview Medical Center, Seattle,
                    WA
      2013-2015      UW Medicine Hazardous Drug Control Program, Employee Health
                    Subgroup Lead
      2013-2015      Center of Occupational Health and Education Advisory
                    Committee, University of Washington
      2013-2015      UW Division of Allergy and Infectious Diseases ICD-10 Lead
                    Physician
      2013-2018      UW Division of Allergy and Infectious Diseases ID Fellowship
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                               Clinical Competency Committee
               2014-2018       Co-Chair, Infectious Diseases Fellow’s course, University of
                               Washington, Seattle, WA
               2010-2014       Ambulatory Care Advisory Council, Harborview Medical Center,
                               Seattle, WA
               2016-2017       UW SOM Committee 4 (LCME Accreditation)
               2017-2019       Faculty Council on Academic Affairs, University of Washington
                               School of Medicine, Seattle, WA
               2016-2016       Co-Chair, UW Medicine Antimicrobial Stewardship Committee
               2020-2023       Clinical Lead, UW Medicine COVID-19 Response



14. Clinical Activities
                I continue to be a part of the HMC Infectious Diseases Consult Service as an
                attending, usually for 4 weeks per year. In 2020 I was unable to attend due to
                the volume of work with the COVID Emergency Operations Center and
                responding to the pandemic.

15. Research Funding
       A. Current
       1.UW Center for Stewardship in Medicine (CSiM)
           Award-winning program that supports the implementation and maintenance of
           active antimicrobial stewardship programs in small, community and critical access
           hospitals in Washington and moving into Oregon and north Idaho. The program is
           composed of weekly didactic and case discussion sessions, a website with recorded
           didactics, policies, protocols and toolkits for stewardship activities, site visits to each
           facility, and intensive quality improvement cohorts. Since launching in February
           2017, UW CSiM has continued to grow and expand across the United States.
           Role: Primary Investigator



       B. Past
       2009-2010       National Institutes of Health, National Institute for Allergy and Infectious
                       Diseases Clinical Investigator Award, 1 K08 AI081546-01A1 ($649,350)
                       Primary Investigator: John Lynch. “The Role of ADCC in Mother to Infant
                       HIV Transmission”, 5-year award, discontinued when current faculty
                       position started.
       2015-2023       ITECH Kenya Infection Prevention & Control/Antimicrobial Stewardship
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                     Implementation in 2 Model Hospitals (Grant title: Securing Global Public
                     Health Through Strengthening Information Systems and Reporting in
                     Kenya)
                     Multi-year CDC funded project through the UW International Training
                     and Education Center for Health to establish and mentor infection
                     prevention & control IPC programs in 2 hospitals in Kenya (Thika and
                     Kitale). Working with the Ministry of Health, ITECH Kenya, and the CDC
                     teams, ITECH, an educational curriculum was developed and deployed for
                     staff at both facilities. Current activity is focused on rolling-out 4 quality
                     improvement projects (hand hygiene, waste management, surgical site
                     infection surveillance and safe injection practices). Given the lack of IPC
                     expertise and activities in many facilities in low resource settings, this
                     program has the potential to develop a package of materials for wider
                     implementation in similar environments.
                     Role: Subject matter expert and team lead
                     PI: Peter Rabinowitz
                     Funding: CDC 5NU2GGH001721-03-00 (2017-2020)



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        Kuller L, Thompson J, Morton WR, Benveniste RE, Hu SL, Greenberg P, Mossman SP.
        Protection from pathogenic SIV challenge using multigenic DNA vaccines. Immunol Lett.
        1999 Mar;66(1-3):183-8. PubMed PMID: 10203053. [original work]

   2. Mulvania T, Lynch JB, Robertson MN, Greenberg PD, Morton WR, Mullins JI. Antigen-
      specific cytokine responses in vaccinated Macaca nemestrina. J Med Primatol. 1999
      Aug-Oct;28(4-5):181-9. PubMed PMID: 10593484. [original work]

   3. Mossman SP, Pierce CC, Robertson MN, Watson AJ, Montefiori DC, Rabin M, Kuller L,
      Thompson J, Lynch JB, Morton WR, Benveniste RE, Munn R, Hu SL, Greenberg P,
      Haigwood NL. Immunization against SIVmne in macaques using multigenic DNA
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      [original work]

   4. Lynch J, Slaughter B. Recognizing animal suffering and death in medicine. West J Med.
      2001 Aug;175(2):131-2. PubMed PMID: 11483562; PubMed Central
      PMCID:PMC1071516. [original work]
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5. Lynch JB. Learning about bioterrorism and chemical warfare: medical students explore
   key threats, Anthrax. West J Med. 2002 Jan;176(1):58-9. PubMed PMID: 11788542;
   PubMed Central PMCID: PMC1071656. [original work]

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7. Lynch J. Trauma ICU: sutures, scalpels, and swears. West J Med. 2002 Mar;176(2):138.
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   inhibitory concentration, dosing strategies, and outcomes in methicillin-resistant
   Staphylococcus aureus bacteremia. Diagn Microbiol Infect Dis. 2011 Dec;71(4):408-14.
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   S, Lynch JB. Active surveillance cultures of methicillin-resistant Staphylococcus aureus as
   a tool to predict methicillin-resistant S. aureus ventilator-associated pneumonia. Crit
   Care Med. 2012 May;40(5):1437-42. doi:10.1097/CCM.0b013e318243168e. PubMed
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15. Lynch JB, Mertens K, Whimbey E, Dellit TH. Healthcare Workers and Influenza
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b. MedEdPortal Publications
1. UW School of Medicine Invaders and Defenders Course Module: “Introduction to
    Microbiology”. Teaching module composed of a slide deck, facilitator notes, and
    interactive session (2015).
2. UW School of Medicine Invaders and Defenders Course Module: “Infectious Disease
    Diagnosis and Decision Making, Empiric vs Directed Therapy”. Teaching module
    composed of a slide deck, facilitator notes, and interactive session (2015).
3. “Orbital Cellulitis and ID Principles”. RWJF Reimagining Medical Education. Teaching
    video as part of a 5 medical school collaborative to reinvent microbiology and
    immunology teaching for medical students. Link:
    https://www.youtube.com/watch?v=ibuEGwrbmrA
4. University of Washington Department of Occupational and Environmental Medicine on-
    line course, “Infection Prevention & Control on Farms”,
    https://osha.washington.edu/professional-development/course/ipcfarms-020320,
    launch April 6th, 2020, Department of Environmental & Occupational Health Sciences.
5. “Adult Antimicrobial Renal Dosing Guideline 2016”, Jain R, Chan JD, Pottinger P, Lynch JB.
    UW OCCAM, link: https://occam.uwmedicine.org/uw-occam-library/guidelines-
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6. “Antimicrobial Prophylaxis for Open Fractures”, Lynch JB. UW OCCAM, link:
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7. “Facial and Mandibular Fracture Antimicrobial Prophylaxis Guideline”, Lynch JB. UW
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    and-mandibular-fracture-antimicrobial-prophylaxis-guideline/
8. “UW Medicine Antibiotic Reference Kit”, Jain R, Chan JD, Pottinger P, Lynch JB. UW
    OCCAM, link: https://occam.uwmedicine.org/uw-medicine-antibiotic-reference-kit/
9. UW Tele-Antimicrobial Stewardship website: www.uwtasp.org, Martinez-Paz N, Chan
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c. Book Chapters
   Pediatric Malaria, Textbook of Clinical Pediatrics, 2nd Edition, ed. Elzouki AY. Springer-
   Verlag, 2011.

d. Published Books, Videos, Software, etc.
    UW Tele-Antimicrobial Stewardship Pacific Northwest Antimicrobial Use Guidebook,
    Martinez-Paz N, Chan JD, Bryson-Cahn C, Kassamali-Escobar Z, Lynch JB, Volumes 1 and
    2. www.uwtasp.org
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e. Other publications
    Lynch JD, Huster K. In Triaging Coronavirus, Prioritize Vulnerable, Healthcare Workers.
    Seattle Times, March 12, 2020 [editorial]

f. Manuscripts Under Review

g. Abstracts
1. Robertson MN, Mossman S, Lynch JB, Greenberg PD. SIV-specific Cytotoxic
   T-lymphocytes Induced by DNA Immunization. 12th World AIDS Conference Geneva June
   28-July 3 (1998).

2. Lynch JB, Herz AM, Greenberg PD. Oral Inoculation with HIV-2 Elicits a Gag-specific
   Cytotoxic T-cell Response in Juvenile but not Neonatal Macaques. 12th World AIDS
   Conference Geneva June 28-July 3 (1998).

3. Lynch JB, Ohlen C, Mulvania T, Greenberg PD. Enhancement of the Murine Immune
   Response to Vaccination using FLT-3 Ligand (Oral Presentation). American Federation for
   Medical Research Western Regional Conference. Carmel, CA February 9-12 (2000).

4. Lynch JB, Handsfield HH, Golden MR. Successful Referral of Hepatitis C Infected Persons
   Detected through Screening at a Public STD Clinic. National STD Conference. San Diego,
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5. Lynch JB, Ndauti R, John-Stewart G, Richardson B, Overbaugh J. Potent and Broad HIV-
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6. Clemens EC, Chan, JC, Lynch JB, Dellit TH. Relationship between Vancomycin Minimum
   Inhibitory Concentration, Dosing Strategies and Outcomes in Methicillin-Resistant
   Staphylococcus aureus Bacteremia. Infectious Disease Society of America Conference.
   Vancouver, BC, Canada. October 20-24 (2010).

7. Oral Abstract Presentation: McNamara E, Lynch JB, Dellit TH. Multifaceted Approach to
   Prevention and Management of Ventilator-Associated Pneumonia. University Health
   Consortium Annual Conference 2011- LEAP: Lead, Excel, Achieve, Perform. Chicago, IL,
   USA. September 21-23 (2011).

8. Chan JD, McNamara E, Dellit T, Lynch JB. Active surveillance cultures of Methicillin-
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  Resistant Staphylococcus aureus (MRSA) as a tool to predict MRSA ventilator associated
  pneumonia. Infectious Diseases Society of American Conference, Boston, MA, October
  20-24, 2011.

9. Chan JD, McNamara E, Dellit T, Lynch JB. The Impact of an Infection Control Bundle on
   Ventilator Associated Pneumonia Pathogens in the Intensive Care Units. Infectious
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10. Oral Abstract Presentation: Lynch JB, Jain R, Dellit, T. Antimicrobial Stewardship.
  University Health Consortium Annual Conference, Sept 13-14, 2012.

11. Lynch JB, Whimbey E, McNamara E, Mertens K, Maher K, Dellit TH. High Level Influenza
  Vaccination of Healthcare Workers using One-on-one Education. Infectious Diseases
  Society of American Conference, Boston, MA, October 17-21, 2012.

12. Choudhuri J, Lynch JB, Dellit T. Enhanced Surveillance and Improved Efficiency Using an
  Automated Surveillance System for Detection of Nosocomial Multidrug Resistant
  Organisms. Infectious Diseases Society of American Conference, Boston, MA, October 17-
  21, 2012.

13. Weissman S, Curtis D, Drekonja D, Beekman S, Buckmaster BP, Lynch JB, Abbott A, Fang
  F, Polgreen PM. CaseFinder: A flexible real-time online surveillance registry for infectious
  disease physicians to report cases of carbapenem-resistant Enterobacteriacea(CRE).
  International Society for Disease Surveillance Conference, San Diego, CA, December 4-5,
  2012.

14. Maher K, Whimbey E, McNamara E, Mertens K, Dellit TH, Lynch JB. Vaccination of
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  WA, January 28th, 2013.

15.Choudhuri JA, Chan JD, Hafermann MJ, Fulton C, Melius E, Schreuder AB, McNamara E,
  Pergamit R, Lynch JB, Dellit TH. Shared Hoppers: A novel risk factor for the transmission
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16.Oral Abstract Presentation: Dellit TH, Chan JD, Fulton C, Pergamit R, McNamara E, Kim L,
   Ellenbogen R, Lynch JB. Reduction in Clostridium difficile infections among neurosurgical
   patients through the discontinuation of antimicrobial prophylaxis for the duration that
   an external ventricular drain remains in place. ID Week 2013. San Francisco, CA. October
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   3rd, 2013.

17.Hafermann M, Lynch JB. Peri-operative Antibiotics: A Risk Factor for Developing
   Clostridium difficile in the TSICU. Society for Critical Care Medicine 43rd Critical Care
   Congress, San Francisco, 2014.

18. Chu H, Huang D, Martine R, Jerome K, Dellit T, Lynch JB, Pottinger P, Chan J, Jain R,
    Kuypers J, Englund J. Impact of Rapid Influenza PCR Testing on Inpatient Clinical
    Outcomes. IDWeek, Philadelphia, PA, 2014.

19. Oral Abstract Presentation. Beieler AB, Dellit TH, Lynch JB. OPAT in a Homeless
    Population. IDWeek, Philadelphia, PA, 2014.

20.Garland TN, Rosser JI, Lynch JB. Rifampin and Miliary Tuberculosis: A Cautionary Tale.
   American College of Physicians Washington Chapter 2014 Annual Meeting, Oct 9th,
   2014, Seattle, WA.

21. Morcos M, Garland TN, Logerfo J, Baird GS, Lynch JB. Crystals in Time May Come.
    Society of General Internal Medicine 2015 Northwest Regional Meeting, Feb 6 th, 2015,
    Portland, OR.

22. Nandita Mani, MD; John B. Lynch, MD, MPH; Jeannie D. Chan, PharmD, MPH. Clinical
    Outcomes and Severity of Disease in BI/NAP1/027 Clostridium difficile Infections. Poster
    presentation, American College of Physicians Regional Chapter Meeting, November
    2015.

23. Nandita Mani, MD; John B. Lynch, MD, MPH; Jeannie D. Chan, PharmD, MPH. Clinical
    Outcomes and Severity of Disease in BI/NAP1/027 Clostridium difficile Infections
    Compared to Non-NAP1 Strains. Poster presentation, American College of Physicians
    Regional Chapter Meeting, May 2016.

24. Zhou Y, Lewis L, McIntosh M, Fang F, Pergamit R, Dellit TH, Lynch JB. Risk Factors for
    Clostridium Difficile Infection in Colonized ICU Patients. ID Week 2017, San Diego, CA.

25. Zhou Y, Martinez-Paz N, Lynch JB, Pottinger P. Using Tele-Antimicrobial Stewardship to
    Reach Rural Hospitals in Washington State. IDWeek 2017, San Diego, CA.

26. Ekici S, Gustafson K, Boonyaratoanakornkit J, Lynch JB, Lewis L, Haglund M, Chu HY. Risk
    Factors and Clinical Outcomes due to Respiratory Syncytial Virus Hospitalization in
    Adults. ACP Conference 2017.
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   27. Haglund M, Lynch JB, Lewis L, Kuypers J, Chu HY. Molecular epidemiology of severe RSV
       disease in hospitalized adults in Seattle, Washington, USA. RSV Vaccine for the World
       Meeting 2017, Malaga, Spain.

   28. Kvak S, Lynch JB, Pottinger PS, Martinez-Paz N, D’Angeli MA. “Tele-Antimicrobial
       Stewardship for Critical Access Hospitals, Council on State and Territorial
       Epidemiologists Annual Conference 2018, West Palm Beach, FL

   29. Cheng CW, Cizik AM, Dagal AHC, Lewis L, Lynch JB, Bellabarba C, Bransford RJ, Zhou H.
       Body mass index and the risk of surgical site infection following posterior cervical
       instrumented fusion in both trauma and non-trauma patients, American Academy of
       Orthopedic Surgeons Conference 2018, St. Louis, MO

   30. Meagher AD, Lind M, Senekjian L, Iwuchukwu C, Lynch JB, Cuschieri J, Robinson B.
       Ventilator Associated Events are Associated with Worse Outcomes in Trauma Patients,
       American Association for the Surgery of Trauma Conference 2018, San Diego, CA

   31. Long D, Chan J, Bryson-Cahn C, Lynch JB. Epidemiology of Surgical Site Infection in Spinal
       Fusion Surgery and Patterns of Discordance with Surgical Antibiotic Prophylaxis: A
       Retrospective Case-Level Analysis, International Anesthesia Research Society 2019,
       Montreal, Canada

   31. McIntosh M, Lynch JB, Bryson-Cahn C, Makarewicz V. Review of Healthcare-Associated
       Bloodstream Infections: Engaging Frontline Providers, UW Certificate in Patient Safety
       and Quality Program 2019.

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       Stewardship in Critical Access Hospitals in Washington State, National Rural Health
       Association’s 42nd Annual Conference, Atlanta, GA 2019.

17. Talks and Presentations
        2010         23 lectures
        2011         31 lectures
        2012         23 lectures
        2013         20 lectures
        2014         20 lectures
        2015         9 lectures
        2016         20 lectures
        2017         14 lectures
        2018         13 lectures
        2019         22 lectures
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      2020
      Jan 17        “Opioid Use Disorder Treatment and the ID Physician”, Infectious
                    Diseases Society of America Clinical Fellow’s Conference, Naples, FL
      Feb 19        “The Novel Coronavirus and Pandemic Disease Preparedness”, Panel
                    Speaker, The UW MetaCenter for Pandemic Preparedness and Global
                    Health Security, Seattle, WA
      May 18        “Pandemic Response”, Hospital Association of New York
      Jun 3         “The Seattle Experience: Insights for New COVID-19 Challenges”,
                    America’s Essential Hospitals webinar
      Jun 16         “COVID-19 Lessons Learned for a System-Wide Approach”, Sepsis
                    Conference, Seattle, WA
      Sep 17        “COVID-19 Update”, Washington State Orthopedics Association
      Oct 14        “COVID-19: Is There an End in Sight?”, Next Generation Medicine Lecture
      Nov 14        “COVID-19 Situation”, The Mountaineers Board of Trustees

      2020 Invited Lectures (cancelled due to COVID-19)
      Apr 14         “Next Generation Medicine: Coronavirus, Ebola, Zika: What You Need to
                     Know About Emerging Viral Diseases”, Next Generation Medicine
                     Lecture, UW School of Medicine, Spokane, WA
      Summer         “A Global Perspective on Antimicrobial Resistance”, Keynote Speaker,
                     Antimicrobial Resistance and Stewardship Conference, Aga Kahn
                     University Medical Center, Nairobi, Kenya
      Sep 15         “Healthcare System Response to Protect and Serve in the Age of COVID-
                     19”, UW EMS & Trauma Conference, Seattle, WA
      2021
      Jan 9          “COVID-19 and the Healthcare System Response”, Washington Thoracic
                     Society



      2022
      2022          Tele-Antimicrobial Stewardship, Mayo Clinic Infectious Diseases Practice
                    Update

18. Other Employment
n/a
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19. Expert Depositions/Testimonies


        Date         Case                                   Total Invoiced ($)      Action

                     City of Snoqualmie v. Snoqualmie
        2022         Police Association (on behalf of              900            arbitration
                     Chad Ridout)

        2022         Gutzler v. City of Snoqualmie                 600            arbitration


                     City of Snoqualmie vs. Snoqualmie
        2022                                                      2175            arbitration
                     Police Association


        2022         Shannon Bean v. Alaska Airlines               600            arbitration


        2022         O'Farrell v. Horizon Airlines                 600           record review


        2022         Files v Sellen Construction                   900           record review


                     IBEW Local 77 on behalf of Isaac
        2022                                                      1950            arbitration
                     Tenney v City of Seattle

                     David Petersen, et al. v. Snohomish                           summary
        2023                                                      1500
                     Regional Fire and Rescue                                     judgement


        2023         Wendy Thomaston v City of Seattle             300             resolved

                     King County Police Officers Guild
        2023         and Puget Sound Police Managers              5100            arbitration
                     Association v. King County
                     IBEW Local Union No.77 on Behalf
        2023         of Kristine Huffaker v. Seattle City         2250            arbitration
                     Light, City of Seattle
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                                                                     PERC hearing,
             Bellingham Police Guild v. City of
 2023                                                   1650             expert
             Bellingham
                                                                       testimony

             Teamsters Locals 117 & 174
 2023                                                   2400          arbitration
             (Consolidated) v. King County

             Eastside Fire and Rescue and IAFF
 2023                                                   2100          arbitration
             2878 v. City of Issaquah

             Local 763 on Behalf of Brian
 2023        Renninger v. Puget Sound Clean Air          900          arbitration
             Agency

 2023        Neigal-Britt v Port of Seattle              600          arbitration


             Alana McCoy v. Port of Seattle City
 2023                                                   1050          arbitration
             of Seattle


 2023        Dixson v. City of Issaquah                 1500          arbitration

             IBEW Union No, 77 on Behalf of
 2023        Wendy Thomaston v. Seattle City             300          arbitration
             Light
                                                                        expert
             David Body vs. City of Seattle, et al.
 2023                                                    900          testimony,
             USDC, Case No. 2:22-cv-01017-LK
                                                                       mediated
             Fisher et al v Wash. Dept. of
 2024                                                    450          arbitration
             Financial Institutions


 2024        Jackson v King County                       600          arbitration


             Slater v Behavioral Health
 2024                                                    600          arbitration
             Resources


 2024        Lance Dickson v Seattle City Light         1950          arbitration
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 2024        Efimoff v Port of Seattle             2400          deposition
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                  EXHIBIT B
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Morbidity and Mortality Weekly Report (MMWR)
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Use of Updated COVID-19 Vaccines 2023–2024 Formula for
Persons Aged ≥6 Months: Recommendations of the Advisory
Committee on Immunization Practices — United States,
September 2023
Weekly / October 20, 2023 / 72(42);1140–1146
On October 10, 2023, this report was posted online as an MMWR Early Release.

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View suggested citation


 Summary                                                                                             Article Metrics
 What is already known about this topic?
                                                                                                     Altmetric:
                                                                                                                   News (7)
 Since September 2022, bivalent mRNA COVID-19 vaccines have been recommended in the
                                                                                                                   Blogs (1)
 United States, but the variants these vaccines were designed to protect against are no                            X (39)
 longer circulating widely. In September and October 2023, the Food and Drug                                       Facebook (1)

 Administration approved and authorized updated 2023–2024 Formula monovalent
 XBB.1.5 component–containing COVID-19 vaccines, formulated to target current variants               Citations:
 more closely, specifically Omicron variant XBB.1.5, for persons aged ≥6 months.
                                                                                                     Views:
                                                                                                     Views equals page views
 What is added by this report?                                                                       plus PDF downloads
                                                                                                                Metric Details
 On September 12, 2023, the Advisory Committee on Immunization Practices
 recommended vaccination with updated COVID-19 vaccines for all persons aged ≥6
 months.                                                                                             Tables

 What are the implications for public health practice?                                               Table 1

 The updated COVID-19 vaccines are meant to broaden vaccine-induced immunity and                     Table 2
 provide protection against the currently circulating SARS-CoV-2 XBB-sublineage variants
 including against severe COVID-19–associated illness and death.
                                                                                                     Related Materials
Abstract
COVID-19 vaccines protect against severe COVID-19–associated outcomes, including                     Article PDF 
hospitalization and death. As SARS-CoV-2 has evolved, and waning vaccine effectiveness has
been noted, vaccine formulations and policies have been updated to provide continued                 Full Issue PDF 
protection against severe illness and death from COVID-19. Since September 2022, bivalent
mRNA COVID-19 vaccines have been recommended in the United States, but the variants
these vaccines protect against are no longer circulating widely. On September 11, 2023, the
Food and Drug Administration (FDA) approved the updated (2023–2024 Formula) COVID-19 mRNA vaccines by Moderna and
Pfizer-BioNTech for persons aged ≥12 years and authorized these vaccines for persons aged 6 months–11 years under
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Pfizer BioNTech for persons aged ≥12 years and authorized these vaccines for persons aged 6 months 11 years under
Emergency Use Authorization (EUA). On October 3, 2023, FDA authorized the updated COVID-19 vaccine by Novavax for use in
persons aged ≥12 years under EUA. The updated COVID-19 vaccines include a monovalent XBB.1.5 component, which is
meant to broaden vaccine-induced immunity and provide protection against currently circulating SARS-CoV-2 XBB-sublineage
variants including against severe COVID-19–associated illness and death. On September 12, 2023, the Advisory Committee on
Immunization Practices recommended vaccination with updated COVID-19 vaccines for all persons aged ≥6 months. These
recommendations will be reviewed as new evidence becomes available or new vaccines are approved and might be updated.
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Introduction
By the end of 2022, COVID-19 vaccines had prevented 18.5 million COVID-19 hospitalizations and 3.2 million COVID-19 deaths
in the United States (1). As SARS-CoV-2 has evolved, and waning vaccine effectiveness (VE) has been observed, vaccine
formulations and policies have been updated to provide continued protection against severe COVID-19–associated illness and
death. On September 11, 2023, the Food and Drug Administration (FDA) authorized the updated (2023–2024 Formula) COVID-
19 mRNA vaccines by Moderna and Pfizer-BioNTech for use in persons aged 6 months–11 years under Emergency Use
Authorization (EUA) and approved the updated Moderna and Pfizer-BioNTech COVID-19 vaccines for persons aged ≥12 years
(2). On October 3, 2023, FDA authorized the updated Novavax COVID-19 vaccine for use in persons aged ≥12 years under EUA
(2). The updated COVID-19 vaccines include a monovalent XBB.1.5 component and are meant to broaden vaccine-induced
immunity and provide increased protection (compared with protection from earlier vaccines that might have waned) against
currently circulating SARS-CoV-2 XBB-sublineage variants, which, by September 2, 2023, accounted for >99% of sequenced
SARS-CoV-2 specimens in the United States.* As of September 11, 2023, bivalent mRNA COVID-19 vaccines (based on the
ancestral SARS-CoV-2 strain and BA.4/BA.5 variants) are no longer authorized for use in the United States, and as of October
3, 2023, original monovalent Novavax COVID-19 vaccines (based on the ancestral SARS-CoV-2 strain) are no longer authorized
for use in the United States. On September 12, 2023, the Advisory Committee on Immunization Practices (ACIP)
recommended vaccination with the updated COVID-19 vaccine for all persons aged ≥6 months. These recommendations will
be reviewed as new evidence becomes available or new vaccines are approved and might be updated.
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Background
Although severe COVID-19 is now less prevalent in the United States than during previous years, it continues to cause
significant morbidity and mortality in this country. Currently, older adults (aged ≥65 years) and infants aged <6 months are at
highest risk for COVID-19–associated hospitalization. During January 1–August 26, 2023, COVID-19–associated hospitalization
rates among adults aged ≥75 years were two to three times as high as those among the next youngest age group (adults aged
65–74 years). Rates among infants aged <6 months are similar to those among adults aged 65–74 years (3).


Nevertheless, persons aged 6 months–64 years, including those with no underlying medical conditions, remain at risk for
severe COVID-19. Rates of COVID-19–associated hospitalization are currently lowest among children and adolescents aged 5–
17 years. However, among persons in this age group who were hospitalized with COVID-19 during January–June 2023, 23% of
those aged 5–11 years and 34% of those aged 12–17 years had no underlying medical conditions. During January 2022–June
2023, among children and adolescents aged ≤17 years who died during a COVID-19 hospitalization, 50% had no underlying
condition. During January 1–July 22, 2023, a total of 28,140 persons, including 26 aged <1 year, 18 aged 1–4 years, 36 aged 5–
19 years, 463 aged 15–44 years, 2,821 aged 45–64 years, and 24,776 aged ≥65 years, died from COVID-19, as evidenced by
COVID-19 being listed as the underlying cause of death on the death certificate.†


Post–COVID-19 conditions contribute to COVID-19–related morbidity among all age groups. The prevalence of ongoing
symptoms ≥3 months after COVID-19 illness ranged from <1% among persons aged <18 years to 5% among those aged 35–49
years. During June 7–19, 2023, approximately one in four adults with post–COVID-19 conditions reported significant activity
limitations (4).


Members of racial and ethnic minority groups continue to be disproportionately affected by COVID-19–associated
hospitalization (5). Higher prevalences of underlying conditions in some racial and ethnic minority populations might increase
their risk for severe COVID-19–associated outcomes (6). As of May 10, 2023, only 17% of the U.S. population had received a
bivalent COVID-19 vaccine dose, with lower coverage among some racial and ethnic minority populations, potentially driven
by differences in vaccine access and acceptability (5,7).


After declining throughout the spring and early summer of 2023, COVID-19–associated hospitalization rates began increasing
in mid-July 2023. Further increases are anticipated during the fall and winter respiratory virus season (5).
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Methods
Since June 2020, ACIP has convened 37 public meetings to review data relevant to the potential use of COVID-19 vaccines.§
The ACIP COVID-19 Vaccine Work Group, comprising experts in adult and pediatric medicine, obstetrics and gynecology,
infectious diseases, vaccinology, vaccine safety, public health, and ethics, has met weekly to review COVID-19 surveillance
data; evidence regarding immunogenicity, efficacy, effectiveness, and safety of COVID-19 vaccines; and implementation
considerations. The Work Group conducted a systematic review of benefits and harms of vaccination, and used the Grading of
Recommendations, Assessment, Development, and Evaluation (GRADE) methodology¶ to assess the certainty of the evidence
regarding benefits and harms associated with a bivalent vaccine administered in the United States during September 2022–
April 2023. The Work Group selected this population, intervention, and pandemic period of high seroprevalence to identify
evidence most applicable to what can be anticipated from this year’s vaccine in the United States. The certainty of evidence
was assessed separately for infants and children aged 6 months–11 years, and adolescents and adults aged ≥12 years based
on the difference in recommended vaccine dosage for these two age groups. The Work Group also reviewed additional CDC
data on VE and safety, as well as data on the updated vaccines provided by manufacturers (8–10). To assess the evidence for
benefits and harms associated with COVID-19 vaccine use, and to guide deliberations, ACIP uses the Evidence to
Recommendations (EtR) Framework.** Within this framework, ACIP considered the importance of COVID-19 as a public health
problem, including during the Omicron XBB-lineage–predominant era (January 2023–September 2023), as well as issues of
resource use, benefits and harms, patients’ values, acceptability, feasibility, and equity related to vaccine use. ACIP evaluated
data related to all vaccines for which updated 2023–2024 formulations were anticipated (i.e., Moderna, Novavax, and Pfizer-
BioNTech).
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Vaccine Effectiveness and Safety
Published assessments of previous vaccine formulations’ VE and safety were evaluated using GRADE. GRADE is used to assess
the confidence (high, moderate, low, or very low) that the true effect lies close to that of the estimated effect. Evidence that
includes only randomized controlled trials begins at high certainty, whereas evidence that includes observational data begins
at low certainty.


Among adolescents and adults, benefits of bivalent vaccination were assessed using pooled observational VE data for three
outcomes: medically attended COVID-19,†† hospitalization attributed to COVID-19, and death attributed to COVID-19. Pooled
VE against medically attended COVID-19 was 53% (95% CI = 50%–56%), and hospitalization attributed to COVID-19 was 48%
(95% CI = 30%–61%). For both critical outcomes, the certainty assessment was low.§§ Pooled VE against death attributed to
COVID-19 was 61% (95% CI = 41%–74%), and the certainty assessment was very low because of serious concern for
inconsistency. Among infants and children, insufficient observational data were identified for a systematic review of benefits,
but benefits were indirectly inferred from adolescent and adult data. The certainty assessment was very low for all three
outcomes because of serious concern for indirectness.


Studies from the Vaccine Safety Datalink (VSD), a postauthorization vaccine safety monitoring system, were used to assess
rates of serious adverse events (i.e., myocarditis or pericarditis and anaphylaxis, which were the outcomes specified for
GRADE) that have been associated with vaccination (myocarditis after receipt of COVID-19 vaccine has been reported
primarily in adolescent and young adult males)¶¶ (11), and the certainty assessment was low among adolescents and adults
and very low among infants and children. Severe reactogenicity (grade ≥3*** local or systemic reactions) was assessed using
pooled clinical trial data after any original monovalent primary series dose. Severe reactogenicity occurred more often in the
vaccine than placebo study arms, and the certainty assessment for the clinical trial body of evidence was low because of very
serious concern for indirectness††† in both age groups. The GRADE evidence profile is available at
www.cdc.gov/vaccines/acip/recs/grade/covid-19-2023-2024-Monovalent.html.


Additional, updated CDC VE data were also reviewed, including data showing patterns of waning bivalent vaccine–induced
immunity against infection and COVID-19–associated hospitalization during a period with increased Omicron XBB sublineage
circulation (12,13). During September 2022–August 2023, VE against hospitalization among adults aged ≥65 years without an
immunocompromising condition waned from 67% (95% CI = 62%–71%) at 7–59 days postvaccination to 28% (95% CI = 18%–
36%) at 60–119 days (13). VE of both the original monovalent and bivalent vaccines against critical outcomes (invasive
mechanical ventilation, intensive care unit admission, or death) has remained more durable than VE against less severe
outcomes among adults, including those with and without immunocompromising conditions (12,14). VE patterns were similar
among children and adults, although available data were more limited in children (13,15). VE against emergency department
and urgent care visits among persons aged 5–17 years ranged from 59%–63% by age group 7–59 days after a bivalent dose,
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waning to 36%–47% by age group 60–119 days after a bivalent dose (13). VE has historically been lower and has waned more
quickly among adults with immunocompromise than among immunocompetent adults, although bivalent VE trends are less
clear (12,13).


Additional, updated data on COVID-19 vaccine safety from VSD were also reviewed. The risk for myocarditis or pericarditis
after receipt of a bivalent vaccine dose is uncertain because myocarditis is a rare outcome, and bivalent vaccination coverage
is relatively low, especially in adolescents and young adults. Myocarditis rates after booster doses in adolescent and young
adult males are lower than rates after primary series vaccination, but estimates for monovalent booster and bivalent doses
are limited by the lower numbers of doses administered in VSD in this group (16). A longer interval between doses has been
associated with lower rates of myocarditis (17).


ACIP recommendations for the updated COVID-19 vaccines were also guided by data on immunogenicity provided by the
vaccine manufacturers. Data from Moderna, Novavax, and Pfizer-BioNTech show that monovalent XBB component–
containing COVID-19 vaccines increase the immune response against the currently circulating XBB-sublineage variants (8–10).
The evidence used to guide EtR is available at https://www.cdc.gov/vaccines/acip/recs/grade/covid-19-2023-2024-Monovalent-
etr.html.
                                                                                                                             Top

Cost Effectiveness
COVID-19 vaccination is a cost-effective intervention, particularly in adults aged ≥65 years, among whom incidence is highest.
For this age group, a dose of the vaccine is cost saving (at an assumed cost of $120 per dose). Among adults aged 50–64 years,
the incremental cost-effectiveness ratio of updated COVID-19 vaccines was estimated to be $25,787 per quality-adjusted life
year, with estimates in those aged ≥50 years robust to input changes across plausible ranges (18). For adults aged 18–49
years, the incremental cost-effectiveness ratio for updated COVID-19 vaccines was estimated to be $115,588 per quality-
adjusted life year, although estimates in younger adults were more sensitive to changes in input, with higher VE or
hospitalization rates increasing cost-effectiveness (18). Cost-effectiveness estimates are not yet available for pediatric
populations (18).
                                                                                                                             Top

Recommendations for Use of 2023–2024 COVID-19 Vaccines in
Persons Aged ≥6 Months
On September 12, 2023, ACIP recommended vaccination with the updated (2023–2024 Formula) COVID-19 vaccine for all
persons aged ≥6 months.§§§ The recommendation is inclusive of FDA-licensed or authorized updated monovalent XBB
component–containing COVID-19 vaccines (i.e., Moderna, Novavax and Pfizer-BioNTech updated COVID-19 vaccines),
consistent with the FDA-licensed indication or EUA. The recommendation for children aged 6 months–11 years is an interim
recommendation because the updated COVID-19 vaccines for this age group are currently authorized under EUA. In addition,
the recommendation for the updated Novavax COVID-19 vaccine is an interim recommendation because the Novavax COVID-
19 vaccine is currently authorized under EUA.

Infants and children aged 6 months–4 years are recommended to receive a multidose initial series (previously referred to as
the primary series) and at least 1 updated mRNA COVID-19 vaccine dose depending on vaccination history as defined herein.
Infants and children aged 6 months–4 years who are unvaccinated are recommended to receive either 2 updated Moderna
COVID-19 vaccine doses or 3 updated Pfizer-BioNTech COVID-19 vaccine doses (Table 1). Infants and children aged 6 months–
4 years who previously received original monovalent or bivalent mRNA vaccine doses are recommended to receive 1 or 2
homologous (i.e., from the same manufacturer) updated COVID-19 mRNA vaccine doses, depending on vaccine manufacturer
and the number of previous vaccine doses received. Infants and children aged 6 months–4 years who completed the initial
series with original monovalent or bivalent mRNA vaccine doses are recommended to receive 1 updated COVID-19 vaccine
dose, at least 2 months after receipt of the last COVID-19 vaccine dose. Infants and children aged 6 months–4 years may
receive either the updated Moderna or Pfizer-BioNTech COVID-19 vaccine; however, all doses administered to an infant or
child in this age group should be from the same manufacturer.

For those receiving updated mRNA COVID-19 vaccines, persons aged ≥5 years without immunocompromise are
recommended to receive 1 updated COVID-19 vaccine dose, irrespective of previous COVID-19 vaccination history (Table 2).
For those receiving updated Novavax COVID-19 vaccines, persons ages ≥12 years without immunocompromise are
recommended to receive 2 updated COVID-19 vaccine doses if previously unvaccinated and 1 updated dose if previously
vaccinated with any COVID-19 vaccine. For those who have received previous COVID-19 vaccines, the updated vaccine should
be administered ≥2 months after receipt of the most recent dose.
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Recommendations for 2023–2024 COVID-19 Vaccines in Persons
Aged ≥6 Months Who Are Moderately or Severely
Immunocompromised
Unvaccinated persons aged 6 months–11 years who are moderately or severely immunocompromised are recommended to
receive an initial vaccination series of 3 homologous updated (2023–2024 Formula) mRNA COVID-19 vaccine doses.
Unvaccinated persons aged ≥12 years who are moderately or severely immunocompromised can complete an initial
vaccination series with 3 homologous doses of updated mRNA or 2 doses of updated Novavax COVID-19 vaccine.¶¶¶ Persons
aged ≥6 months who are moderately or severely immunocompromised and previously received 1 or 2 original monovalent or
bivalent mRNA vaccine doses are recommended to receive 1 or 2 homologous updated COVID-19 vaccine doses, depending
on the number of previous vaccine doses. Persons aged ≥6 months who are moderately or severely immunocompromised
who previously received ≥3 original monovalent or bivalent mRNA vaccine doses are recommended to receive 1 updated
COVID-19 vaccine dose. Persons aged ≥12 years who are moderately or severely immunocompromised and who previously
received original Novavax COVID-19 vaccine or Janssen (Johnson & Johnson) COVID-19 vaccine, including those who also
received original monovalent or bivalent mRNA COVID-19 vaccine doses, are recommended to receive 1 updated COVID-19
vaccine dose from any FDA-authorized or approved manufacturer.


Persons who are moderately or severely immunocompromised, have completed an initial series, and have received ≥1
updated COVID-19 vaccine dose, may receive additional updated COVID-19 vaccine doses, guided by the clinical judgment of a
health care provider and personal preference and circumstances. Any further additional doses should be administered ≥2
months after the last COVID-19 vaccine dose. Additional clinical considerations, including detailed schedules and tables by age
and vaccination history for those who are and are not moderately or severely immunocompromised, are available at
https://www.cdc.gov/vaccines/covid-19/clinical-considerations/covid-19-vaccines-us.html.
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Implementation Considerations
COVID-19 vaccines are transitioning from federal procurement and distribution into the commercial marketplace during fall
2023. Under the Affordable Care Act (ACA), ACIP recommendations for routine immunization that have been adopted by CDC
and are listed on CDC Immunization Schedules are required to be covered by group health plans and health insurance issuers
offering group or individual health insurance coverage without cost-sharing requirements. The Coronavirus Aid, Relief, and
Economic Security (CARES) Act expedited coverage for COVID-19 vaccines; since January 5, 2021, ACA-covered insurers must
cover, without cost sharing, any COVID-19 vaccine FDA authorized under an EUA or FDA approved under a Biologics License
Application immediately upon authorization or approval of the vaccine (19). Thus, for U.S. residents with applicable ACA
commercial medical insurance coverage, COVID-19 vaccines will be covered immediately. In addition, COVID-19 vaccines are
covered under Medicare Part B, and nearly all Medicaid beneficiaries can receive COVID-19 vaccines without cost-sharing.
COVID-19 vaccines are also included in the Vaccines for Children Program,**** which provides vaccines to approximately one
half of U.S. persons aged <19 years at no cost. The Bridge Access Program for COVID-19 Vaccines is a public-private
partnership serving as a temporary measure to maintain access to COVID-19 vaccines for adults who are uninsured or
underinsured, working through both public health clinics and participating retail pharmacies.†††† Before vaccination, providers
should provide the EUA Fact Sheet,§§§§ manufacturer’s package insert, or other written materials regarding the vaccine being
administered and counsel vaccine recipients about expected systemic and local adverse reactions (reactogenicity).
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Reporting of Vaccine Adverse Events
Adverse events after vaccination should be reported to the Vaccine Adverse Event Reporting System (VAERS). Reporting is
encouraged for any clinically significant adverse event even if it is uncertain whether the vaccine caused the event.
Information on how to submit a report to VAERS is available at https://vaers.hhs.gov  or by telephone at 1-800-822-7967.
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    National Center for Immunization and Respiratory Diseases, CDC; 2Eagle Health Analytics, San Antonio, Texas; 3Watts
Healthcare Corporation, Los Angeles, California; 4Vanderbilt University School of Medicine, Nashville, Tennessee; 5Stanford
University School of Medicine, Stanford, California; 6University of Washington, Seattle, Washington; 7Institute for Health
Research, Kaiser Permanente Colorado, Denver, Colorado,
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All authors have completed and submitted the International Committee of Medical Journal Editors form for disclosure of
potential conflicts of interest. No potential conflicts of interest were disclosed.
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* https://covid.cdc.gov/covid-data-tracker/#variant-proportions

†
     https://wonder.cdc.gov/mcd-icd10-provisional.html (Accessed September 7, 2023).

§
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     https://www.cdc.gov/vaccines/acip/recs/grade/about-grade.html


** https://www.cdc.gov/vaccines/acip/recs/grade/downloads/acip-evidence-recs-framework.pdf 

††
     Medically attended COVID-19 was defined as an emergency department or urgent care visit.

§§
     Evidence that includes observational data starts at low certainty.

¶¶
  Among persons aged ≥12 years, based on events occurring in a 0–1 day risk interval after either dose of primary series
vaccination, the estimated incidence of confirmed anaphylaxis among adolescents and adults was 4.8 (95% CI = 3.2–6.9) per
million doses of Pfizer-BioNTech COVID-19 vaccine and 5.1 (95% CI = 3.3–7.4) per million doses of Moderna COVID-19 vaccine.
Among persons aged 12–39 years, based on events occurring in 7-day risk interval after vaccination versus a comparison
interval in vaccinated persons, rates of chart-reviewed myocarditis or pericarditis per one million doses, were as high as 188
(95% CI = 86.0–356.9) in males aged 16–17 years after a monovalent booster dose of Pfizer-BioNTech COVID-19 vaccine.

*** Grade 3 or 4 reactogenicity is generally defined as reactions that prevent daily routine activity, require use of a pain
reliever, or require an emergency department visit or hospitalization. Definitions used for each clinical trial are provided on
CDC webpages. (https://www.cdc.gov/vaccines/covid-19/info-by-product/pfizer/reactogenicity.html;
https://www.cdc.gov/vaccines/covid-19/info-by-product/moderna/reactogenicity.html)
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†††
       Very serious concern for indirectness was noted because the body of evidence did not include anyone who received an
updated dose, was from an earlier period of the pandemic, and excluded persons with previous COVID-19 infection, pregnant
or breastfeeding women, and persons who were immunocompromised.

§§§
       ACIP voted (13 to one) to recommend vaccination with 2023–2024 (monovalent, XBB-containing) COVID-19 vaccines as
authorized under EUA or approved by Biologics License Application in persons aged ≥6 months.

¶¶¶
   Apart from the administration of additional doses, the FDA EUA for Novavax COVID-19 vaccine does not provide for a
specific vaccination schedule for persons who are moderately or severely immunocompromised.


**** https://www.cdc.gov/vaccines/programs/vfc/index.html

††††
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TABLE 1. Recommended COVID-19 vaccination schedule for persons aged 6 months–4 years who are not
moderately or severely immunocompromised,* by COVID-19 vaccination history — United States, September
2023


 Previous COVID-19 vaccination history (before      Updated           No. of updated mRNA vaccine       Interval between
 updated mRNA vaccine)†                             mRNA vaccine      doses indicated                   doses

 Unvaccinated                                          Moderna                       2                  Dose 1 and dose 2:
                                                                                                                4–8 wks

                                                        Pfizer-                      3                  Dose 1 and dose 2:
                                                      BioNTech                                               3–8 wks
                                                                                                        Dose 2 and dose 3:
                                                                                                                ≥8 wks

 Received Moderna vaccine

 1 dose any Moderna                                    Moderna                       1                   4–8 wks after last
                                                                                                                 dose

 ≥2 doses any Moderna                                  Moderna                       1                    ≥8 wks after last
                                                                                                                 dose

 Received Pfizer-BioNTech vaccine

 1 dose any Pfizer-BioNTech                             Pfizer-                      2                    Dose 1: 3–8 wks
                                                      BioNTech                                            after last dose
                                                                                                        Dose 1 and dose 2:
                                                                                                                ≥8 wks
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    Previous COVID-19 vaccination history (before       Updated           No. of updated mRNA vaccine          Interval between
    updated mRNA vaccine)   †
                                                        mRNA vaccine      doses indicated                      doses


    2 doses any Pfizer-BioNTech                             Pfizer-                        1                     ≥8 wks after last
                                                          BioNTech                                                     dose

    ≥3 doses any Pfizer-BioNTech                            Pfizer-                        1                     ≥8 wks after last
                                                          BioNTech                                                     dose


* Additional clinical considerations, including detailed schedules and tables by age and vaccination history for those who are
and are not moderately or severely immunocompromised, are available. https://www.cdc.gov/vaccines/covid-19/clinical-
considerations/covid-19-vaccines-us.html
†
    https://www.cdc.gov/vaccines/covid-19/clinical-considerations/interim-considerations-us.html#not-immunocompromised
                                                                                                                      Top

TABLE 2. Recommended COVID-19 vaccination schedule for persons aged ≥5 years who are not moderately or
severely immunocompromised,* by COVID-19 vaccination history — United States, September 2023


                                                                                                     No. of
                                                                                                     updated           Interval
                                                                                    Updated          doses             between
    COVID-19 vaccination history before updated vaccine†                            vaccine          indicated         doses


    Unvaccinated                                                                        Moderna            1                  —


                                                                                         Pfizer-           1                  —
                                                                                        BioNTech


                                                                                         Novavax           2           Dose 1 and
                                                                                        (aged ≥12                      dose 2: 3–8
                                                                                        yrs only)                          wks


    Receipt of ≥1 COVID-19 vaccine dose, including Moderna, Pfizer-BioNTech,            Moderna            1              ≥8 wks
    Novavax (aged ≥12 yrs only), or Janssen (Johnson & Johnson) (aged ≥18                                                after last
    yrs only)                                                                                                              dose

                                                                                         Pfizer-           1              ≥8 wks
                                                                                        BioNTech                         after last
                                                                                                                           dose


                                                                                         Novavax           1              ≥8 wks
                                                                                        (aged ≥12                        after last
                                                                                        yrs only)                          dose


* Additional clinical considerations, including detailed schedules and tables by age and vaccination history for those who are
and are not moderately or severely immunocompromised, are available. https://www.cdc.gov/vaccines/covid-19/clinical-
considerations/covid-19-vaccines-us.html
† https://www.cdc.gov/vaccines/covid-19/clinical-considerations/interim-considerations-us.html#not-immunocompromised

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COVID-19 ACIP Vaccine Recommendations
Advisory Committee on Immunization Practices (ACIP)

  Published in Morbidity and Mortality Weekly Report (MMWR)


The Advisory Committee on Immunization Practices (ACIP) provides advice and guidance to the Director of the CDC regarding
use of vaccines and related agents for control of vaccine-preventable diseases in the civilian population of the United States.
Recommendations made by the ACIP are reviewed by the CDC Director and, if adopted, are published as official CDC/HHS
recommendations in the Morbidity and Mortality Weekly Report (MMWR).




  See Clinical Considerations for Use of COVID-19 Vaccines                                                              

CURRENT COVID-19 Vaccine Recommendations
     MMWR: October 20, 2023 / 72(42);1140–1146.
     Use of Updated COVID-19 Vaccines 2023–2024 Formula for Persons Aged ≥6 Months: Recommendations of the Advisory
     Committee on Immunization Practices — United States, September 2023
     MMWR: June 16, 2023 / 72(24);657–662
     Interim Recommendations for Use of Bivalent mRNA COVID-19 Vaccines for Persons Aged ≥6 Months — United States,
     April 2023
     MMWR: November 11, 2022/ 71(45); 1436-1441
     Interim Recommendations from the Advisory Committee on Immunization Practices for the Use of Bivalent Booster
     Doses of COVID-19 Vaccines — United States, October 2022 | MMWR (cdc.gov)
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               ACIP Evidence to Recommendations (EtR) for Use of Bivalent COVID-19 Vaccine Booster Doses under an
               Emergency Use Authorization | CDC
               ACIP Evidence to Recommendations (EtR) for Use of Novavax COVID-19 Vaccine Booster Dose for adults ages
               18 years and older under an Emergency Use Authorization | CDC
     MMWR: August 4, 2022/ 71(31); 988-992
     Interim Recommendation of the Advisory Committee on Immunization Practices for use of the Novavax COVID-19
     vaccine in persons aged 18 years and older— United States, July 2022
          See also:
               Grading of Recommendations, Assessment, Development, and Evaluation (GRADE): Novavax COVID-19 Vaccine
               (cdc.gov)
               ACIP Evidence to Recommendations for Use of Novavax COVID-19 Vaccine, Adjuvanted in adults ages 18 years
               and older under an Emergency Use Authorization (cdc.gov)
               The Novavax COVID-19 Vaccine’s Local Reactions, Systemic Reactions, Adverse Events, and Serious Adverse
               Events (cdc.gov)
     Grading of Recommendations, Assessment, Development, and Evaluation (GRADE): Moderna COVID-19 Vaccine for
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Grading of Recommendations, Assessment, Development, and Evaluation (GRADE): Moderna COVID-19 Vaccine for
Persons Aged 12-17 Years
ACIP Evidence to Recommendations for Use of Moderna COVID-19 Vaccine in Children Ages 6 – 11 years and Adolescents
Ages 12 – 17 years under an Emergency Use Authorization
MMWR; June 28, 2022/ 71(26)
Interim Recommendations of the Advisory Committee on Immunization Practices for Use of Moderna and Pfizer-
BioNTech COVID-19 Vaccines in Children Aged 6 Months–5 Years — United States, June 2022
      See also:
           GRADE: Moderna COVID-19 Vaccine for Children Aged 6 Months–5 Years | CDC
          GRADE: Pfizer-BioNTech COVID-19 Vaccine for Children Aged 6 Months–4 Years | CDC
          ACIP Evidence to Recommendations for Use of Moderna COVID-19 Vaccine in Children Ages 6 Months – 5 Years
          and Pfizer-BioNTech COVID-19 Vaccine in Children Ages 6 Months – 4 Years under an Emergency Use
          Authorization | CDC
          Moderna COVID-19 Vaccine’s Reactions and Adverse Events | CDC
          Pfizer-BioNTech COVID-19 Vaccine Reactions & Adverse Events | CDC
EtR Update for a Pfizer-BioNTech COVID-19 Booster in Children Ages 5-11 Years
EtR Framework for a 2nd COVID-19 Booster Dose in Adults Ages 50 Years and Older and Immunocompromised
Individuals
MMWR; March 17, 2022; 71(11)
Use of Moderna COVID-19 Vaccine in Persons Aged ≥18 Years and Considerations for Extended Intervals for
Administration of Primary Series Doses of mRNA COVID-19 Vaccines — United States, February 2022
     See also:
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          Vaccine | CDC
          ACIP Evidence to Recommendations for Use of Moderna COVID-19 Vaccine | CDC
MMWR; January 21, 2022; 71
Use of the Janssen (Johnson & Johnson) COVID-19 Vaccine: Updated Interim Recommendations from the Advisory
Committee on Immunization Practices – United States, December 2021
MMWR; November 5, 2021;70
Use of Pfizer-BioNTech COVID-19 Vaccine in Children Aged 5–11 Years — United States, November 2021
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MMWR; November 5, 2021;70
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MMWR; September 24, 2021;70
Use of Pfizer-BioNTech COVID-19 Vaccine in Persons Aged ≥16 Years: Recommendations of the Advisory Committee on
Immunization Practices — United States, September 2021
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           Grading of Recommendations, Assessment, Development, and Evaluation (GRADE): Pfizer-BioNTech COVID-19
           Vaccine
          ACIP Evidence to Recommendations for Use of Pfizer-BioNTech COVID-19 Vaccine
MMWR; August 13, 2021;70
Use of COVID-19 Vaccines After Reports of Adverse Events Among Adult Recipients of Janssen (Johnson & Johnson) and
mRNA COVID-19 Vaccines (Pfizer-BioNTech and Moderna): Update from the Advisory Committee on Immunization
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MMWR; July 9, 2021;70
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MMWR; May 14, 2021;70
The Advisory Committee on Immunization Practices’ Interim Recommendation for Use of Pfizer-BioNTech COVID-19
Vaccine in Adolescents Aged 12–15 Years — United States, May 2021
Print version  [4 pages]
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           Grading of Recommendations, Assessment, Development, and Evaluation (GRADE): Pfizer-BioNTech COVID-19
           Vaccine for Persons Aged 12-15 Years
         ACIP Evidence to Recommendations for Use of Pfizer-BioNTech COVID-19 Vaccine under an Emergency Use
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         Local Reactions, Systemic Reactions, Adverse Events, and Serious Adverse Events: Pfizer-BioNTech COVID-19
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MMWR; April 30, 2021;70
Updated Recommendations from the Advisory Committee on Immunization Practices for Use of the Janssen (Johnson &
Johnson) COVID-19 Vaccine After Reports of Thrombosis with Thrombocytopenia Syndrome Among Vaccine Recipients —
United States, April 2021
     See also:
          Risk-Benefit Analysis
MMWR; March 2, 2021;70
The Advisory Committee on Immunization Practices’ Interim Recommendation for Use of Janssen COVID-19 Vaccine —
United States, February 2021
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           ACIP Evidence to Recommendations for Use of Janssen COVID-19 Vaccine under an Emergency Use
           Authorization
         Grading of Recommendations, Assessment, Development, and Evaluation (GRADE): Janssen COVID-19 Vaccine
         Local Reactions, Systemic Reactions, Adverse Events, and Serious Adverse Events: Janssen COVID-19 Vaccine
MMWR; December 22, 2020;69
The Advisory Committee on Immunization Practices’ Updated Interim Recommendation for Allocation of COVID-19
Vaccine — United States, December 2020
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     See also:
           Evidence Table for COVID-19 Vaccines Allocation in Phases 1b and 1c of the Vaccination Program


MMWR; December 20, 2020;69
The Advisory Committee on Immunization Practices’ Interim Recommendation for Use of Moderna COVID-19 Vaccine —
United States, December 2020
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     See also:
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         GRADE Evidence Tables
         Interim Clinical Considerations
         Local Reactions, Systemic Reactions, Adverse Events, and Serious Adverse Events

MMWR; December 13, 2020;69
The Advisory Committee on Immunization Practices’ Interim Recommendation for Use of Pfizer-BioNTech COVID-19
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              Interim Clinical Considerations
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              Interim Considerations: Preparing for the Potential Management of Anaphylaxis at COVID-19 Vaccination Sites
  MMWR; December 3, 2020;69
  The Advisory Committee on Immunization Practices’ Interim Recommendation for Allocating Initial Supplies of COVID-19
  Vaccine — United States, 2020
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       See also:
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                                                                                                                                Washington State
                                                                                                                                Department of Health


COVID-19 Data
Dashboard
                                                   Website Last Updated 11:29 AM 7/19/2023
                                                  Data shown as of previous day at 11:59 pm PT.




         COVID-19 IN WASHINGTON STATE                                                                                                                                   DATA AS OF 07/18/2023 11:59PM PT

 The Current Status tab provides a snapshot of statewide and county-level COVID-19 information. The 7-day case rate and percent hospital occupancy measures are presented for the most recent 7-day
period with complete data. The total population completing the primary vaccination series measure provides the most recent account of people in Washington who completed the recommended number of
COVID-19 vaccinations. Learn More


                    State Summary                                              7-DAY CASE RATE PER 100,000 POPULATION                                TOTAL POPULATION COMPLETING PRIMARY
                                                                                                                                                              VACCINATION SERIES
   17 CASES PER 100,000 POPULATION                                                        Measurement Period: 7/3/2023-7/10/2023
                                                                                                                                                                   Measurement Period: 12/15/2020-07/17/2023

   2% OF HOSPITAL BEDS OCCUPIED BY COVID-19 PATIENTS
   71% OF POPULATION COMPLETING PRIMARY SERIES
          ⬤ Low     ⬤ Moderate      ⬤ Substantial    ⬤ High

 TREND IN 7-DAY RATE OF NEW COVID-19 CASES PER 100,000 POPULATION



 1,500




 1,000




  500

                                                                                                 Click on the map for county data                                         Click on the map for county data
                                                                       17
    0
                        2021               2022               2023

                           Specimen Collection Date                                    ​0-9.99        ​10-49.99     ​50-99.99       ​100+                  ​Zero      ​0-18%    ​18%-35%   ​35%-53%   ​53%-70%     ​70%+


                Cases from the last 8 days are not reported                                                                                                60,237 people completing the primary vaccination series do not
                                                                                 3 cases in the measurement period do not have an assigned county
          Hospital bed occupancy is reported only at the state level                                                                                                          have a county reported

                                                                       County-level information can be found on Local Health Jurisdiction (LHJ) websites
             Case 2:24-cv-01673-TL                                          Document 16                              Filed 05/23/25                        Page 104 of 166
Microsoft Power BI                                                                                                                                                                                  




      Disease Activity                Total Counts                 Demographics                                                                                              Rate            Count


     COVID-19 IN WASHINGTON STATE Cases, Hospitalizations, and Deaths by Date                                                                                DATA AS OF 07/18/2023 11:59PM PT

This chart shows the rate of the COVID-19 outbreak in Washington by cases, hospitalizations and deaths over time. Learn More

     Statewide             County          Eastern-Western State        ACH Regions



                              TREND IN 7-DAY RATE OF NEW COVID-19 CASES PER 100,000 POPULATION
          Cases
                               ─⬤ 7-Day Case Rate                                                                                                                   7-Day           14-Day
                                7-Day Case Rate Latest Rate
    Hospitalizations
                                 2,000
         Deaths

        Variants
                                 1,500
  R-effective Estimates


 SELECT COUNTY                   1,000
  Search
  Douglas County
  Ferry County
  Franklin County                  500
  Garfield County
  Grant County
  Grays Harbor County
  Island County                     0
  Jefferson County                                          Jul 2020                             Jan 2021                              Jul 2021                        Jan 2022
  King County
  Kitsap County                                                                                             Specimen Collection Date
  Kittitas County
  Klickitat County
  Lewis County                 18 of 1,312 cases from the most recent complete 7 days do not have an assigned county. Cases from the last 8 days may not yet be reported.            Download


                                                             County-level information can be found on Local Health Jurisdiction (LHJ) websites




Microsoft Power BI                                                                                    Pages                                                                                         
                 Case 2:24-cv-01673-TL                                                Document 16                               Filed 05/23/25                             Page 105 of 166



                                                                                                                                Washington State
                                                                                                                                Department of Health


COVID-19 Data
Dashboard
                                                   Website Last Updated 11:29 AM 7/19/2023
                                                  Data shown as of previous day at 11:59 pm PT.




         COVID-19 IN WASHINGTON STATE                                                                                                                                   DATA AS OF 07/18/2023 11:59PM PT

 The Current Status tab provides a snapshot of statewide and county-level COVID-19 information. The 7-day case rate and percent hospital occupancy measures are presented for the most recent 7-day
period with complete data. The total population completing the primary vaccination series measure provides the most recent account of people in Washington who completed the recommended number of
COVID-19 vaccinations. Learn More


                    State Summary                                              7-DAY CASE RATE PER 100,000 POPULATION                                TOTAL POPULATION COMPLETING PRIMARY
                                                                                                                                                              VACCINATION SERIES
   17 CASES PER 100,000 POPULATION                                                        Measurement Period: 7/3/2023-7/10/2023
                                                                                                                                                                   Measurement Period: 12/15/2020-07/17/2023

   2% OF HOSPITAL BEDS OCCUPIED BY COVID-19 PATIENTS
   71% OF POPULATION COMPLETING PRIMARY SERIES
          ⬤ Low     ⬤ Moderate      ⬤ Substantial    ⬤ High

 TREND IN 7-DAY RATE OF NEW COVID-19 CASES PER 100,000 POPULATION



 1,500




 1,000




  500

                                                                                                 Click on the map for county data                                         Click on the map for county data
                                                                       17
    0
                        2021               2022               2023

                           Specimen Collection Date                                    ​0-9.99        ​10-49.99     ​50-99.99       ​100+                  ​Zero      ​0-18%    ​18%-35%   ​35%-53%   ​53%-70%     ​70%+


                Cases from the last 8 days are not reported                                                                                                60,237 people completing the primary vaccination series do not
                                                                                 3 cases in the measurement period do not have an assigned county
          Hospital bed occupancy is reported only at the state level                                                                                                          have a county reported

                                                                       County-level information can be found on Local Health Jurisdiction (LHJ) websites
              Case 2:24-cv-01673-TL                                         Document 16                             Filed 05/23/25                      Page 106 of 166
Microsoft Power BI                                                                                                                                                                               




      Disease Activity                Total Counts                 Demographics                                                                                          Rate            Count


      COVID-19 IN WASHINGTON STATE Cases, Hospitalizations, and Deaths by Date                                                                             DATA AS OF 07/18/2023 11:59PM PT
 This chart shows the rate of the COVID-19 outbreak in Washington by cases, hospitalizations and deaths over time. As of January 1, 2023, a new way of tracking deaths was implemented that is more
accurate. Deaths prior to 2023 were not impacted. Learn More
      Statewide             County         Eastern-Western State      ACH Regions



                             TREND IN 7-DAY RATE OF NEW COVID-19 DEATHS PER 100,000 POPULATION
          Cases
                               ⬤ 7-Day
                              ─7-Day   Death
                                     Death   Rate Latest Rate
                                           Rate
     Hospitalizations
                                  4
          Deaths

         Variants
                                  3

   R-effective Estimates


  SELECT COUNTY                   2
   Search
   Garfield County
   Grant County
   Grays Harbor County           1
   Island County
   Jefferson County
   King County
   Kitsap County
                                  0
   Kittitas County                                             Jul 2020                            Jan 2021                           Jul 2021                     Jan 2022
   Klickitat County
   Lewis County
   Lincoln County                                                                                               Death Date
   Mason County
   Northeast Tri County                                                   Deaths from the last 13 days may not yet be reported.                                                    Download


                                                             County-level information can be found on Local Health Jurisdiction (LHJ) websites




Microsoft Power BI                                                                                                                                                                               
                 Case 2:24-cv-01673-TL                                                Document 16                               Filed 05/23/25                             Page 107 of 166



                                                                                                                                Washington State
                                                                                                                                Department of Health


COVID-19 Data
Dashboard
                                                   Website Last Updated 11:29 AM 7/19/2023
                                                  Data shown as of previous day at 11:59 pm PT.




         COVID-19 IN WASHINGTON STATE                                                                                                                                   DATA AS OF 07/18/2023 11:59PM PT

 The Current Status tab provides a snapshot of statewide and county-level COVID-19 information. The 7-day case rate and percent hospital occupancy measures are presented for the most recent 7-day
period with complete data. The total population completing the primary vaccination series measure provides the most recent account of people in Washington who completed the recommended number of
COVID-19 vaccinations. Learn More


                    State Summary                                              7-DAY CASE RATE PER 100,000 POPULATION                                TOTAL POPULATION COMPLETING PRIMARY
                                                                                                                                                              VACCINATION SERIES
   17 CASES PER 100,000 POPULATION                                                        Measurement Period: 7/3/2023-7/10/2023
                                                                                                                                                                   Measurement Period: 12/15/2020-07/17/2023

   2% OF HOSPITAL BEDS OCCUPIED BY COVID-19 PATIENTS
   71% OF POPULATION COMPLETING PRIMARY SERIES
          ⬤ Low     ⬤ Moderate      ⬤ Substantial    ⬤ High

 TREND IN 7-DAY RATE OF NEW COVID-19 CASES PER 100,000 POPULATION



 1,500




 1,000




  500

                                                                                                 Click on the map for county data                                         Click on the map for county data
                                                                       17
    0
                        2021               2022               2023

                           Specimen Collection Date                                    ​0-9.99        ​10-49.99     ​50-99.99       ​100+                  ​Zero      ​0-18%    ​18%-35%   ​35%-53%   ​53%-70%     ​70%+


                Cases from the last 8 days are not reported                                                                                                60,237 people completing the primary vaccination series do not
                                                                                 3 cases in the measurement period do not have an assigned county
          Hospital bed occupancy is reported only at the state level                                                                                                          have a county reported

                                                                       County-level information can be found on Local Health Jurisdiction (LHJ) websites
             Case 2:24-cv-01673-TL                                           Document 16                            Filed 05/23/25                         Page 108 of 166
Microsoft Power BI                                                                                                                                                                              




      Disease Activity                Total Counts                    Demographics                                                                                            Rate       Count


     COVID-19 IN WASHINGTON STATE Cases, Hospitalizations, and Deaths by Date                                                                                DATA AS OF 07/17/2023 11:59PM PT

This chart shows the rate of the COVID-19 outbreak in Washington by cases, hospitalizations and deaths over time. Learn More

     Statewide             County          Eastern-Western State        ACH Regions


                             TREND IN 7-DAY RATE OF NEW COVID-19 HOSPITALIZATIONS PER 100,000 POPULATION
          Cases
                               ⬤ 7-Day
                              ─7-Day   Hospitalization
                                     Hospitalization   Rate Latest Rate
                                                     Rate
     Hospitalizations
                                 20

         Deaths

         Variants
                                 15

   R-effective Estimates


 SELECT COUNTY                   10
  Search
  Ferry County
  Franklin County
  Garfield County                5
  Grant County
  Grays Harbor County
  Island County
  Jefferson County
                                  0
  King County                                             Jul 2020                             Jan 2021                             Jul 2021                          Jan 2022
  Kitsap County
  Kittitas County
  Klickitat County
                                                                                                           Hospital Admission Date
  Lewis County
  Lincoln County             4 of 138 hospitalizations from the most recent complete 7 days do not have an assigned county. Hospitalizations from the last 10 days may no…          Download


                                                             County-level information can be found on Local Health Jurisdiction (LHJ) websites




Microsoft Power BI                                                                                    Pages                                                                                     
                  Case 2:24-cv-01673-TL                                                  Document 16                                Filed 05/23/25                               Page 109 of 166


                                                                                                                               Washington State
                                                                                                                               Department of Health


COVID-19 Data
Dashboard
                                                  Website Last Updated 11:29 AM 7/19/2023
                                                 Data shown as of previous day at 11:59 pm PT.




         COVID-19 IN WASHINGTON STATE                                                                                                                                  DATA AS OF 07/18/2023 11:59PM PT

 The Current Status tab provides a snapshot of statewide and county-level COVID-19 information. The 7-day case rate and percent hospital occupancy measures are presented for the most recent 7-day
period with complete data. The total population completing the primary vaccination series measure provides the most recent account of people in Washington who completed the recommended number of
COVID-19 vaccinations. Learn More


                   State Summary                                              7-DAY CASE RATE PER 100,000 POPULATION                                TOTAL POPULATION COMPLETING PRIMARY
                                                                                                                                                             VACCINATION SERIES
   17 CASES PER 100,000 POPULATION                                                       Measurement Period: 7/3/2023-7/10/2023
                                                                                                                                                                  Measurement Period: 12/15/2020-07/17/2023

   2% OF HOSPITAL BEDS OCCUPIED BY COVID-19 PATIENTS
   71% OF POPULATION COMPLETING PRIMARY SERIES
          ⬤ Low    ⬤ Moderate      ⬤ Substantial    ⬤ High

 TREND IN 7-DAY RATE OF NEW COVID-19 CASES PER 100,000 POPULATION



 1,500




 1,000




  500

                                                                                                Click on the map for county data                                         Click on the map for county data
                                                                      17
    0
                       2021               2022               2023

                          Specimen Collection Date                                    ​0-9.99        ​10-49.99     ​50-99.99       ​100+                  ​Zero      ​0-18%   ​18%-35%    ​35%-53%   ​53%-70%     ​70%+

               Cases from the last 8 days are not reported                                                                                                60,237 people completing the primary vaccination series do not
                                                                                3 cases in the measurement period do not have an assigned county
         Hospital bed occupancy is reported only at the state level                                                                                                          have a county reported

                                                                      County-level information can be found on Local Health Jurisdiction (LHJ) websites
               Case 2:24-cv-01673-TL                                                                   Document 16                  Filed 05/23/25                              Page 110 of 166




Microsoft Power BI                                                                                                                                                                                                   




       Disease Activity                Total Counts                                 Demographics


      COVID-19 IN WASHINGTON STATE Effective Reproductive Number (R-effective)                                                                                              DATA AS OF 06/14/2023 11:59PM PT

 This graph shows disease transmission as estimated by the effective reproductive number, or R-effective, over time. R-effective indicates the average number of new people that one person with COVID-19
infects. The blue line indicates the best estimate for R-effective over time and the shaded region indicates the uncertainty in the estimate. Data are updated every other Wednesday. Learn More




                                                                   R-effective over time
           Cases
                              Estimated Disease Transmission                   ⬤ R-effective Trend
                                                                              ─#lowabove0           ⬤ Confidence
                                                                                               #lowbelow0        Area
                                                                                                             #highfill   r0_t To #latest_r
                                                                                                                                 reduce COVID-19
                                                                                                                                             #1    cases and hospitalizations, R-effective needs to remain
     Hospitalizations         on Jun 9, 2023                                                                                  substantially below one for a sustained period of time.
                                                                                                   6
                                                                                                                                 -When R-effective is greater than one, the number of infected people increases.
          Deaths                                                                                                                 -When R-effective is less than one, the number of infected people decreases.
                              Best estimate of        0.89                                                                       -When R-effective is equal to one, the number of infected people remains constant.
         Variants             R-effective                                                          5
                              Lower bound of       -0.89
   R-effective Estimates      R-effective
                                                                   Effective reproductive number




                              estimate                                                             4

                              Upper bound of          2.68
                              R-effective
                              estimate                                                             3



                                                                                                   2



                                                                                                   1                                                                                                          0.9



                                                                                                   0
                                                                                                        Jul 2020   Jan 2021          Jul 2021          Jan 2022           Jul 2022           Jan 2023



                                                              County-level information can be found on Local Health Jurisdiction (LHJ) websites




Microsoft Power BI                                                                                                 Pages                                                                                             
             Case 2:24-cv-01673-TL    Document 16     Filed 05/23/25   Page 111 of 166




COVID-19 trends
Updated weekly on Wednesday


 On May 17, 2023, Washington State Department of Health implemented a new
 definition that changes how we track COVID-19 deaths on our dashboards and in
 published reports. The new definition for COVID-19 deaths affects deaths starting
 on January 1st, 2023, and results in some adjustments to death counts and rates.
 The new definition is based on national standards for COVID-19 death
 classification and will be applied moving forward.

       This page shows data over time on the COVID-19 pandemic in King County,
       Washington since the beginning of the pandemic.

       For up-to-date insights from Public Health – Seattle & King County, visit
       publichealthinsider.com.





    Return to the COVID-19 data dashboards page or the COVID-19 main page


     View the Current COVID-19 metrics page




    Link/share this page at kingcounty.gov/covid/data/trends




Jump to:

 Geography     Demographics       Outcomes by vaccination status       More Information



 Overall trend

 This figure shows the daily reported cases, hospitalizations, and deaths in King County since
 the beginning of the COVID-19 pandemic. Use the button below to switch between showing
 COVID-19 hospitalizations, reported cases, and deaths. Hover your cursor or tap part of the
 figure to see more details.
           Case 2:24-cv-01673-TL        Document 16    Filed 05/23/25    Page 112 of 166
 Select a metric for
 the figure to display:
   Reported COVID-19 case rate
   Hospitalization rate due to COVID-19
   Death rate from COVID-19


 Select a date range for
 the figure to display:
  1/1/20                                                                                   2/16/22


  Death rate from COVID-19

   4




   3




   2




   1




   0

            3/1/20   6/1/20    9/1/20     12/1/20   3/1/21   6/1/21     9/1/21   12/1/21    3/1/22




                                                                                  Back to top




Geography

This map shows the rate of COVID-19 in each region of King County in weekly increments
since the beginning of the COVID-19 pandemic. Use the button below to switch between
showing COVID-19 hospitalizations and reported cases. Use the slider to select a date range.
             Case 2:24-cv-01673-TL    Document 16     Filed 05/23/25   Page 113 of 166




COVID-19 trends
Updated weekly on Wednesday


 On May 17, 2023, Washington State Department of Health implemented a new
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     View the Current COVID-19 metrics page



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Jump to:

 Geography     Demographics       Outcomes by vaccination status       More Information



 Overall trend

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 figure to see more details.
           Case 2:24-cv-01673-TL        Document 16    Filed 05/23/25    Page 114 of 166
 Select a metric for
 the figure to display:
   Reported COVID-19 case rate
   Hospitalization rate due to COVID-19
   Death rate from COVID-19


 Select a date range for
 the figure to display:
  1/1/20                                                                                   2/16/22


  Hospitalization rate due to COVID-19
  20




  15




  10




   5




   0

            3/1/20   6/1/20    9/1/20     12/1/20   3/1/21   6/1/21     9/1/21   12/1/21    3/1/22




                                                                                  Back to top




Geography

This map shows the rate of COVID-19 in each region of King County in weekly increments
since the beginning of the COVID-19 pandemic. Use the button below to switch between
showing COVID-19 hospitalizations and reported cases. Use the slider to select a date range.
             Case 2:24-cv-01673-TL    Document 16     Filed 05/23/25   Page 115 of 166




COVID-19 trends
Updated weekly on Wednesday


 On May 17, 2023, Washington State Department of Health implemented a new
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
    Return to the COVID-19 data dashboards page or the COVID-19 main page


     View the Current COVID-19 metrics page




    Link/share this page at kingcounty.gov/covid/data/trends




Jump to:

 Geography     Demographics       Outcomes by vaccination status       More Information



 Overall trend

 This figure shows the daily reported cases, hospitalizations, and deaths in King County since
 the beginning of the COVID-19 pandemic. Use the button below to switch between showing
 COVID-19 hospitalizations, reported cases, and deaths. Hover your cursor or tap part of the
 figure to see more details.
           Case 2:24-cv-01673-TL     Document 16     Filed 05/23/25    Page 116 of 166
 Select a metric for
 the figure to display:
   Reported COVID-19 case rate
   Hospitalization rate due to COVID-19
   Death rate from COVID-19


 Select a date range for
 the figure to display:
  1/1/20                                                                                 2/16/22


  Reported COVID-19 case rate

 2000




 1500




 1000




  500




     0

             3/1/20   6/1/20   9/1/20   12/1/20    3/1/21   6/1/21    9/1/21   12/1/21    3/1/22




                                                                                Back to top




Geography

This map shows the rate of COVID-19 in each region of King County in weekly increments
since the beginning of the COVID-19 pandemic. Use the button below to switch between
showing COVID-19 hospitalizations and reported cases. Use the slider to select a date range.
Case 2:24-cv-01673-TL   Document 16   Filed 05/23/25   Page 117 of 166




                   EXHIBIT F
                                                            Case 2:24-cv-01673-TL                                                                Document 16                                Filed 05/23/25   Page 118 of 166

                                                                                                        COVID-19 Outcomes by Vaccination
                                                                                                                    Status
                                                                                                                                           2/1/2023
                                                                                                                                                                         Open data notes
                                                                                                                                 All data are through 1/26/2023
 This dashboard describes COVID-19 outcomes among unvaccinated and vaccinated people in King County.

 COVID-19 vaccines are highly effective at preventing serious illness, hospitalization, and death from COVID-19. However,
 since no vaccine is 100% protective, as more people are vaccinated we expect to see more cases in this group even when
 the vaccines continue to work well. These cases are often called “breakthrough” infections although the vast majority are not
 serious. For example, if everyone was vaccinated, 100% of cases would be among vaccinated people even though the risk
 for vaccinated people is much less than for the unvaccinated. So, the percent of cases that are vaccinated is not an accurate
 way to tell how well the vaccines are working.

 A much better measure of how well the vaccines are working is the relative risk of COVID-19 infection for vaccinated and
 unvaccinated people. By comparing the risk (rate of disease) among vaccinated people and unvaccinated people of the same
 age, we see that the risk of catching COVID-19, of being hospitalized, or of dying is far higher for people who are not fully
 vaccinated relative to vaccinated people.
 ..
                                                                                                       Past 30 Days
                                                                 Select a time period:                 Omicron surge (since 12/1/21)
                                                                                                       Before Omicron surge (1/17/21 - 12/1/21)



                                                 Cases                                             Hospitalizations                                             Deaths
                                   People who are not fully                                        People who are not fully                             People who are not fully
                                       vaccinated are:                                                 vaccinated are:                                      vaccinated are:


                                           4.5x                                                             32x                                                40x
           more likely to test positive for                                              more likely to be hospitalized for                        more likely to die of COVID-19
          COVID-19 than fully vaccinated                                                 COVID-19 than fully vaccinated                              related illness than fully
                     individuals                                                                    individuals                                       vaccinated individuals
                                           Click to see details                                        Click to see details                                    Click to see details


 Case rate per 100,000 residents per day                                                   Hospitalization rate per 100,000                      Death rate per 100,000 residents per
       (adjusted for age and time)                                                                 residents per day                                             day
  Before the Omicron surge (1/17/21 -                                                        (adjusted for age and time)                             (adjusted for age and time)
                12/1/21)                                                                 Before the Omicron surge (1/17/21 -                     Before the Omicron surge (1/17/21 -
                                                                                                       12/1/21)                                               12/1/21)

Fully vaccinated                                           5.3
                                                                                        Fully vaccinated                0.1                      Fully vaccinated        0.02



Not fully vaccinated                                                            23.9    Not fully vaccinated                               2.7   Not fully vaccinated                    0.92


                                                                                                                         Case
                                                Select an outcome for the line chart,                                    Hospitalization
                                    and the demographic and geographic data below:                                       Death


                                                                    Case Age Standardized Rate over time
                        Not Fully Vaccinated                           Fully Vaccinated                      Boosted                             Overall King County
  Count per 100,000 person-days




                                  600




                                  400




                                  200


                                        Feb 18                                                                                                                                         Mar 13
                                         7.6                                                                                                                                            16.9
                                   0
                                        Feb 1, 21       Apr 1, 21                Jun 1, 21             Aug 1, 21                 Oct 1, 21         Dec 1, 21            Feb 1, 22     Apr 1, 22

 2/18/2021 to 3/13/2022


                                                    Demographics                                                                                 Geography
                                   Before Omicron surge (1/17/21 - 12/1/21)
                                                                                                                                Before Omicron surge (1/17/21 - 12/1/21)
                                                                          Age Group
                                   Case rates per 100,000                 Race/Ethnicity
                                                                                                                                                             Not fully vaccinated
                                      persons per day by:                 Sex                                                Case rate per 100,000
                                                                                                                                                             Fully vaccinated
                                                                                                                         persons per day by vaccine
                                                                                                                                                             Boosted
                                                                                         Boosted                                            status:
Please use caution in interpreting the data
because of small numbers, particularly                                                   Fully Vaccinated
among some race/ethnicity groups.                                                        Not Fully Vaccinated



5-11 years old                                       0.0
                                                                       14.4


12-15 years old                                            4.8
                                                                         17.0


16-17 years old                                            5.5
                                                                                 25.6


18-29 years old                                                  9.4
                                                                                25.0


30-49 years old                                             6.6
                                                                                       30.8


50-64 years old                                            5.3
                                                                                              37.7


65+ years old                                            3.1
                                                                                                            50.8

                                                    0          10        20       30          40       50          60


*Race/ethnicity and sex rates and RRs are adjusted for age and
time. Individuals aged 0-4 years old are excluded from rate
calculations because they are not eligible for vaccination. Rates for
vaccinated 5-11 year olds before the Omicron surge are exlcuded
                                                                                                                                                          Select Rate
because 5-11 year olds were only eligible for vaccination starting
November 2021.                                                                                                          © 2023 Mapbox © OpenStreetMap     9.66                           84.86
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                   EXHIBIT G
Docusign Envelope ID: 9716806D-AE91-43C6-A7A0-C1354090E201
         March 26,Case
                  2025 2:24-cv-01673-TL              Document 16   Filed 05/23/25    Page 120 of 166




         Rebuttal Report of Dr. John Lynch Regarding: Dr. Risch’s response to expert report provided by Dr.
         John Lynch on January 21, 2025 in Dixson v. City of Issaquah, 2-24-cv-01673-TL.




         Dated March 26, 2025.                                                      _________________________
                                                                                    John B. Lynch, MD, MPH, FIDSA




                                                              1
Docusign Envelope ID: 9716806D-AE91-43C6-A7A0-C1354090E201
         March 26,Case
                  2025 2:24-cv-01673-TL              Document 16    Filed 05/23/25      Page 121 of 166




                              Introductory Comments Regarding Dr. Risch’s Report:

                 1. At the time of the Governor’s vaccine Proclamation and the City of Issaquah’s vaccine
                    mandate for its employees,1 there had been approximately 45 million cases of COVID-
                    19 in the United States.2 In September 2021 the United States experienced a 4th wave
                    of COVID-19. This wave caused the deaths of over 15,000 people per week.3 To date,
                    over 1.2 million Americans have died due to COVID-19,4 and there are scientific data
                    from multiple sources that indicated that this total is an undercount.5,6
                 2. The COVID-19 pandemic led to a massive loss of life, health, community, and
                    severely impacted the communities across the globe, particularly in 2020, 2021, and
                    2022. COVID-19 continues to cause symptomatic infections leading to missed days
                    of work and school, hospitalizations, and deaths.7
                 3. In 2021, the original strain of the virus that causes COVID-19 (SARS-COV-2),
                    underwent serial evolutions leading to more infections and, especially with the delta
                    and omicron variants, additional waves of hospitalizations and deaths.
                 4. In October 2021, there was considerable concern that additional waves of more
                    infectious and more pathogenic were going to follow the delta wave. These waves,
                    like the omicron wave in starting in late December 2021 and continuing through 2022,
                    would lead to more suffering, death, and economic and social disruption in
                    Washington State, the U.S. and the rest of the planet.
                 5. Aside from wide-spread, disruptive non-pharmaceutical interventions (NPIs) (e.g.
                    requirements to stay at home, restrictions on crowded indoor settings like restaurants
                    and some sporting events, and mandatory masking in places like grocery stores),
                    COVID-19 vaccination was the only tool available to reduce human harm, suffering,
                    and death.
                 6. Scientific data support the overwhelming, positive impact of the COVID-19 vaccines.
                    This is not a point of controversy among global scientists, clinicians, and public health
                    professionals. As stated in my expert report, COVID-19 vaccines prevented tens of




         1
           See, e.g., https://governor.wa.gov/sites/default/files/proclamations/21-14.2%20-%20COVID-
         19%20Vax%20Washington%20Amendment%20(tmp).pdf
         2
           See https://www.statista.com/statistics/1103185/cumulative-coronavirus-covid19-cases-number-us-by-day/
         3
           See https://covid.cdc.gov/covid-data-tracker/#trends_weeklydeaths_select_00
         4
           See https://www.cdc.gov/nchs/nvss/vsrr/covid19/index.htm
         5
           See https://www.bu.edu/sph/news/articles/2023/covid-19-deaths-in-the-us-continue-to-be-undercounted-
         research-shows-despite-claims-of-
         overcounts/#:~:text=Most%20scientists%2C%20however%2C%20have%20suggested,to%20other%20causes
         %20of%20death.
         6
           See Stokes, A. C. et al. COVID-19 and excess mortality in the United States: A county-level analysis. PLoS
         Med. 18, e1003571 (2021).
         7
           See https://covid.cdc.gov/covid-data-tracker/#datatracker-home
                                                              2
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                    millions of deaths in the U.S. and globally.8,9,10,11,12
                 7. For reasons that go beyond my areas of expertise, many Americans decided not to get
                    vaccinated in 2021 despite well-documented effectiveness and safety data. Although
                    no vaccine provides absolute protection from infection, hospitalization, and death, the
                    fact the COVID-19 vaccines were not “perfect” was exploited by groups of people in
                    the U.S. that have long-standing anti-vaccine stances. To many of these individuals
                    and groups, there are no effective vaccines, including the COVID-19 vaccines.13
                 8. Misinformation (false information share by people who do not know that is the
                    information is false) and disinformation (false information that is intentionally shared
                    to mislead and to manipulate) about the COVID-19 vaccines increased rapidly soon
                    after their release.14,15 We saw similar misinformation and disinformation regarding
                    COVID-19 treatments, masking, and even the existence of the pandemic. The roots of
                    this misinformation originated long before COVID-19 vaccines were available with
                    the dissemination of false information regarding the safety and effectiveness of other
                    vaccines like the measles-mumps-rubella (MMR) vaccine.
                 9. Many individuals involved with spreading COVID-19 vaccine misinformation and
                    disinformation receive significant public recognition and in at least some cases
                    compensation. As an example, Dr. Peter McCullough is a physician who was trained
                    as a cardiologist and who has spread COVID-19 treatment and vaccine misinformation
                    and disinformation, while also being paid as the chief medical officer of a supplement
                    company that sells expensive, data-free, supplements that supposedly remove the
                    spike protein from people who have been vaccinated. Despite having his American
                    Board of Internal Medicine credentials revoked for spreading misinformation and
                    having multiple COVID-19 papers retracted, he continues to receive significant
                    recognition for his statements on COVID-19 treatment and vaccinations. Dr. Risch
                    works for the same supplement company and has written papers on COVID-19 with
                    Dr. McCullough (including one that has been retracted).16,17

         8
           See Meslé, M. M. I. et al. Estimated number of lives directly saved by COVID-19 vaccination programmes in
         the WHO European Region from December, 2020, to March, 2023: a retrospective surveillance study. Lancet
         Respir. Med. 12, 714–727 (2024).
         9
           See Ikeokwu, A. E. et al. A Meta-Analysis To Ascertain the Effectiveness of COVID-19 Vaccines on Clinical
         Outcomes in Patients With COVID-19 Infection in North America. Cureus 15, e41053 (2023).
         10
            See Watson, O. J. et al. Global impact of the first year of COVID-19 vaccination: a mathematical modelling
         study. Lancet Infect. Dis. 22, 1293–1302 (2022).
         11
            See Wu, N. et al. Long-term effectiveness of COVID-19 vaccines against infections, hospitalisations, and
         mortality in adults: findings from a rapid living systematic evidence synthesis and meta-analysis up to
         December, 2022. Lancet Respir. Med. 11, 439–452 (2023).
         12
            See Zheng, C. et al. Real-world effectiveness of COVID-19 vaccines: a literature review and meta-
         analysis. Int. J. Infect. Dis. 114, 252–260 (2022).
         13
            See Smith, T. C. & Reiss, D. R. Digging the rabbit hole, COVID-19 edition: anti-vaccine themes and the
         discourse around COVID-19. Microbes Infect. 22, 608–610 (2020).
         14
            See https://princetonlibrary.org/guides/misinformation-disinformation-malinformation-a-guide/
         15
            See Romer, D., Winneg, K. M., Jamieson, P. E., Brensinger, C. & Jamieson, K. H. Misinformation about
         vaccine safety and uptake of COVID-19 vaccines among adults and 5-11-year-olds in the United States.
         Vaccine 40, 6463–6470 (2022).
         16
            See https://www.twc.health/pages/dr-harvey-
         risch?srsltid=AfmBOoq7drvwOsVET8iqmSVvSj1KjgY5mkAelc8UYRKjuJuk1ME-wIUV
         17
            See https://retractiondatabase.org/RetractionSearch.aspx?AspxAutoDetectCookie
                                                              3
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                 10. COVID-19 misinformation and disinformation are spread using anti-vaccine
                     propaganda websites posing as scientific journals (ex. “Journal of the Academy of
                     Public Health”, “Science, Public Health Policy and the Law”), websites, social media,
                     organizations (ex. Children’s Health Defense), and books.18 This network functions as
                     an alternative universe that purveyors of misinformation and disinformation can use
                     to support their aims.19,20,21,22
                 11. Dr. Risch, despite having a long history of research in cancer risk epidemiology,
                     repeatedly uses information from sources that are strongly associated with anti-
                     vaccine propaganda. As examples, he cites “studies” from “Science, Public Health
                     Policy and the Law” that cannot be found in PubMed (the globally accepted database
                     for biomedical research literature), books by noted anti-vaccine authors like Naomi
                     Wolf, Regina Watteel, and Ed Dowd, and a pre-print (non-peer reviewed) article
                     claiming that vaccine data are an “illusion”.23,24,25 Further, Dr. McCullough, a well-
                     known purveyor of COVID-19/vaccine misinformation, 26 is a “clinical editor” on the
                     “Science, Public Health Policy and the Law” website.
                 12. Employers had an ethical obligation to reduce suffering and harm due to COVID-19
                     in the state. Vaccine mandates are an effective tool to increase vaccinations and
                     requiring COVID-19 vaccination for employees in 2021 was a reasonable decision
                     given the very high level of concern that we were going to experience a more
                     dangerous variant in late 2021 or 2022. Contrary to Dr. Risch’s comments, the original

         Support=1#?AspxAutoDetectCookieSupport%3d1%26auth%3dHarvey%2bA%2bRisch
         18
            See https://publichealth.realclearjournals.org and https://publichealthpolicyjournal.com/evaluating-data-
         integrity-and-reporting-challenges-in-public-health-lessons-from-covid-19-data-collection-in-washington-state/
         19
            See Santa Clara Law Review Santa Clara Law Review MISINFORMATION AND COVID-19
         MISINFORMATION AND COVID-19.
         20
            See Walter, D., Ophir, Y. & Ye, H. Conspiracies, misinformation and resistance to public health measures
         during COVID-19 in white nationalist online communication. Vaccine 41, 2868–2877 (2023).
         21
            See Jamieson, K. H., Johnson, K. B. & Cappola, A. R. Misinformation and the Vaccine Adverse Event
         Reporting System. JAMA 331, 1005–1006 (2024).
         22
            See Sule, S. et al. Communication of COVID-19 Misinformation on Social Media by Physicians in the
         US. JAMA Netw. Open 6, e2328928 (2023).
         23
            See https://publichealthpolicyjournal.com/evaluating-data-integrity-and-reporting-challenges-in-public-
         health-lessons-from-covid-19-data-collection-in-washington-state/ and
         https://publichealthpolicyjournal.com/biontech-rna-based-covid-19-injections-contain-large-amounts-of-
         residual-dna-including-an-sv40-promoter-enhancer-sequence/
         24
            See https://science.feedback.org/review/evidence-covid-19-vaccines-dont-increase-risk-death-contrary-claim-
         financier-edward-dowd/
         25
            See https://science.feedback.org/?s=Naomi+wolf
         26
            See e.g., Health Feedback, Reviews of Articles by Peter McCullough, https://healthfeedback.org/
         authors/peter-mccullough; Dorit R. Reiss, Misinformation and Covid-19, 63 Santa Clara L. Rev. 147, 149-50
         nn.3, 6-7 (2022) (“McCullough has become part of the anti-vaccine effort, speaking at anti-vaccine rallies and
         making statements against vaccines….[His proposed] treatments are not evidence-based and not recommended
         by expert authorities.”); Retraction Watch Database, Peter A. McCullough,
         https://retractiondatabase.org/RetractionSearch.aspx#?auth%3dMcCullough
         %252c%2bPeter%2bA; Notice of Recommended Disciplinary Sanction, ABIM (Oct. 18, 2022),
         https://www.documentcloud.org/documents/23242430-abim-decision-on-mccullough/ (noting his COVID-19
         statements, including many of the same opinions he seeks to provide here, were not “factual, scientifically
         grounded, or consensus driven”).
                                                              4
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                     vaccines continued to significantly reduce a person’s risk of COVID-19 infection,
                     hospitalization, and death.

                                 Specific Responses Regarding Dr. Risch’s Report:

         Specific Responses to Introduction Section of Dr. Risch’s Report:

                 13. Risch Rep. at pg. 1: “Further, some of the materials cited in my report below were
                     first published after Ms. Dixson’s termination on or about February 16, 2022. I include
                     such information generally as additional confirmation of earlier published materials
                     that I discuss and from which I have derived conclusions.” Dr. Lynch’s response:
                          a. Although Dr. Risch states that he used “some” materials published after the
                              plaintiff’s termination, almost 30 of his sources are from 2022 or later. Even
                              counting non-scientific sources, this is about 50% of all citations. He regularly
                              uses information that was not available at the time of the City’s implementation
                              of the vaccine mandate.
                          b. In addition, Dr. Risch cites as authoritative articles, website articles (including
                              his own articles), pre-prints, and books by known purveyors of information
                              that have not been peer-reviewed or published in a research journal, including:
                                    i. Risch HA. Hydroxychloroquine in Early Treatment of High-Risk
                                       COVID-19 Outpatients: Efficacy and Safety Evidence. Sixth version,
                                       updated      June     17,     2021.      https://earlycovidcare.org/wp-
                                       content/uploads/2021/09/Evidence-Brief-Risch-v6.pdf
                                   ii. Neil M, Fenton N, McLachlan S. The extent and impact of vaccine status
                                       miscategorisation on covid-19 vaccine efficacy studies. medRxiv
                                       Preprint,                March                  25,                 2024.
                                       https://www.medrxiv.org/content/10.1101/2024.03.09.24304015v2
                                 iii. Knopik C. Evaluating Data Integrity and Reporting Challenges in
                                       Public Health: Lessons from COVID- 19 Data Collection in
                                       Washington State. Sci Publ Hlth Policy Law. 2024;5:2019-2024.
                                       Posted                 October                  15,                 2024.
                                       https://publichealthpolicyjournal.com/evaluating-data-integrity-and-
                                       reporting-challenges-in-     public-health-lessons-from-covid-19-data-
                                       collection-in-washington-state/
                                  iv. Gupta S. Have my Covid hypotheses held up? UnHerd, August 9,
                                       2021. https://unherd.com/newsroom/sunetra-gupta-how-have-my-covid-
                                       hypotheses-held-up/
                                   v. Kämmerer U, Schulz V, Steger K. BioNTech RNA-Based COVID-19
                                       Injections Contain Large Amounts of Residual DNA Including An
                                       SV40 Promoter/Enhancer Sequence. Sci Publ Hlth Policy Law.
                                       2024;5:2019-2024. https://publichealthpolicyjournal.com/biontech-
                                       rna-based-covid-19- injections-contain-large-amounts-of-residual-dna-
                                       including-an-sv40-promoter-enhancer-sequence
                                  vi. Dowd E. "Cause Unknown": The Epidemic of Sudden Deaths in 2021
                                       & 2022. New York, NY: Skyhorse Publishing, 2022.
                                       https://www.amazon.com/Cause-Epidemic-Sudden-Deaths-
                                       2021/dp/B0C6VMQJQD
                                vii. Watteel RN. Fisman's Fraud: The Rise of Canadian Hate Science.
                                       Ottawa,        ON:         Whisperwood           Publishing,        2023.

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                                       https://www.amazon.com/Fismans-Fraud-Rise-Canadian-
                                       Science/dp/1988363241


         Specific Responses to “Professional Training and Experience” Section of Dr. Risch’s Report:

                 14. Risch Rep. at pgs. 1-2: “I am Professor Emeritus of Epidemiology at Yale School of
                     Public Health, an elected Fellow of the American College of Epidemiology, and an
                     elected member of the Connecticut Academy of Science and Engineering (on whose
                     Covid-19 Management Recommendations Committee I served). I am a practicing
                     epidemiologist with more than 40 years of research and teaching experience in the
                     field.” Dr. Lynch’s response:
                         a. Although Dr. Risch completed medical school, he did not complete a residency
                              in any medical specialty and has not provided patient care since attending
                              medical school in 1976. He has not worked in public health or in public health
                              policy development. He has no experience in clinical infectious diseases or
                              vaccinations.
                         b. He has held no position in responding to the COVID-19 pandemic in any
                              public health organization or health system.
                 15. Risch Rep. at pg. 2: “In May 2020, I published the seminal review paper on early
                     treatment of high-risk Covid-19 out-patients in the American Journal of Epidemiology
                     (https://doi.org/10.1093/aje/kwaa093), which has been downloaded almost 92,000
                     times and viewed by more than 168,000.” Dr. Lynch’s response:
                         a. There are no metrics to support Dr. Risch’s claim to publishing “the seminal
                              review paper” on this topic in May 2020. At least 2 letters of concern regarding
                              this paper were published calling into question his analysis.27 Based on a
                              Google Scholar search, this paper has been cited 136 times. I am a clinical
                              infectious diseases physician and never heard about this paper and never used
                              the suggested treatments.
                         b. In comparison, I published a review paper on mild or moderate COVID-19 (a
                              similar topic as Dr. Risch’s paper) with Drs. Raj Gandhi (Massachusetts
                              General Hospital/Harvard Medical School) and Carlos Del Rio (Emory
                              University School of Medicine) in April 2020 in the New England Journal of
                              Medicine that has been cited 1897 times.28 One can make a strong argument
                              against Dr. Risch’s claim.
                         c. In this paper, Dr. Risch claims that hydroxychloroquine and azithromycin
                              should be used for the treatment of COVID-19. Subsequent studies did not
                              find any benefit from these drugs and national guidelines recommended




         27
            See Korman, T. M. RE: “EARLY OUTPATIENT TREATMENT OF SYMPTOMATIC, HIGH-RISK
         COVID-19 PATIENTS THAT SHOULD BE RAMPED UP IMMEDIATELY AS KEY TO THE PANDEMIC
         CRISIS.” Am. J. Epidemiology 189, 1442–1443 (2020) and Peiffer-Smadja, N. & Costagliola, D. RE: “EARLY
         OUTPATIENT TREATMENT OF SYMPTOMATIC, HIGH-RISK COVID-19 PATIENTS THAT SHOULD
         BE RAMPED UP IMMEDIATELY AS KEY TO THE PANDEMIC CRISIS.” Am. J. Epidemiology 189,
         1443–1444 (2020).
         28
            See https://scholar.google.com/scholar?hl=en&as_sdt=0%2C48&q=Lynch+jb+covid+nejm&btnG=
                                                               6
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                              against their use.29,30
                 16. Risch Rep. at pg. 2: “I have updated that analysis with a thorough review and meta-
                     analysis         through         June       2021         (https://earlycovidcare.org/wp-
                     content/uploads/2021/09/Evidence-Brief-Risch-v6.pdf).” Dr. Lynch’s response:
                         a. This is an internet post that has had no peer-review and has not been published
                              in any biomedical journal. Papers cited in this post in fact do not support Dr.
                              Risch’s recommendation for using hydroxychloroquine with or without
                              azithromycin.31 For example, two papers highlight the potential dangers of
                              using hydroxychloroquine.32 One paper has been retracted.33 Multiple papers
                              are preprints, meaning they have not been reviewed or published.
                         b. It would be remarkable that any medical professional would consider Dr.
                              Risch’s “thorough review and meta-analysis” as support for using
                              hydroxychloroquine with or without azithromycin for COVID-19 in any
                              population. Review of the cited studies indicates the exact opposite conclusion.
                 17. Risch Rep. at pg. 2: “I was senior author on the outpatient treatment clinical trial
                     study in Brazil (https://doi.org/10.1016/j.tmaid.2020.101906), and have co-authored
                     with Dr. Peter McCullough various papers on Covid-19, including two that explicate
                     the now-standard understanding of early outpatient Covid-19 management
                     (https://doi.org/10.1016/                   j.amjmed.2020.07.003                     and
                     https://rcm.imrpress.com/EN/10.31083/j.rcm.2020.04.264).” Dr. Lynch’s response:
                         a. The paper that Dr. Risch was the senior author was an uncontrolled
                              observational study that did not require a diagnosis of COVID-19 by testing
                              and allowed for a variety of different medications and medication
                              combinations. None of the results are valid.
                         b. More robust studies, including randomized controlled studies published in
                              2020, have shown that hydroxychloroquine has no impact on the course of
                              COVID-19 in humans despite Dr. Risch’s continued statements to the
                              contrary.34

         29
            See Cavalcanti, A. B. et al. Hydroxychloroquine with or without Azithromycin in Mild-to-Moderate Covid-
         19. N. Engl. J. Med. 383, 2041–2052 (2020) and Elsawah, H. K., Elsokary, M. A., Elrazzaz, M. G. & Elshafie,
         A. H. Hydroxychloroquine for treatment of nonsevere COVID-19 patients: Systematic review and meta-
         analysis of controlled clinical trials. J. Méd. Virol. 93, 1265–1275 (2021).
         30
            See https://www.idsociety.org/practice-guideline/covid-19-guideline-treatment-and-management/
         31
            See Skipper, C. P. et al. Hydroxychloroquine in Nonhospitalized Adults With Early COVID-19. Ann. Intern.
         Med. 173, M20-4207 (2020) and Mitjà, O. et al. Hydroxychloroquine for Early Treatment of Adults With Mild
         Coronavirus Disease 2019: A Randomized, Controlled Trial. Clin. Infect. Dis. 73, e4073–e4081 (2020) and
         Barnabas, R. V. et al. Hydroxychloroquine as Postexposure Prophylaxis to Prevent Severe Acute Respiratory
         Syndrome Coronavirus 2 Infection. Ann. Intern. Med. 174, M20-6519 (2020).
         32
            See Lane, J. C. E. et al. Risk of hydroxychloroquine alone and in combination with azithromycin in the
         treatment of rheumatoid arthritis: a multinational, retrospective study. Lancet Rheumatol. 2, e698–e711 (2020)
         and Mercuro, N. J. et al. Risk of QT Interval Prolongation Associated With Use of Hydroxychloroquine With
         or Without Concomitant Azithromycin Among Hospitalized Patients Testing Positive for Coronavirus Disease
         2019 (COVID-19). JAMA Cardiol. 5, 1036–1041 (2020).
         33
            See Retracted: Gautret, P. et al. Hydroxychloroquine and azithromycin as a treatment of COVID-19: results
         of an open-label non-randomized clinical trial. Int. J. Antimicrob. Agents 56, 105949 (2020).
         34
            See Skipper, C. P. et al. Hydroxychloroquine in Nonhospitalized Adults With Early COVID-19. Ann. Intern.
         Med. 173, M20-4207 (2020) and Mitjà, O. et al. Hydroxychloroquine for Early Treatment of Adults With Mild
         Coronavirus Disease 2019: A Randomized, Controlled Trial. Clin. Infect. Dis. 73, e4073–e4081 (2020) and
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                         c. The papers that Dr. Risch wrote with Dr. McCullough are the opposite of the
                             “now- standard understanding of early outpatient Covid-19 management”. One
                             citation is a letter to a journal, and another is an opinion article without any
                             study data. Neither of these papers are cited for support in either the Infectious
                             Diseases Society of American or the National Institutes of Health COVID-19
                             treatment guidelines.35 The third link (rcm.impress.com….) does not work.
                         d. Dr. McCullough is a known purveyor of COVID-19 misinformation. His
                             American Board of Internal Medicine certifications were revoked for this
                             reason, and he has had multiple COVID-19 papers retracted due to concerns
                             about the methods and data used.
                 18. Risch Rep. at pg. 2: “In other respects, while the majority of my career research has
                     focused on various types of cancers as outcomes of interest, that work has involved
                     the examination of a host of potential causal factors, including medications and
                     infectious diseases. I was prepared to do research involving these risk factors by my
                     medical education which included arguably one-quarter of its coursework on
                     infectious diseases, and another similar amount on biochemistry, molecular and
                     cellular biology, pharmacology, immunology and pathology.” Dr. Lynch’s response:
                         a. As stated above, Dr. Risch is not an infectious diseases researcher, a clinician,
                             or a public health professional. He wrote that he is prepared to do research in
                             the areas of COVID-19, COVID-19 therapeutics, vaccines, and operational
                             mitigations based on microbiology classes he took in the 1970s as a medical
                             student. As a person who also went to medical school, I know that the level of
                             microbiology and infectious diseases training in medical school is rudimentary
                             at best and does not prepare a person to do clinical work, research, or response
                             work.
                         b. Dr. Risch has never worked in occupational health nor has worked on or led a
                             workplace vaccination program (per his CV).
                         c. Twenty of Dr. Risch’s Yale colleagues signed a statement that “voiced concern
                             over Risch’s ardent advocacy of hydroxychloroquine”.36


        Specific Responses to “Background: Public Health Management of the Covid-19 Pandemic”
         Section of Dr. Risch’s Report:

                 19. Risch Rep. at pg. 3: “However, by the end of 2023, CDC reported (see figure next
                     page) that cumulatively more than 87% of Americans had been infected with Covid-
                     19 in spite of the massive, prolonged and booster-repeated national vaccination
                     campaign. This inevitable spread was predicted in summer 2021 (see calculations in
                     next paragraph). My point is that by prioritizing numbers of infections rather than the
                     more serious but less common consequences of both infections and policy harms, this
                     and other vaccine mandate proclamation policies failed their main terms of reference
                     in that more than 87% of Americans eventually became infected anyway.” Dr.

         Cavalcanti, A. B. et al. Hydroxychloroquine with or without Azithromycin in Mild-to-Moderate Covid-19. N.
         Engl. J. Med. 383, 2041–2052 (2020).
         35
            See https://www.idsociety.org/practice-guideline/covid-19-guideline-treatment-and-management/ and
         https://www.ncbi.nlm.nih.gov/books/NBK570371/pdf/Bookshelf_NBK570371.pdf
         36
            See https://yaledailynews.com/blog/2020/08/16/ysph-professor-criticized-for-promoting-unproven-drug-to-
         treat-covid-19/
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                     Lynch’s response:
                        a. The reference to the CDC document is from 2024 and presents data from
                           quarter 1 of 2022 through quarter 4 of 2023. None of these data are from the
                           implementation of the Proclamation or the City’s vaccine mandate and were
                           not available during that time. As of the middle of October 2021, just over 50%
                           of Americans had received 2 doses of the vaccines. Conversely, nearly 50% of
                           people were not fully vaccinated. In the CDC chart, about 50% of people in
                           the cohort (blood donors) had evidence of past infection, which is not
                           surprising given the number of unvaccinated people and the rise of the omicron
                           variants during that time.
                        b. The number of cases was not prioritized over other tracking metrics. Cases,
                           hospitalizations, and deaths were tracked throughout the pandemic.
                        c. Public health tracking of cases was extremely helpful for healthcare facilities,
                           businesses, schools, policy makers and many others as a rise in cases predicted
                           an increase in clinic visits, emergency department visits, admissions to
                           hospitals, and deaths.
                        d. The main drivers of pandemic after the roll-out of the vaccines was the
                           extremely large number of people who did not get vaccinated, which increased
                           the overall burden of diseases in the community and exposure to both
                           unvaccinated and vaccinated people, and the introduction of the omicron
                           variants in late 2021 and early 2022 that led to some immune escape.
                           Fortunately, updated vaccines became available.
                        e. What proportion of the U.S. population was going to be infected by the end of
                           2023 was unknown at the time of the Proclamation and the City’s vaccine
                           mandate.

        Specific Responses to “Background: Post-infection Natural Immunity vs Vaccine Immunity
         Against Covid-19” Section of Dr. Risch’s Report

                 20. Risch Rep. at pg. 4: “Most Covid-19 vaccination mandates, including the one issued
                     by the City of Issaquah, have ignored the role that post-infection “natural” immunity
                     plays in helping to control the adverse consequences of the pandemic.” Dr. Lynch’s
                     response:
                         a. Vaccination provided substantial protection against infection, hospitalization,
                             and death due to COVID-19. Vaccination of people with a history of COVID-
                             19 provided the highest level of protection. Assessing a person’s history of
                             infection did not change public health recommendations regarding
                             vaccination.
                 21. Risch Rep. at pg. 4: “With an organism of reproduction transmission R0 of
                     approximately 3 (original strain) or more than 6 (Delta, and later, Omicron also)
                     (Kollmeyer, 2021; Gallagher, 2021), sustained natural and vaccine effectiveness
                     against transmission would have had to remove infection susceptibility from some
                     83% or more people in the population (i.e., 1 – 1/6 )—e.g., for vaccination to have
                     indefinitely lasting efficacy against transmission above 90% in a population more than
                     90% vaccinated—in order to terminate the spread, and achieving these degrees of both
                     vaccination uptake and vaccine performance were unrealistic during the pandemic.”
                     Dr. Lynch’s response:
                         a. I am unclear why Dr. Risch states that we could not achieve a higher level of
                             vaccine uptake in the United States. When the R0 was lower, we could have

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                             significantly impacted the course of the pandemic. Instead, many individuals
                             decided not to get vaccinated despite the data and the risk of infection.
                         b. The analysis of transmission in totally immune or mixed populations is
                             approached differently. For example, for a virus with an R0 of 3, one infected
                             person would infect, on average, 3 other, non-immune people. This outcome
                             is very different when there is high level population immunity. For example,
                             measles has one of the highest known R0 (between 12 and 18) but outbreaks
                             due to measles in the U.S. are usually limited by the fact that most people are
                             fully vaccinated. A more appropriate epidemiological term is the effective
                             reproduction number or Rt which incorporates the proportion of people who
                             have immunity to infection.37
                         c. The goal of vaccination is to reduce harm. This reduction accrues to the
                             individual by reducing the risk of infection, long-COVID, lost time (school,
                             work, etc), healthcare utilization, hospitalization, and death. Vaccination also
                             reduces harm to the public by increasing immunity and slowing transmission.
                         d. An analysis by the Brown University School of Public Health showed that if
                             every eligible person was vaccinated in 2021, there would have been ~320,000
                             fewer deaths in the U.S. between January 2021 and April 2022.38 That is nearly
                             one-half of the deaths that occurred after vaccines became available.
                         e. Every legal and ethical effort in increase COVID-19 vaccination was
                             appropriate at the time of the City’s vaccine mandate.
                 22. Risch Rep. at pg. 4: “Thus, it was inevitable and apparent by the arrival of the Delta
                     strain in summer 2021 that the overwhelming majority of the population would
                     eventually get infected with the virus at some point.” Dr. Lynch’s response:
                         a. Slowing the spread of COVID-19 was an important goal of all mitigations,
                             including vaccinations. The fact that there were breakthrough infections does
                             not negate this fact or the impact of the COVID-19 vaccines.
                 23. Risch Rep. at pg. 4: “While post-infection population herd immunity likely slowed
                     the spread, neither it nor vaccine immunity were ever able to control the spread of the
                     infection overall.” Dr. Lynch’s response:
                         a. Dr. Risch appears to admit that infection-mediated immunity is not sufficiently
                             protective against COVID-19.
                         b. Efforts to maximally increase vaccination were incredibly important given the
                             experience with the delta wave and concerns about future variants, including
                             ones that could be more dangerous.
                         c. It is unambiguous that COVID-19 vaccination prevented countless infections,
                             10 million hospitalizations, and ~1 million deaths by the end of 2021 (Lynch
                             expert report ¶53). If more people were vaccinated in early 2021, ~50% of the
                             deaths that occurred by the spring of 2022 could have been prevented.39
                 24. Risch Rep. at pg. 4: “Nevertheless, that fact is not of policy consequence, because
                     case count is not and should not have been the main public health priority—spread per
                     se is not the issue—rather, the consequences of the spread and the negative
                     consequences of the policies should have been the priorities.” Dr. Lynch’s response:
                         a. Based on the materials that I reviewed, I am not aware of any statement by the

         37
            See Yadav, A. K., Kumar, S., Singh, G. & Kansara, N. K. Demystifying R Naught: Understanding What
         Does it Hide? Indian J. Community Med. : Off. Publ. Indian Assoc. Prev. Soc. Med. 46, 7–14 (2021).
         38
            See https://globalepidemics.org/vaccinations/
         39
            Ibid
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                              City of Issaquah that cases counts were the main public health policy objective.
                              Case counts were one of multiple public health metrics that public health
                              jurisdictions, health systems, and governments used to monitor the course of
                              the pandemic. Other metrics included hospitalizations and deaths due to
                              COVID-19.
                  25. Risch Rep. at pg. 4: “Belatedly, CDC in August 2022 came to a similar conclusion:
                      ‘public health efforts [should] minimize the individual and societal health impacts of
                      COVID-19 by focusing on sustainable measures to further reduce medically
                      significant illness’.” Dr. Lynch’s response:
                           a. The cited CDC document is from August 2022 and reflects a status of the
                              pandemic and circulating omicron variants that was unknown at the time of the
                              vaccine mandate.
                           b. Dr. Risch provides a very superficial perspective on the cited CDC document.
                              In that document, under the section titled “Vaccines and Therapeutics to
                              Reduce Medically Significant Disease” the authors wrote: “COVID-19
                              vaccines are highly protective against severe illness and death and provide a
                              lesser degree of protection against asymptomatic and mild infection.”40
                  26. Risch Rep. at pg. 4: “Mao and colleagues (Mao et al., 2022) carried out a meta-
                      analysis of studies of reinfection risks in patients previously infected with SARS-CoV-
                      2. This paper was published on-line December 13, 2021, but the 19 studies included
                      in its meta-analysis had already been published through May 1, 2021. In that meta-
                      analysis, among the followed cohorts totaling 325,225 people who had had Covid- 19,
                      1,096 reinfections were noted, for a risk of 0.34% in the pre-Delta Covid-19 period.
                      Three more studies of reinfections were published in April-June 2021 (Letizia et al.,
                      2021; Vitale et al., 2021; and Abo-Leyah et al., 2021), one in November (Kojima et
                      al., 2021) and a fifth in December (Chemaitelly et al., 2021), bringing the total
                      reinfection risk estimate to 1,242/372,368 = 0.33%, about 1 in 300 post-infection
                      individuals. Durations of follow-up in these studies were all greater than 90 days save
                      one study, and a number of studies followed subjects for 4-6 months or more.” Dr.
                      Lynch’s response:
                           a. At the time of the City’s vaccine mandate, public health organizations across
                              the planet, including the CDC, continued to recommend that all eligible people
                              get vaccinated regardless of prior COVID-19 infection history.
                           b. A history of COVID-19 infection is not a contraindication to COVID-19
                              vaccination. In fact, the combination of prior infection and vaccination, also
                              known as hybrid immunity, appears to provide the highest level of protection.
                           c. As seen with vaccine-induced immunity, the immune response to infection
                              fades over time, leaving the individual susceptible to infection. The only
                              possibilities at that time are to get vaccinated (boosted) or get infected again,
                              with all the attendant risks.
                           d. Regarding the papers available in 2021 that Dr. Risch cites:
                                   i. The paper by Letizia and colleagues wrote the following conclusion:
                                      “Seropositive young adults had about one-fifth the risk of subsequent
                                      infection compared with seronegative individuals. Although antibodies
                                      induced by initial infection are largely protective, they do not guarantee
                                      effective SARS-CoV-2 neutralisation activity or immunity against
                                      subsequent infection. These findings might be relevant for optimisation

         40
              See https://www.cdc.gov/mmwr/volumes/71/wr/mm7133e1.htm
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                                      of mass vaccination strategies.”41
                                  ii. The study described by Vitale and colleagues included this statement
                                      in the discussion: “However, the observation ended before SARS-
                                      CoV-2 variants began to spread, and it is unknown how well natural
                                      immunity to the wild-type virus will protect against variants.”42
                                 iii. The third paper in this section is by Abo-Layed and colleagues.
                                      Critically, this study was performed in 2020, prior to the emergence of
                                      variants. While infection mediated immunity was associated with a
                                      lower risk of infection, it was unknown if and how this would apply in
                                      the variant-phase of the pandemic.
                 27. Risch Rep. at pg. 4: “Confirming this, a later meta-analysis of reinfection studies
                     (COVID-19 Forecasting Team, 2023) estimated that protection against ancestral,
                     Alpha, and Delta reinfection averaged about 85% and lasted at this level for some nine
                     months before starting to wane.” Dr. Lynch’s response:
                         a. These data were not available at the time of the City’s vaccine mandate. The
                             data also demonstrate that the immune response after infection does wane,
                             leaving the individual susceptible again.
                 28. Risch Rep. at pg. 5: “I am not arguing that people should have sought to be infected
                     in order to obtain post-infection immunity, but given that it was clear by mid-2021
                     that almost everyone would eventually get infected at some point, recognition of this
                     fact should have played a practical role in the management of the pandemic.” Dr.
                     Lynch’s response:
                         a. What then is Dr. Risch is advocating for? The only alternative to vaccination
                             was to allow infections to move through the population without any control.
                 29. Risch Rep. at pg. 5: The paragraph starting with “Head-to-head comparisons of post-
                     infection (reinfection) vs post-vaccination (breakthrough)…” Dr. Lynch’s response:
                         a. Multiple studies cited by Dr. Risch are from 2022 and 2023 (Leon, et al, 2022,
                             Gazit, et al, 2022, and Bozio, et al, 2023). None of these were available in the
                             fall of 2021.
                         b. Dr. Risch cites a systemic review by Shenai and colleagues from October 2021
                             to suggest an increased risk of infection in vaccinated people compared to
                             people with a prior infection. Only one of the included studies could possibly
                             support this, written by Satwick, et al, in 2021.43,44 That latter paper compared
                             outcomes in people vaccinated with the ChAdOx1 (Oxford/AstraZeneca)
                             vaccine. This vaccine was not ever used in the United States so those data are
                             irrelevant to this discussion.
                         c. None of the authors of on the Shenai publication have published any
                             epidemiological papers, on COVID-19 or any other infectious disease, before
                             or after this single one. The senior author on the Shenai paper is Dr. Hooman

         41
            See Letizia, A. G. et al. SARS-CoV-2 seropositivity and subsequent infection risk in healthy young adults: a
         prospective cohort study. Lancet Respir. Med. 9, 712–720 (2021).
         42
            See Vitale, J. et al. Assessment of SARS-CoV-2 Reinfection 1 Year After Primary Infection in a Population
         in Lombardy, Italy. JAMA Intern. Med. 181, 1407–1408 (2021).
         43
            See Shenai, M. B., Rahme, R. & Noorchashm, H. Equivalency of Protection From Natural Immunity in
         COVID-19 Recovered Versus Fully Vaccinated Persons: A Systematic Review and Pooled
         Analysis. Cureus 13, e19102 (2021).
         44
            See Satwik, R., Satwik, A., Katoch, S. & Saluja, S. ChAdOx1 nCoV-19 effectiveness during an
         unprecedented surge in SARS COV-2 infections. Eur. J. Intern. Med. 93, 112–113 (2021).
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                             Noorchashm. Dr. Norchashm has publicly claimed, without any data, that
                             vaccinating people who have been infected is potentially harmful potentially
                             creating a concern for a conflict in interpretation of other studies.45
                          d. Regarding the cited paper by Leon, et al (2022), the authors concluded,
                             “Although the epidemiology of COVID-19 might change as new variants
                             emerge, vaccination remains the safest strategy for averting future SARS-
                             CoV-2 infections, hospitalizations, long-term sequelae, and death. Primary
                             vaccination, additional doses, and booster doses are recommended for all
                             eligible persons. Additional future recommendations for vaccine doses might
                             be warranted as the virus and immunity levels change.”46
                          e. The other papers in this paragraph were publish in 2022 and 2023.

        Specific Responses to “Background: Breakthrough Covid-19 Infections as Vaccine Failure”
         Section of Dr. Risch’s Report

                 30. Risch Rep. at pg. 5: “At the beginning of the vaccine roll-out, the initial randomized
                     controlled trial (RCT) studies of vaccine efficacy claimed them to be 94-95% effective
                     against symptomatic infection (Polack et al., 2020; Baden et al., 2021). These numbers
                     imply that 5- 6% of vaccinated people will get breakthrough infections, comparable
                     to unvaccinated individuals.” Dr. Lynch’s response:
                         a. This is not what those RCTs showed. The RCTs used for FDA EUA showed
                             that being vaccinated was associated with an 94% to 95% reduction in the risk
                             of infection compared to an unvaccinated person. Dr. Risch’s statement
                             implies a misunderstanding of basic epidemiology. For example, if, at some
                             point in the pandemic, an unvaccinated person has a 20% risk of infection, the
                             risk to a vaccinated person is ~5% of that risk, so ~1% risk of infection. Dr.
                             Risch implies that if 95% of people don’t get infected then 5% do get infected.
                             For this to work, every single person would need to have an exposure event
                             capable of causing an infection. At no time during the pandemic was there a
                             100% infection rate for any group. The 95% effectiveness is relative risk
                             reduction, not an absolute risk reduction. The latter would vary throughout the
                             pandemic based on how infectious a variant was and how many infections were
                             prevalent.
                         b. To imply that vaccinated people got infected at the same rate as unvaccinated
                             people makes absolutely no sense and contradicts Dr. Risch’s statement’s
                             elsewhere in this document (see paragraph starting with “On September 10,
                             2021…” just below the above statement).
                 31. Risch Rep. at pg. 5: “In later PR reports, the manufacturers reported “real-world”
                     vaccine efficacies at 90-91%, or that about 10% of vaccinated people would get
                     breakthrough infections.” Dr. Lynch’s response:
                         a. For reasons that I don’t comprehend, Dr. Risch refers to large, peer-reviewed
                             studies from multiple countries that demonstrated high level vaccine




         45
            See https://www.factcheck.org/2021/04/scicheck-vaccines-benefit-those-who-have-had-covid-19-contrary-to-
         viral-posts/
         46
            See https://www.cdc.gov/mmwr/volumes/71/wr/mm7104e1.htm
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                            effectiveness as “PR reports” (see Lynch expert report ¶25).47,48,49, 50
                         b. Dr. Risch again misinterprets the results of these studies. On a per person level,
                            the risk of infection is reduced by ~91% to 92% compared to an unvaccinated
                            person. It is not an absolute risk of infection.
                 32. Risch Rep. at pg. 5: “Even these efficacy claims were spuriously high, because these
                     and other vaccine efficacy studies improperly did not attribute incident Covid-19 cases
                     occurring within 7-21 days after vaccination to the vaccinated arm of the trial, and in
                     some instances, they were attributed to the unvaccinated arm.” Dr. Lynch’s response:
                         a. This sentence implies a lack of understanding of basic immunology. Virus
                            specific immunity, mediated by B-cells that makes antibodies and T-cells,
                            takes several weeks to develop. The COVID-19 vaccines stimulate these arms
                            of the immune response. As a result, the impact of vaccine-mediated immunity
                            takes weeks to be able to measure. This is a standard approach for all vaccine
                            studies and is not controversial.
                         b. At the end of this paragraph, Dr. Risch cites a paper by Neil, et al to support
                            this claim. This paper is a preprint and has not been peer reviewed or published
                            in any journal. The UK Office of Statistics Regulation also responded to the
                            authors informing them that the data set that was used for the paper was not
                            appropriate for their analysis.51 Notably, Dr. Risch cites this paper 6 times in
                            his response report despite these facts.
                 33. Risch Rep. at pg. 6: “By late 2021, about 90% of the general population had either
                     had Covid-19 infection (about 25%) or had been vaccinated against it (another 65%;
                     Jones et al., 2022; figure, below), thus for many if not most individuals, by that time,
                     exposure per se would not have resulted in clinical infection, and thus not
                     transmission.” Dr. Lynch’s response:
                         a. Again, these are data that became available in spring of 2022, making any
                            points by Dr. Risch retrospective. Regardless, among blood donors (the
                            population evaluated in this study), there was a clear association between the
                            proportion of fully vaccinated people and infection rates between January and
                            December of 2021, as shown in Figure 2 from the same paper:




         47
            See Pfizer and BioNTech Confirm High Efficacy and No Serious Safety Concerns Through Up to Six Months
         Following Second Dose in Updated Topline Analysis of Landmark COVID-19 Vaccine Study, Pfizer (April 1,
         2021), https://www.pfizer.com/news/press-release/press-release-detail/pfizer-and-biontech-confirm-high-
         efficacy-and-no-serious.
         48
            Ibid.
         49
            See Berkeley Lovelace, Jr., Moderna says new data shows its Covid vaccine is more than 90% effective
         against virus six months after second shot, CNBC (April 13, 2021), https://www.cnbc.com/2021/04/13/covid-
         vaccine-moderna-says-new-data-shows-its-90percent-effective-six-months-after-second-dose.html.
         50
            See Kathy Katella, Comparing the COVID-19 Vaccines: How Are They Different, Yale Medicine, Aug. 26,
         2021, https://www.yalemedicine.org/news/covid-19-vaccine-comparison.
         51
            See https://osr.statisticsauthority.gov.uk/correspondence/ed-humpherson-to-norman-fenton-martin-neil-clare-
         craig-and-scott-mclachlan-ons-deaths-by-vaccination-status-statistics/
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                         b. Around the time of the City’s vaccine mandate and similar vaccine mandates
                              in the United States, ~60% of eligible individuals had been vaccinated. It was
                              unknown what the immune status of the ~40% of adults who were not
                              vaccinated was and because the vaccines were not yet approved for those under
                              18 years of age, what the immune status of all children was.
                         c. Dr. Risch’s analysis fails to explain is and is contradicted by the massive
                              increase in COVID-19 cases, hospitalizations, and deaths in January of 2022.
                 34. Risch Rep. at pg. 6: “Generally, the stated goals of Covid-19 vaccination mandates
                     have been, in various instances, to prevent public exposures to the virus. However,
                     vaccination mandate policies should have sought to attempt to prevent the substantial
                     transmission of Covid-19 infection. Exposure to Covid-19 is not the same as
                     transmission, and this is not a facile distinction. Exposure is only relevant to the degree
                     that it results in transmission, but transmission is the crucial endpoint, for that is, by
                     definition, the spread of the infection from an infected person to exposed susceptible
                     individuals.” Dr. Lynch’s response:
                         a. Employment-based vaccination mandates are designed to increase the
                              proportion of people in a specific group who are vaccinated and as a result
                              reduce harm to that person, their co-workers, and, where applicable, members
                              of the public. By reducing the risk of infection, the person who is vaccinated
                              is safer as are those around them. I agree that movement of infection from one
                              person to another is a multi-step process.
                         b. A person must be exposed to the virus, that virus then infects that person. Once
                              infected, some individuals will develop a disease process and some will not.
                              In either case, there is a risk of transmitting the pathogen to another person or
                              persons. If a vaccinated person has a breakthrough infection, the risk of
                              transmission is decreased, which reduces exposures. If the exposed person is
                              vaccinated, the risk of infection is reduced compared to an unvaccinated
                              person, which in turn reduces the risk of exposing more individuals. At both
                              the individual level and the population level, vaccinations dramatically reduce
                              the spread of COVID-19.
                 35. Risch Rep. at pg. 7: “Contraindications to getting vaccinated against Covid-19 are
                     rare. According to public CDC guidance at the time, the medical conditions putting
                     people at high risk of adverse infection outcome are not contraindications to getting
                     vaccinated. The only contraindication is “History of a severe allergic reaction (e.g.,

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                     anaphylaxis) after a previous dose or to a component of the COVID-19 vaccine.” Such
                     reactions are estimated to affect about one person in 100,000 (Blumenthal et al.,
                     2021).” Dr. Lynch’s response:
                          a. I agree with Dr. Risch’s opinion. The COVID-19 vaccines are very safe to
                             administer.
                 36. Risch Rep. at pg. 7: “To my knowledge, by the latter half of 2021 and increasingly
                     so, two doses of the Covid-19 vaccines in general use lost most of their ability to
                     reduce risk of infection transmission (Madewell et al., 2022). In that period, the Delta
                     variant of SARS-CoV-2 was the predominant strain in general circulation, overtaking
                     Alpha and previous strains in May-June 2021 and then itself overtaken by Omicron
                     strains in December 2021-February 2022 (Christensen et al., 2022). Both Delta and
                     Omicron started with large waves of infection even with the degrees of population
                     vaccination and post-infection immunity present at the times of their arrival waves.”
                     Dr. Lynch’s response:
                          a. As stated in my expert report and by Dr. Risch earlier in his response report,
                             two doses of the mRNA vaccines continued to provide a substantially reduced
                             risk of infection, between 65% and 80% depending on the study.
                          b. Dr. Risch cites a study by Madewell from 2022. In the conclusions of the
                             article, the authors wrote “Full vaccination was associated with reductions
                             insusceptibility and infectiousness, but more so for Alpha than Delta and
                             Omicron. The changes in estimated vaccine effectiveness underscore the
                             challenges of developing effective vaccines concomitant with viral evolution.”
                          c. As has been well-described, the highest risk for infection during the delta phase
                             of the pandemic was being unvaccinated. Vaccination continued to provide
                             substantial protection from infection.
                 37. Risch Rep. at pg. 7: “Additional evidence that the Covid-19 mRNA vaccines were
                     failing to suppress infection spread in the Delta period of 2021 is seen in the CDC
                     blood donor infection seroprevalence data from that period (Jones et al., 2022; figure
                     on previous page). The figure shows that the estimated cumulative fraction of
                     Americans infected with Covid-19 (seroprevalence, dashed lines) was increasing
                     through March 2021 but then started slowing as the vaccine rollout progressed, and it
                     plateaued from March through July 2021. But then when Delta started to spread and
                     became dominant, August through December 2021, infections were again rising like
                     in September through December2020, in spite of the large degree of vaccination
                     uptake that had already happened by that point (about 65% of people, the difference
                     between the dashed and solid lines in the latter half of 2021). These empirical CDC
                     data provide important evidence that the vaccines did reduce infection risk in the first
                     half of 2021, but also that they increasingly failed to do so in the second half of 2021.”
                     Dr. Lynch’s response:
                          a. As Dr. Risch point out in his analysis of herd immunity (paragraph 23 in this
                             document), the R0 of the delta variant was ~6. Using standard epidemiological
                             calculations, approximately 83% of people would need to be immune to
                             control the pandemic in each area.
                          b. In fact, COVID-19 rates did decrease in the late summer, fall and early winter
                             of 2021 despite the large number of people who were not vaccinated. Infection
                             rates remained stably elevated compared to the summer of 2021 due to
                             infections in this population.
                          c. Sixty-five percent of people vaccinated was far below the goals of public
                             health professionals and well below theoretical herd immunity levels.

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                         d. Dr. Risch is correct to state that vaccination did reduce infection risk in the
                             first half of 2021. However, the second part of that sentence is incorrect. All
                             available data show that being vaccinated was associated with a reduced risk
                             of infection compared to an unvaccinated person even into the omicron period
                             in December 2021 and January 2022.
                 38. Risch Rep. at pg. 7: “In order to transmit the Covid-19 infection, a person must first
                     be infected. That infection may or may not be recognized as symptomatic. Vaccine
                     effects on getting symptomatic Covid-19 infection were studied by the manufacturers
                     and in numerous post-marketing RCT studies. However, vaccine effects on infection
                     transmission were explicitly not studied by the vaccine manufacturers in their RCT
                     studies (Terhes, 2022). To clarify, I am referring to the effect of vaccination on
                     infection source control, i.e., whether previous vaccination reduces the infected
                     person’s risk of secondarily transmitting the infection to others. Because of the
                     requirement first to be infected, vaccine effects on transmission might seem to
                     correlate with vaccine effects on infection risks, but they are not the same and require
                     independent empirical data.” Dr. Lynch’s response:
                         a. I agree that the chain of infection requires exposure to an infected person
                             (Person A to Person B), infection (Person B), then transmission to another
                             person or persons (from Person B to C, D, E, etc.)
                         b. Vaccination reduces the risk of infection in Person A.
                         c. Vaccination reduces the risk of transmission from Person A to Person B.
                         d. Vaccination reduces the risk of infection in Person B.
                         e. Vaccination reduces the risk of transmission from Person B to Persons C, D,
                             E, etc.
                 39. Risch Rep. at pg. 8: “Published July 31, 2021, infected persons with Covid-19 in the
                     Delta period were found to have similar viral loads, whether or not they had previously
                     been vaccinated (Riemersma et al., 2021). It was later observed that infected
                     vaccinated individuals “clear[ed] detectable infections roughly 27% sooner than
                     unvaccinated individuals” (Puhach et al., 2023).” Dr. Lynch’s response:
                         a. I agree with Dr. Risch’s point that vaccinated people with breakthrough
                             infections clear detectable infections faster than unvaccinated people. By
                             clearing infections faster, being vaccinated reduces the risk of infecting other
                             people in all settings, including work, home, and in public settings.
                         b. People who are vaccinated also have lower infectious viral loads compared to
                             unvaccinated people (See figure below). These viral loads also clear faster
                             compared to unvaccinated people.52 These facts indicate a lower risk of
                             transmission.




         52
          See Puhach, O. et al. Infectious viral load in unvaccinated and vaccinated individuals infected with ancestral,
         Delta or Omicron SARS-CoV-2. Nat. Med. 28, 1491–1500 (2022).
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                 40. Risch Rep. at pg. 8: “Starting April 2021, CDC was monitoring Covid-19 vaccine
                     breakthrough cases. The monthly data from April through December 2021 were
                     initially made publicly available October 21, 2021 (and still are). The table above
                     provides the CDC data on numbers of breakthrough infections, along with the CDC’s
                     estimated monthly cumulative numbers of Americans receiving the Covid-19
                     vaccinations. By the end of 2021, almost 6 million vaccinated people had become
                     infected according to these data. This number comprises 4.3% of the 140 million
                     Americans who had been fully or partly vaccinated by that time. Among fully
                     vaccinated individuals, the breakthrough infection risk was 3.65%.” Dr. Lynch’s
                     response:
                          a. By the end of 2021, ~62% of the U.S. population, or 205,811,394 people, were
                              fully vaccinated
                          b. Using Dr. Risch’s table, 5,105,414 fully vaccinated people had a breakthrough
                              infection by the end of 2021. This is 2.4% of all vaccinated people, not 3.7%.
                 41. Risch Rep. at pg. 9: “Thus, it is clear that at the time the Washington state and
                     Issaquah city employee Covid-19 vaccine mandates were enforced in 2021,
                     appreciable risks of breakthrough infections were evident, making the vaccines
                     substantially imperfect for the supposed role of reducing infection risk, and data
                     supporting this observation were publicly available at the time.” Dr. Lynch’s
                     response:
                          a. This is an opinion, not a fact. Using Dr. Risch’s own data table, only 2.4% of
                              vaccinated people experienced a breakthrough infection by the end of 2021.
                              That means that 200,871,921 fully vaccinated people did not have an infection.
                              One could argue that an intervention that prevents 97.6% of harm events is
                              highly effective.

        Specific Responses to “Background: General Comments on Covid Transmission Risks Among
         Vaccinated and Unvaccinated” Section of Dr. Risch’s Report

                 42. Risch Rep. at pg. 9: “Washington State Department of Health knew throughout the

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                     Delta period of the second half of 2021, that large numbers of Covid-19 breakthrough
                     infections were occurring in vaccinated individuals in the state. The figure below
                     shows that during this period, roughly 25% of all registered Covid-19 cases were
                     breakthrough infections, more than 80,000 (Washington State Department of Health,
                     2022a). In addition: “From January 17, 2021 - January 1, 2022, there have been
                     123,365 vaccine breakthrough cases identified in Washington State. To date, more
                     than 4.8 million people in Washington state are up to date on their vaccines. The
                     breakthrough cases represent a small portion, about 2.5% of the vaccinated
                     population.” (Washington State Department of Health, 2022b).” Dr. Lynch’s
                     response:
                         a. This is consistent with the number that I calculated in ¶40 above. A very small
                             proportion of vaccinated people in Washington state had a breakthrough
                             between April 2021 and December 2021.
                 43. Risch Rep. at pg. 9: “While there has been some serious discussion about the poor
                     and unreliable quality of Washington State Department of Health statistics (Knopik,
                     2024), the 2.5% breakthrough figure is reasonably comparable to the 3.65%-4.3%
                     estimated by CDC data.” Dr. Lynch’s response:
                         a. The Washington State Department of Health COVID-19 data are consistent
                             with many other data sources including health systems, local health
                             jurisdictions (Public Health-Seattle & King County), other states, and the
                             CDC. As a result, there are no “serious discussions about the poor and
                             unreliable quality of Washington State Department of Health statistics.”
                         b. The document cited by Dr. Risch was written by Clifford Knopik. It is a non-
                             peer reviewed policy paper that is hosted on an anti-COVID vaccine
                             propaganda website called “Science, Public Health Policy and the Law”.
                         c. Members of the editorial board of this website include individuals who have
                             their American Board of Internal Medicine certifications revoked for spreading
                             COVID-19 mis- and dis-information. One of those editors, Dr. Peter
                             McCullough, is the Chief Medical Officer at the same supplement company
                             that Dr. Risch is the Chief Epidemiology Officer of (The Wellness Company).


        Specific Responses to “Potential Risk Burden Posed by Plaintiff” Section of Dr. Risch’s Report

                 44. Risch Rep. at pgs. 9-10: “In the present case, Defendant was required by public health
                     principles to evaluate the risks inhering to both possible outcomes of their termination
                     decision (terminate the Plaintiff or not). They only allowed one side, and only partly,
                     an infection relative risk of 4.6 according to CDC) if she had stayed employed. This
                     action therefore constitutes public health malpractice and was unprofessional. What
                     was needed to have been done was to calculate the following standard public health
                     calculations: Risk of Covid-19 infection occurring during calendar year 2021 for 2-
                     dose vaccinated individuals: 5,105,414/139,768,554 = 3.65% (CDC data above, page
                     9). Total number of Issaquah police officers: 38. Estimated number of vaccinated
                     Issaquah police officers at risk of getting Covid-19 infection after the mandate was
                     enforced: 38-1=37. Estimated number of Covid-19 infections in 2021 in vaccinated
                     Issaquah police officers at risk of getting Covid-19 infection after the mandate was
                     enforced: 37*3.65% = 1.35. Risk of Covid-19 infection occurring during calendar year
                     2021 for unvaccinated individuals: 3.65%*4.6 = 16.8%. Estimated number of Covid-
                     19 infections in 2021 in the unvaccinated Plaintiff at risk of getting Covid-19 infection

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                     before through after the mandate was enforced: 16.8%*1 = 0.168. Share of total
                     infection burden by Plaintiff had she remained employed by the Gambling
                     Commission in her same position and roles: 0.168/(1.35 + 0.168) = 11%.” Dr.
                     Lynch’s response:
                         a. Dr. Risch’s proportion of breakthrough cases is incorrect. See ¶ 21 of this
                             report. Per the report that Dr. Risch cites, approximately 2.5% of fully
                             vaccinated people in Washington State were infected by the end of 2021.
                         b. How many or what proportion of fully vaccinated people would experience a
                             breakthrough infection by the end of 2021 was unknown at the time of the
                             City’s vaccine mandate’s implementation, so this analysis could not have
                             applied to any decision making.
                         c. How does Dr. Risch know that only one person would not be vaccinated? My
                             understanding is that at the time of the City’s vaccine mandate, no one had any
                             information on what number or proportion of the Issaquah police officers (or
                             office administration and other support personnel) would seek
                             accommodations for a medical or religious exemption.
                         d. Policies like the City’s vaccine mandate cannot be updated based on the
                             number of people seeking exemptions in each sector, department, or area. The
                             requirements must apply to all impacted staff equally.
                         e. The City’s vaccine mandate did not describe any threshold, number, or
                             proportion of employees who should be vaccinated.
                         f. During October and November of 2021 unvaccinated people had 13.9 times
                             the risk of infection compared to vaccinated people, not 4.6 times the risk.53
                         g. Dr. Risch’s analysis, besides using incorrect data, also assumes that an infected
                             person’s risk to others is spread uniformly across an organization. My
                             understanding is that the Plaintiff worked in multiple locations with co-
                             workers, incarcerated individuals, and members of the public. The risk of
                             having an unvaccinated person was distributed to all those groups, spaces, and
                             encounters, including to people in jail and members of the public who may
                             have had no choice to protect themselves.
                         h. Thus, this analysis is not applicable to this case and is not relevant to any
                             assessment for accommodation.
                 45. Risch Rep. at pg. 11: “In my professional epidemiologic opinion, this fraction of
                     absolute risk for the Plaintiff, 11% of the total infections, was not actionable, because
                     the City took in stride and did not mandate booster doses for the vaccinated employees
                     in spite of all of the breakthrough infections occurring and their 8-fold greater
                     infection numbers. Dr. Lynch’s response:
                         a. Even if Dr. Risch’s above calculations was correct, for one person in the
                             department to be responsible to ~10% of the infection burden is high. And this
                             number does not consider the risk of transmission to other employees,
                             incarcerated people, or members of the public. Each of those infections could
                             lead to COVID-19, lost days of work or school, hospitalization, long COVID,
                             or death. In addition, each of infected person can then go on to infect others.
                             By reducing infections and transmissions, vaccination dramatically reduces all
                             of these risks.

         53
           See Johnson, A. G. et al. COVID-19 Incidence and Death Rates Among Unvaccinated and Fully Vaccinated
         Adults with and Without Booster Doses During Periods of Delta and Omicron Variant Emergence — 25 U.S.
         Jurisdictions, April 4–December 25, 2021. Morb. Mortal. Wkly. Rep. 71, 132–138 (2022).
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                  46. Risch Rep. at pg. 11: “According to these guidelines, just the assertion that Plaintiff
                      posed an excess Covid-19 infection risk (e.g., 4.6-fold) is insufficient to establish the
                      degree (i.e., the undue) of hazard. This falls into the category, speculative or
                      hypothetical hardship, that the EEOC guidelines prohibit, because Defendants (and
                      Dr. Lynch) have given no baseline absolute risk over which the increased relative risk
                      applies.” Dr. Lynch’s response:
                          a. During October and November of 2021 unvaccinated people had 13.9 times
                              the risk of infection compared to vaccinated people, not 4.6 times the risk.54 I
                              suggest that accommodating a situation that increases a hazard (up to and
                              including death) approximately 14-fold is unacceptable to most workers and
                              organizations.
                          b. Dr. Risch provides his interpretation of EEOC guidelines despite having no
                              legal background, experience in occupational health, or a history of
                              accommodation evaluation for any reason.

        Specific Responses to Section of Dr. Risch’s Report Regarding Expert Report of Dr. John Lynch

                  47. Dr. Lynch’s original report statement, “COVID-19 is a disease that can result in
                      serious illness or death.”
                          a. Dr. Risch’s reply (Risch Rep. at pg. 12), “This is a generic hypothetical
                              statement calculated to create anxiety, rather than a statement of scientific fact.
                              In general, statement of how something “can” happen have no relevance to
                              statements about the ways that things “do” happen. The overall mortality for
                              Covid-19 infection has been less than 0.1% across the age span, and most of
                              this mortality is concentrated in identifiable individuals who can be
                              specifically addressed, rather than pandemic management having to inflict
                              major burdens on the great majority of the general public.” Dr. Lynch’s
                              response:
                                   i. A death toll, in the U.S. alone, of well over 1.2 million people,
                                      including children, parents, spouses, relatives, friends, and co-workers
                                      is not a “generic hypothetical statement”. This is not something that
                                      “can” happen. It did happen. Regarding Dr. Risch’s using of infection
                                      fatality rate of 0.1%, a small percentage of a large number is still a large
                                      number.
                                  ii. When Dr. Risch states “identifiable individuals who can be specifically
                                      addressed” it sounds like he is echoing recommendations by the Great
                                      Barrington Declaration to somehow hide away older adults and people
                                      with risks for disease progression. This declaration never described
                                      how this would happen and has since been discredited.55
                                 iii. I do not understand Dr. Risch’s comment that the “great majority” of
                                      the population shouldn’t take on burdens associated with the
                                      responding to and limiting as much as possible the harms of the
                                      pandemic. I would posit that is what being part of a community means.
                  48. Dr. Lynch’s original report statement, “A subset of those with severe disease will
                      die. As of September 26, 2024, over 1.2 million people in the U.S. have died due to
                      COVID-19.”

         54
              Ibid
         55
              See https://blogs.bmj.com/bmj/2021/09/13/covid-19-and-the-new-merchants-of-doubt/
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                         a. Dr. Risch’s reply (Risch Rep. at pg. 12), “This is a bland evasion of the fact
                             that the great majority of deaths occurred in the identifiable group of elderly
                             people with various specific comorbidities (obesity, diabetes, chronic heart or
                             kidney disease, severe immunodeficiency, cancer, etc.).” Dr. Lynch’s
                             response:
                                  i. Dr. Risch’s comment seems to suggest that persons with common co-
                                     morbidities, such as obesity, have less value, such that we should not
                                     be concerned about their premature deaths due to COVID-19. As a
                                     healthcare worker and physician, I disagree.
                 49. Dr. Lynch’s original report statement, “There was (and remains) wide consensus
                     among public health officials that developing an effective COVID-19 vaccine was
                     crucial to returning to some semblance of ‘normal life.’”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 12), “This is a statement about what
                             people believe, not about how nature behaves. This statement ignores the large
                             degree of post-infection natural immunity (>87% of Americans according to
                             CDC) that returned at least that much of the population to “normal life.” Dr.
                             Lynch’s response:
                                  i. The statement that I made is exactly what scientists and public health
                                     experts wrote and spoke. Science is about investigating and then
                                     predicting how nature behaves in specific conditions.
                 50. Dr. Lynch’s original report statement, “The COVID-19 vaccines have been held to
                     the same rigorous safety and effectiveness standards as all other types of vaccines in
                     the United States.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 12), “This statement is absurd. The
                             vaccines never had any medium-term or long-term safety testing. Before
                             approvals, they never had any transmission testing. They never had any
                             carcinogenicity testing. The medium-term safety evaluations from the original
                             RCTs were corrupted by the inappropriate vaccine uptake of the placebo
                             groups. The vaccines available commercially in the US have only had EUA
                             approvals not formal BLA approvals—the products that were BLA approved
                             were not commercially released. The commercially available vaccines have
                             substantial DNA fragment contamination, well exceeding FDA limits
                             (Kämmerer et al., 2024; Wang et al., 2024).” Dr. Lynch’s response:
                                  i. The mRNA and J&J vaccines underwent all the standard steps for
                                     vaccine approval. I am not sure what “medium-term” and “long-term
                                     safety testing” Dr. Risch recommends in the middle of a pandemic
                                     when there is no safety signal of concern in nearly 100,000 study
                                     participants?
                                 ii. Transmission testing is not a standard part of vaccine effectiveness
                                     studies. To study transmission, investigators would need to recruit not
                                     only participants but would also need to track people that the study
                                     participants expose. Those who are exposed would then need to be
                                     tracked and tested. Considering the heterogeneity of how exposures
                                     work and who could be exposed in each study participants life (work,
                                     home, etc.) and incorporating what non-pharmaceutical interventions
                                     (ex. masking) each person uses, transmission studies are
                                     extraordinarily difficult.
                                iii. There was no concern for any type of carcinogenicity in any phase of
                                     the vaccine studies. This has borne out since the EUAs were approved

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                                     as there has been no association with any type of cancer of any type
                                     after the administration of billions of doses of COVID-19 vaccines.
                                iv. Both the Moderna and Pfizer vaccine products received FDA Biologics
                                     License Application (BLA) approval. The Pfizer BLA was in August
                                     2021 and the Moderna BLA was granted in January 2022.
                                 v. Dr. Risch’s statement that the vaccines have “substantial DNA
                                     fragment contamination” is not true. He cites a paper from, again, an
                                     anti-COVID-19 vaccine propaganda website titled “Science, Public
                                     Health Policy and the Law”. This paper has not been peer-reviewed
                                     and is not available in the global repository of biomedical research
                                     literature (NIH’s PubMed). The study by Wang, et al, was published in
                                     2024 in The Journal of High School Science (not available in PubMed
                                     either). The authors refer to studying “experimental mRNA vaccines”
                                     without any reference to commercially available products, lots, or
                                     similar. There are no studies indicating any contamination of the Pfizer
                                     or Moderna products.
                                vi. Billions of doses of the COVID-19 vaccines have been administered
                                     with the most intense adverse event reporting, tracking, and
                                     researching of any therapeutic in human history.
                 51. Dr. Lynch’s original report statements regarding efficacy of the Pfizer, Moderna
                     and J&J COVID-19 vaccines.
                         a. Dr. Risch’s reply (Risch Rep. at pg. 12), “These studies were misanalyzed
                             as Neil et al. have shown, because of excluding or misattributing infections
                             occurring within 7-21 days of vaccination.” Dr. Lynch’s response:
                                  i. As stated earlier in this document, the article by Neil and colleagues
                                     has not been peer-reviewed and has not been published in any journal
                                     despite having been presented as a preprint since March of 2024.
                                     Excluding infections in vaccinated study participants in the 7-21 days
                                     after administration is standard practice because it takes that long for
                                     the vaccines to generate a protective level of immunity.
                                 ii. Mr. Neil’s academic webpage (School of Electronic and Electrical
                                     Engineering and Computer Science, Queen Mary, University of
                                     London, UK) has no references to COVID-19 or vaccine research,
                                     epidemiology, or public health.
                 52. Dr. Lynch’s original report statement, “These positive clinical results held true in
                     the real world after the EUAs were issued. In April 2021, Pfizer announced that its
                     vaccine had 91.3% efficacy against COVID-19, based on how well it prevented
                     symptomatic COVID-19 infection seven days through up to six months after the
                     second dose. Similarly, Moderna announced in April 2021 that its vaccine had greater
                     than 90% efficacy against cases of COVID-19.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 13), “These claims, though undermined
                             by the Neil et al. arguments, nevertheless, allow that about 10% of vaccinated
                             individuals would get breakthrough infections comparable to unvaccinated
                             people. Dr. Lynch’s cited estimate of 64% vaccine efficacy (par. 71) allows
                             that 36% of vaccinated individuals would get breakthrough infections
                             comparable to unvaccinated people.” Dr. Lynch’s response:
                                  i. Dr. Risch again misinterprets basic epidemiological data. The cited
                                     estimate of a 64% reduced risk of infection in vaccinated vs
                                     unvaccinated people does not mean that 36% of vaccinated people get

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                                     infected. This is epi 101. At no time do 100% of people get infected
                                     regardless of their vaccination status. The number is a risk reduction
                                     compared to the unvaccinated group, not an absolute risk. For example,
                                     is there is a 10% risk of infection for an unvaccinated person at a given
                                     time, the risk to a vaccinated person would be ~0.7%.
                 53. Dr. Lynch’s original report statement, “the only group for whom the Pfizer and
                     Moderna vaccines (together, the “mRNA vaccines”) are currently contraindicated are
                     those acutely allergic to their ingredients—specifically polyethylene glycol or
                     polysorbate—which is estimated to occur in only 2.5 to 11.1 cases per 1 million
                     doses.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 13), “I thank Dr. Lynch for confirming
                             my observation that contraindication to taking the Covid-19 vaccines is rare,
                             about 1 in 100,000 people (Blumenthal et al., 2021). This means that virtually
                             everyone in the population could have freely chosen to take the vaccines to
                             protect him or herself.” Dr. Lynch’s response:
                                  i. I have no idea why Dr. Risch relates these 2 comments. The fact that
                                     the vaccines are safe as well as effective provides ethical support for
                                     the City’s vaccine mandate.
                 54. Dr. Lynch’s original report statement, “COVID-19 vaccines continue to be the
                     best tools available to prevent symptomatic COVID- 19. The extremely high
                     effectiveness of the vaccines in preventing symptomatic infections was important for
                     slowing the spread of COVID-19.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 13), “I discuss post-infection immunity
                             above, pages 4-5. Dr. Lynch seems stuck in stale data here. As the CDC
                             seropositivity data show (above, page 6), the Covid-19 vaccines were
                             associated with preventing infection spread in the first half of 2021, but not in
                             the second half of 2021 and thereafter.” Dr. Lynch’s response:
                                  i. Dr. Risch persists in simply splitting 2021 into 2 halves. This is not a
                                     valid assumption or perspective. During the delta phase that lasted until
                                     the end of 2021, being vaccinated reduced the risk of symptomatic
                                     infection by between 65% and 80% compared to an unvaccinated
                                     person. These were the data that the City of Issaquah and Washington
                                     State had at the time of the City’s vaccine mandate.
                 55. Dr. Lynch’s original report statement, “People should get vaccinated regardless of
                     whether they already were infected with COVID- 19 for several reasons.”
                         a. Dr. Risch’s reply (Risch Rep. at pgs. 13-14), “Inherent in this statement is
                             the brazen denial of the importance of post-infection immunity. The
                             overwhelming majority of the population was destined to get Covid-19 and this
                             fact was observable in summer 2021. People did not seek to get the infection;
                             it happened from exposures in everyday life. Above on pages 4-5, I cite some
                             two dozen studies showing that post-infection immunity is on average at least
                             as strong and durable as vaccine immunity, and that the great majority of these
                             studies had been published prior to the mandate Proclamation.” Dr. Lynch’s
                             response:
                                  i. There is no denial of the immune response following infection. There
                                     is the fact that in 2021 (and to this day), the duration of immunity
                                     following infection is variable and is not predictable. Dr. Risch does
                                     not and could not claim that a person infected in March 2020 had the
                                     same level of protection in October 2021 as a person infected in

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                                       September 2021 because there were no data to support such a claim.
                                   ii. There is no downside to vaccination for survivors of COVID-19. As
                                       described in my expert report, hybrid immunity appears to be the
                                       strongest kind of immune response.
                                  iii. In the absence of vaccination, the immune response in survivors would
                                       also wane, resulting again in their increased risk of infection.
                 56. Dr. Lynch’s original report statement, “Other studies have found stronger immune
                     response with vaccination after infection with COVID-19 [than after Covid-19
                     infection alone].”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 15), “This point is completely irrelevant.
                              No Covid-19 vaccine mandate including WA state has required any higher
                              level of immunity beyond that accomplished by vaccination alone. It doesn't
                              matter whether adding natural immunity gives more immunity. That is
                              illogical.” Dr. Lynch’s response:
                                    i. The point of my comment is part of a larger argument that having
                                       history of COVID-19 is not a contraindication to getting a COVID-19
                                       vaccine and that doing so is in fact the CDC recommendation. This is
                                       supported by the available scientific data.
                 57. Dr. Lynch’s original report statement, “The CDC and FDA do not recommend that
                     people use antibody or serology tests, which look for antibodies from a previous
                     infection or from vaccination, to assess the need for vaccination in an unvaccinated
                     person or assess immunity to SARS-CoV-2.”.
                         a. Dr. Risch’s reply (Risch Rep. at pg. 15), “This statement is a red herring.
                              Post-infection natural immunity is as good or better than vaccine immunity in
                              preventing subsequent infection. The only question for either type of immunity
                              is how to document its existence. Vaccine cards and electronic health records
                              do this for vaccine immunity. Recorded PCR test positivity and serum antibody
                              positivity (not antibody levels per se) document having had Covid-19
                              infection. Documented having had Covid provides the evidence of immunity,
                              not measuring circulating antibodies and showing any particular level.” Dr.
                              Lynch’s response:
                                    i. Individuals requesting accommodations due to a history of a prior
                                       infection often state that an employer can test the individual for
                                       antibodies to COVID-19. My statement is that these tests are not meant
                                       for this purpose.
                                   ii. Although we know that infection-mediated immunity wanes over time,
                                       like vaccine-mediated immunity, Dr. Risch does not provide any
                                       suggested limit after which a person should be considered vulnerable
                                       again. Does he think that a person who was infected in March of 2020
                                       is protected at the same level as someone who was infected in
                                       September of 2021?
                 58. Dr. Lynch’s original report statement, “Having a positive [antibody or T-cell test]
                     result indicates only that there is a high likelihood that the person was infected at some
                     time in the past. It does not imply that the person has any protection from subsequent
                     infection.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 15), “Exactly the same reasoning applies
                              to vaccine immunity. A person might have been 2-dose vaccinated in
                              December 2020 and would still be considered as satisfying the vaccine
                              mandate on October 18, 2021, no matter how much the circulating antibody

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                             level had dropped in the meantime.” Dr. Lynch’s response:
                                  i. Dr. Risch appears to agree with me. Antibody tests should not be used
                                     to assess the immune status of a person. If a person has a history of
                                     infection or a history of vaccination, an antibody test will likely be
                                     positive, at least for some period. Completing a primary vaccine series
                                     continued to provide robust protection from infection, long COVID,
                                     hospitalization, and death.
                 59. Dr. Lynch’s original report statement, “Someone who would rather get infected
                     with SARS-CoV-2 and subsequently develop COVID-19 as a means to developing
                     some level of temporary immunity would not be making a rational choice from a
                     public health perspective.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 15), “In the above, I say explicitly that I
                             do not advocate for intentional infection, and as well that this point is irrelevant
                             in the context of what actually transpired during the pandemic. Hundreds of
                             millions of Americans got Covid-19. They got Covid by living their lives, not
                             by going out to seek infection. There is no rational reasoning that finds benefit
                             in not accounting for this degree of post- infection natural immunity in public
                             health management of the pandemic. This whole paragraph is a red herring.”
                             Dr. Lynch’s response:
                                  i. Again, how would Dr. Risch “account for this degree of post-infection”
                                     immunity? How many months would he allow? And after that period,
                                     should the person then get vaccinated? The fact is that we do not know
                                     how many months would work as a cut-off. And regardless of COVID-
                                     19 infection history, there is no reason not to get vaccinated. A history
                                     of infection is not a reason to request exemption from the City’s
                                     vaccine mandate’s requirements.
                                 ii. “Hundreds of millions of Americans”? By the end of April 2022,
                                     approximately 80 million people had COVID-19 out of approximately
                                     340 million people living in the United States. Dr. Risch’s statement is
                                     somewhat hyperbolic.
                 60. Dr. Lynch’s original report statement, “Alternatives to vaccination such as regular
                     testing, distancing, air-flow barriers.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 16), “I agree with Dr. Lynch that these
                             approaches have not substantially reduced the spread of Covid-19. But then
                             again, the Q4 2023 CDC seropositivity data (figure above, page 2) show that
                             neither has vaccination reduced the spread of Covid-19. Almost everybody has
                             had Covid-19 by now.” Dr. Lynch’s response:
                                  i. There are abundant data that non-pharmaceutical interventions (NPIs)
                                     like testing (with symptoms), physical distancing, masking, and
                                     improved ventilation reduce the risk of COVID-19. The challenge is
                                     with implementation, adherence, and determination of effect size. The
                                     fact that many people have had COVID-19 is directly related to barriers
                                     and resistance to implementation and adherence of NPIs.
                                 ii. There are no data that demonstrate the equivalence of being
                                     unvaccinated with any combination of NPIs compared to being
                                     vaccinated with the same combination of NPIs.
                         b. Dr. Risch’s reply (Risch Rep. at pg. 16), “Additionally, Dr. Lynch is
                             discussing current knowledge about the efficacy of these pandemic
                             management measures. These measures were in widespread use in 2020-2021,

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                            in many circumstances mandated (such as for wearing masks), and believed in
                            that time frame to have some degrees of effectiveness. It is unreasonable to
                            impose a current knowledge standard on issues that used only the knowledge
                            of their times.” Dr. Lynch’s response:
                                  i. I am surprised by this comment given how many citations Dr. Risch
                                     implies were available at the time of the City’s vaccine mandate. He
                                     refers consistently to infection rates in 2022 and 2023, and studies
                                     published in the same time frames. See paragraph 60(a) above where
                                     he refers to Q4 2023 data yet again, just before he made this comment.
                                 ii. The point of my statement is that there were no data that demonstrated
                                     an equivalency between wearing a mask and being vaccinated versus
                                     only wearing a mask. Masks are effective tools, but the safety of the
                                     person is vastly improved when the wearer is also vaccinated.
                 61. Dr. Lynch’s original report statement, “Researchers from the Yale School of Public
                     Health estimated by the end of June 30, 2021, COVID-19 vaccines prevented nearly
                     280,000 deaths and 1.25 million hospitalizations in the United States. By December
                     2021, those estimates increased to vaccines preventing over 1 million deaths and 10
                     million hospitalizations in the United States.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 16), “These cited studies were modeling
                            studies, not empirical analyses. They used parameter values such as for vaccine
                            efficacy that did not reflect declining efficacy over time, and that
                            overestimated the degree of vaccine efficacy because of the improper case
                            categorization in the studies from which the values were taken (Neil et al.,
                            2024). These modeling studies also did not adequately evaluate serious adverse
                            events caused by the vaccines, because such data were largely suppressed at
                            the time in order to be able to portray the vaccines as safer than they were so
                            as to accomplish greater vaccine uptake by the public.” Dr. Lynch’s response:
                                  i. Studies like the one done by the group at Yale have to use modeling to
                                     determine the impact of public health interventions like vaccinations.
                                     It is not possible to do “empirical analyses” of events that didn’t happen
                                     unless there is a randomized trial, which, in the case of the COVID-19
                                     vaccines, would be unethical.
                                 ii. As explained earlier, the Neil paper is not an accepted source of
                                     information or science.
                                iii. Dr. Risch alludes to a conspiracy that “largely suppressed” serious
                                     adverse events caused by COVID-19 vaccines. Unfortunately, this is a
                                     common thread of vaccine misinformation. Dr. Risch provides no
                                     citations or proof of this allegation.
                 62. Dr. Lynch’s original report statement, “At the time the Proclamation and City’s
                     Order requiring vaccination were announced, COVID-19 cases were spiking due to
                     the Delta variant, despite other strategies and safety measures in place.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 16), “Yes, these spikes occurred in spite
                            of some 65% of the population having already been fully vaccinated, and
                            another 25% having post-infection immunity to the virus. I have demonstrated
                            above (page 4) that with the Delta strain of the virus estimated in July 2021 to
                            have a reproduction number R0 of about 6, this meant that essentially everyone
                            in the population would eventually get infected with Covid-19, and this fact
                            was apparent in July 2021. This assessment was confirmed by the CDC
                            seropositivity data (above, page 3) showing that by 4th quarter 2023, more than

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                             87% of the US population had had Covid-19. One can question the utility of
                             the Covid-19 vaccines from mid-2021 onward, given that it was then obvious
                             that they would fail to control the spread of the infection, and this failure was
                             publicly acknowledged by then CDC Director, Dr. Rochelle Walensky, on
                             August 6, 2021.” Dr. Lynch’s response:
                                  i. The delta spikes were driven in large part due to the large proportion
                                      of people who had no immunity in the summer and fall of 2021, not
                                      because the vaccines were failing. The R0 of 6 applies only to
                                      populations that are completely susceptible and is intrinsic to the virus
                                      variant, not the population. The correct epidemiological term is the
                                      effective reproductive number (Re) which incorporates the proportion
                                      of people with some level of immunity in the population and so varies
                                      as conditions evolved during the pandemic. The goal was to drive Re
                                      to less than one which would effectively stop the expansion of
                                      transmission.
                                 ii. At the time of the Proclamation and the City’s vaccine mandate, there
                                      was no basis for understanding that “everyone” was going to get
                                      infected
                 63. Dr. Lynch’s original report statement, “In the period leading up to December 2021,
                     in King County unvaccinated persons were 4.5x more likely to test positive for
                     COVID-19 than fully vaccinated persons, 32x more likely to be hospitalized, and 40x
                     more likely to die. … This was likely because COVID-19 vaccines provided strong
                     protection against infection during the Delta phase, with vaccine efficacy rates up to
                     high 80s%.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 17), “The validity of the Washington
                             Department of Health Covid data has been strongly criticized (Knopik, 2024).
                             Vaccine efficacy studies have been substantially biased upwards because of
                             the initial-period exclusion problem (Neil et al., 2024). The CDC seropositivity
                             data and Washington state Department of Health Covid case data (cited above,
                             pp 6 and 9) show that vaccination of a majority of the US population by then
                             (some 65%) did not seem to slow the spread of the Delta strain. These facts
                             contradict Dr. Lynch’s claim of vaccine effectiveness against becoming
                             infected in that period. However, Dr. Lynch’s quoted test-positivity relative
                             risk of 4.5 is similar to CDC’s estimate of 4.6, but while published September
                             10, 2021, that estimate was based on cases diagnosed June 20- July 17, 2021.”
                             Dr. Lynch’s response:
                                  i. I have already commented on the serious problems with both the
                                      Knopik and Neil documents.
                                 ii. I agree that the level of immunity in the population was not sufficient
                                      to stop the spread of COVID-19 in the fall of 2021. This supports the
                                      role of the Proclamation and the City’s vaccine mandate to increase the
                                      proportion of people in Washington State.
                 64. Dr. Lynch’s original report statement, “At the time the Proclamation and City’s
                     Order requiring vaccination were announced, data also suggested that vaccination
                     offered higher protection than previous COVID-19 infection.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 17), “This assertion is completely untrue.
                             The CDC report cited here cherry picked its references. There were 8 studies
                             published in 2021 comparing vaccine immunity to post-infection immunity:
                             Shenai et al., 2021 (7 studies); and Gazit et al., 2021. These studies showed the

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                              opposite of what Dr. Lynch is claiming: risk of infection was reduced 1.86-
                              fold for Covid-recovered vs vaccinated uninfected people (Shenai et al., 2021),
                              and reduced 6-fold in the Gazit et al. study.” Dr. Lynch’s response:
                                   i. Here is a quote from the CDC paper published in August 2021 that I
                                      cited in my report, “This study found that among Kentucky residents
                                      who were previously infected with SARS-CoV-2 in 2020, those who
                                      were unvaccinated against COVID-19 had significantly higher
                                      likelihood of reinfection during May and June 2021. This finding
                                      supports the CDC recommendation that all eligible persons be offered
                                      COVID-19 vaccination, regardless of previous SARS-CoV-2 infection
                                      status.” The researchers cited papers that supported their hypothesis
                                      and informed the research question. The study used original data from
                                      Kentucky’s National Electronic Disease Surveillance System for the
                                      analysis, not data from cited papers.
                                  ii. Additional studies available at the time supported the above research
                                      findings.56,57
                                 iii. Vaccination of people who were previously infected provides higher
                                      level protection from re-infection.58,59,60
                                 iv. Dr. Risch cites a systematic review by Shenai and colleagues from
                                      October 2021. One of the included studies used to support the
                                      conclusion was written by Satwick, et al, in 2021.61 That latter paper
                                      compared outcomes in people vaccinated with the ChAdOx1
                                      (Oxford/AstraZeneca) vaccine. This vaccine was not ever used in the
                                      United States, so those data are irrelevant to this discussion. The
                                      authors also included in their analysis what appears to be a subset of
                                      studies that supported their hypothesis and excluded others (ex. the
                                      Cavanaugh paper that I cited).
                                  v. None of the authors of on the Shenai publication have published any
                                      epidemiological papers, on COVID-19 or any other infectious disease,
                                      before or after this single one. The senior author on the Shenai paper is
                                      Dr. Hooman Noorchashm. Dr. Norchashm has publicly claimed,
                                      without any data, that vaccinating people who have been infected is
                                      potentially harmful potentially creating a concern for a conflict in


         56
            See Stamatatos, L. et al. mRNA vaccination boosts cross-variant neutralizing antibodies elicited by SARS-
         CoV-2 infection. Science 372, 1413–1418 (2021).
         57
            See Lewis, N. et al. Effectiveness Associated With Vaccination After COVID-19 Recovery in Preventing
         Reinfection. JAMA Netw. Open 5, e2223917 (2022).
         58
            See Lasrado, N. & Barouch, D. H. SARS-CoV-2 Hybrid Immunity: The Best of Both Worlds. J. Infect.
         Dis. 228, 1311–1313 (2023).
         59
            See Zheng, H. et al. Meta-analysis of hybrid immunity to mitigate the risk of Omicron variant
         reinfection. Front. Public Heal. 12, 1457266 (2024).
         60
            See Flury, B. B. et al. Risk and symptoms of COVID-19 in health professionals according to baseline
         immune status and booster vaccination during the Delta and Omicron waves in Switzerland—A multicentre
         cohort study. PLOS Med. 19, e1004125 (2022).
         61
            See Shenai, M. B., Rahme, R. & Noorchashm, H. Equivalency of Protection From Natural Immunity in
         COVID-19 Recovered Versus Fully Vaccinated Persons: A Systematic Review and Pooled
         Analysis. Cureus 13, e19102 (2021).
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                                      interpretation of other studies.62
                                 vi. Regarding the cited paper by Leon, et al (2022), the authors concluded,
                                      “Although the epidemiology of COVID-19 might change as new
                                      variants emerge, vaccination remains the safest strategy for averting
                                      future SARS-CoV-2 infections, hospitalizations, long-term sequelae,
                                      and death. Primary vaccination, additional doses, and booster doses are
                                      recommended for all eligible persons. Additional future
                                      recommendations for vaccine doses might be warranted as the virus
                                      and immunity levels change.”63
                                vii. The other papers in this paragraph, including the peer reviewed version
                                      of the paper by Gazit, et al, were publish in 2022 and 2023, so the
                                      information was not available to experts or policy makers at the time
                                      of the vaccine requirement.64
                 65. Dr. Lynch’s original report statement, “It is important to remember that much of
                     what we know now about the virus and the disease was unknown at the time the City’s
                     Order, King County Executive Order, and State Proclamation requiring vaccination
                     were announced. In 2021, it was unknown exactly how the virus was transmitted and
                     what mitigations, aside from vaccination, were the most effective.”
                        a. Dr. Risch’s reply (Risch Rep. at pgs. 17-18), “The vaccine mandate was
                             enforced in October 2021, not when these orders were announced. Washington
                             state and EEOC guidelines required use of the most recent scientific
                             information available to make policy decisions. Washington State Department
                             of Health clearly knew about the very large scale of vaccine breakthrough
                             infections occurring in summer-fall 2021 (chart on page 9 above, showing
                             about 20-25% of all Delta Covid-19 infections in that period were
                             breakthrough infections, about 500 breakthrough infections per day in the
                             state), but this knowledge apparently did not affect considerations for the
                             October-deadline vaccine mandates.” Dr. Lynch’s response:
                                  i. The time between the announcement of the City of Issaquah’s order
                                      and enforcement of the requirements was fairly short. There were no
                                      substantial changes in the accepted understanding of COVID-19
                                      dynamics during that window of time.
                                 ii. Dr. Risch again manipulates the data inappropriately. When a large
                                      majority of people are vaccinated and there are breakthroughs, the
                                      absolute number may be larger among the vaccinated population.
                                      However, the rate, as discussed multiple times, was dramatically higher
                                      in the unvaccinated population. In the absence of widespread vaccine
                                      uptake in Washington State, there would have been many more
                                      infections, hospitalizations, and deaths due to COVID-19.
                 66. Dr. Lynch original report statement, “what we did know in 2021 and 2022 (and
                     what is still true) is that vaccines offer protection against transmission.”
                        a. Dr. Risch’s reply (Risch Rep. at pg. 18), “I have discussed this at length

         62
            See https://www.factcheck.org/2021/04/scicheck-vaccines-benefit-those-who-have-had-covid-19-contrary-to-
         viral-posts/
         63
            See https://www.cdc.gov/mmwr/volumes/71/wr/mm7104e1.htm
         64
            See 1Gazit, S. et al. Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-CoV-2) Naturally Acquired
         Immunity versus Vaccine-induced Immunity, Reinfections versus Breakthrough Infections: A Retrospective
         Cohort Study. Clin. Infect. Dis.75, e545–e551 (2022).
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                             above. In brief: the vaccine rollout was associated with reduction in infections
                             in the first half of 2021 but substantially failed to suppress transmission in the
                             second half of 2021 (Jones et al. CDC seropositivity data) and in 2022-2023
                             (CDC seropositivity data). Thus, the vaccines likely did reduce transmission
                             in the first half of 2021, but have not done so since that time. Madewell et al.,
                             2022 also shows that two doses of the mRNA vaccines did not reduce risk of
                             secondary transmission in the Delta and Omicron periods.” Dr. Lynch’s
                             response:
                                   i. COVID-19 vaccines reduced the risk of infection, transmission, long
                                      COVID, hospitalization, and death throughout 2021. This is not a
                                      scientifically controversial statement.
                                  ii. Dr. Risch continues to cite to seroprevalence data from a paper
                                      published in 2022 that does not support his statements. This study
                                      demonstrates a strong association between higher regional vaccine
                                      rates and reduced infection-induced seroprevalence.65
                                 iii. The authors of the Madewell (2022) paper cited above wrote, “These
                                      findings suggest vaccination for SARS-CoV-2 transcends protection of
                                      the individual by conferring indirect protection to other household
                                      members, but the degree of protection is seemingly lower for emerging
                                      variants.”66 Despite Dr. Risch’s interpretation, the researchers analysis
                                      of their data supported the use of COVID-19 vaccines to reduce harm
                                      to the vaccinated person and to those around them.
                 67. Dr. Lynch’s original report statement, “in a paper published in JAMA in May 2021
                     that tracked both symptomatic and asymptomatic healthcare workers (“HCW”) in
                     Israel, the rate of symptomatic infection in vaccinated HCW was 4.7 per 100,000
                     person-days and 149.8 per 100,000 in the unvaccinated cohort.”67
                         a. Dr. Risch’s reply (Risch Rep. at pg. 19), “The Shrestha cohort study of
                             50,000 Cleveland Clinic employees however showed that risk of Covid-19
                             infection significantly increased with each subsequent booster dose, not
                             decreased. A similar inverse dose-response finding was seen in a study in
                             Japan (Nakatani et al., 2024). Significant negative efficacy was also seen in a
                             recent large study of the monovalent Omicron XBB 1.5 vaccine. In any event,
                             booster doses were not required under the state mandate Proclamation, and fall
                             of 2022 was well after the events of this legal case had transpired.” Dr.
                             Lynch’s response:
                                   i. The study by Shrestha and colleagues demonstrated a 28% reduction
                                      in individuals who were “up-to-date” on vaccines compared to those
                                      who were not “up-to-date”. The vaccine that was studied was the
                                      bivalent vaccine and the circulating variant was in the omicron family.
                                      This vaccine was not available at the time of the implementation of the

         65
            See Jones, J. M. et al. Updated US Infection- and Vaccine-Induced SARS-CoV-2 Seroprevalence Estimates
         Based on Blood Donations, July 2020-December 2021. JAMA 328, 298–301 (2022).
         66
            See Madewell ZJ, Yang Y, Longini IM, Halloran ME, Dean NE. Household Secondary Attack Rates of
         SARS-CoV-2 by Variant and Vaccination Status: An Updated Systematic Review and Meta-analysis. JAMA
         Netw Open.2022;5(4):e229317. doi:10.1001/jamanetworkopen.2022.9317
         67
            Although Dr. Risch’s report states that he offered this response to the comment in Dr. Lynch’s report
         regarding a study of asymptomatic and symptomatic transmission in Israel, it appears that he may have actually
         been responding to a statement in Dr. Lynch’s report regarding boosters.
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                                    Proclamation and the City’s vaccine mandate.
                                ii. The idea that the risk of COVID-19 increase with additional doses is
                                    false. The global scientific consensus is that repeat vaccination is
                                    associated with improvement in the level of protection to the
                                    individual.
                               iii. The lead author of the paper, Dr. Nabin Shrestha, in response to this
                                    claim, has stated, “Any claim that our study shows a causal relationship
                                    between getting more doses of the COVID-19 vaccine and higher risk
                                    of infection is false”.68
                 68. Dr. Lynch original report statement, “Vaccination against COVID-19 is fast (each
                     dose takes about 20 seconds to administer), extremely safe, and highly effective at
                     preventing transmission of the virus.”
                        a. Dr. Risch’s reply (Risch Rep. at pg. 18), “Dr. Lynch has not examined or
                            provided any analysis of vaccine harms, unlike reports by Ed Dowd, US and
                            European insurance companies, and Naomi Wolf’s examinations of the
                            massive internal documents on serious adverse effects of the Pfizer and
                            Moderna vaccines.” Dr. Lynch’s response:
                                 i. Ed Dowd is a known spreader of COVID-19 misinformation. He is the
                                    author of a book titled “Cause Unknown, The Epidemic of Sudden
                                    Deaths in 2021 & 2022”. His claims have been refuted by multiple
                                    sources.69,70,71 Dr. Risch is a co-author with this person on another book
                                    call “Canary in a COVID World: How Propaganda and Censorship
                                    Changed Our (My) World”. Mr. Dowd works in investments.
                                ii. Dr. Risch provides no citation for claims of vaccine injuries among
                                    U.S. and European insurance companies.
                               iii. Naomi Wolf is an example of an extreme spreader of COVID-19
                                    misinformation.72,73 Dr. Risch has appeared on podcasts with Dr. Wolf
                                    discussing “mRNA vaccine shedding” and the idea that the vaccines
                                    cause “turbo-cancers” in young people.74
                               iv. Dr. Risch has co-authored a book titled, “Toxic Shot: Facing the
                                    Dangers of the COVID ‘Vaccines’” with Byram Bridle. Dr. Bridle also
                                    spreads COVID-19 misinformation. More than 80 of his colleagues at
                                    the University of Guelph signed a letter denouncing his role in
                                    spreading misinformation.75 Many articles have been written refuting
                                    his claims.76 Other authors on this book include Naomi Wolf and Peter

         68
            See https://science.feedback.org/review/cleveland-clinic-study-didnt-find-more-covid-19-vaccine-doses-
         causes-increased-covid-19-risk-association-alone-doesnt-imply-causation/
         69
            See https://apnews.com/article/fact-checking-793439742249
         70
            See https://www.reuters.com/article/fact-check/fact-check-no-evidence-that-people-aged-25-44-experienced-
         an-84-increase-in-ex-idUSL2N2VS1BI/
         71
            See https://www.factcheck.org/2023/04/scicheck-no-evidence-excess-deaths-linked-to-vaccines-contrary-to-
         claims-online/
         72
            See https://www.npr.org/sections/health-shots/2021/07/20/1016912079/the-life-cycle-of-a-covid-19-vaccine-
         lie
         73
            See https://factcheck.afp.com/doc.afp.com.32CY4Q7
         74
            See https://dailyclout.io/legendary-epidemiologist-dr-harvey-risch-on-turbo-cancers/
         75
            See https://www.wormsandgermsblog.com/files/2021/07/20210709-VaccineSafety_UoGuelph.pdf
         76
            See “From the Media”, https://byrambridle.com
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                                      McCullough, a known purveyor of COVID-19 misinformation.
                                  v. Regarding perspectives on COVID-19 vaccine misinformation and
                                      supposed harms due to the vaccines, Dr. Risch said the following on a
                                      podcast: “NIH and the Department of Defense funded dangerous,
                                      prohibited gain-of-function virus research, the engineered virus
                                      escaped from the lab, the DOD claimed that it was a bioweapon and it
                                      seized control to assert military not public health management of the
                                      pandemic, then DOD covered up the cause of the pandemic, suppressed
                                      early treatments, and forced this toxic, weakly effective vaccine, so-
                                      called vaccine, onto the population as a wartime countermeasure, not,
                                      it's not as a treatment, and without informed consent, and then hundreds
                                      of thousands of Americans subsequently died or got injured a result.”
                                      He also said, “And so because all of this incompetence and
                                      malfeasance, hundreds of thousands of Americans died unnecessarily,
                                      and hundreds of thousands more were appreciably damaged, their
                                      health, they lost their health. And this was done to cover up the
                                      technically brilliant but commonsense incompetence of the elite
                                      agencies and researchers who did this.”77
                  69. Dr. Lynch’s original report statement, “No other public health strategy could
                      effectively meet the City's goals of maintaining critical governmental services and
                      operations while protecting the health, safety, and well-being of its employees,
                      customers, and the public at large.”
                          a. Dr. Risch’s reply (Risch Rep. at pg. 18), “This statement is contrary to public
                              health principles of weighing the costs and benefits of every intervention and
                              policy. It says only that this one plan of mandating vaccination would be
                              suitable, but to what quantitative end? There is no discussion of the degree to
                              which infection transmission would be reduced and how much breakthrough
                              infection load would occur. There is no recognition of the role that post-
                              infection immunity could beneficially contribute. Thus, there is no
                              understanding of the fact that Covid-zero could not be accomplished and what
                              that would mean for policies.” Dr. Lynch’s response:
                                   i. This entire statement is spin. The global scientific community
                                      supported the widespread use of COVID-19 vaccines to reduce human
                                      harm and suffering. The qualitative end was described by the three
                                      Commonwealth studies that I cited in my report that Dr. Risch so
                                      casually dismisses. Hundreds of thousands of deaths and over 1 million
                                      hospitalizations were prevented. Each of those hospitalizations and
                                      deaths started with an infection that the person got from someone else.
                                      That risk is reduced by vaccination.
                                  ii. An additional study by the Brown School of Public Health estimates
                                      that if 100% of people got vaccinated in the spring of 2021,
                                      approximately 50% of the 600,000 people who died between January
                                      2021 and April 2022 could have been saved.78 In Washington State
                                      alone, that would have saved 5,300 lives. If we had gotten even to 85%
                                      vaccinated, 2,100 deaths could have been prevented.
                                 iii. Dr. Risch uses the term “COVID-zero” as if this goal is something

         77
              See https://transcriberb.dreamwidth.org/190515.html
         78
              See https://globalepidemics.org/vaccinations/
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                                      negative or bad. As a physician and public health advocate, my goal is
                                      always to reduce the risk of harm as much as possible. Zero is always
                                      a goal.
                 70. Dr. Lynch’s original report statement, “in a paper published in JAMA in May 2021
                     that tracked both symptomatic and asymptomatic healthcare workers (“HCW”) in
                     Israel, the rate of symptomatic infection in vaccinated HCW was 4.7 per 100,000
                     person-days and 149.8 per 100,000 in the unvaccinated cohort.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 19), “This study included infections in
                             the pre-Delta era, when, as has been discussed above, the vaccines were
                             associated with reduced risk of becoming infected with the virus. This benefit
                             dramatically changed with the loss of efficacy during the second half of 2021
                             and thereafter. This loss of efficacy was demonstrated both by the continued
                             large-scale infection spread throughout the population (CDC seroprevalence
                             data above, pages 3 and 6), as well as numbers of individual studies showing
                             that “full (i.e., 2-dose) vaccination” was substantially losing efficacy, in some
                             studies showing negative efficacy. The Shrestha cohort study of 50,000
                             Cleveland Clinic employees showed that risk of Covid-19 infection
                             significantly increased with each subsequent booster dose, not decreased. A
                             similar inverse dose-response finding was seen in a study in Japan (Nakatani
                             et al., 2024). Significant negative efficacy was also seen in a recent large study
                             of the monovalent Omicron XBB 1.5 vaccine (Ioannou et al., 2025).” Dr.
                             Lynch’s response:
                                   i. As stated earlier, pre-delta protection from infection was ~91% for the
                                      mRNA vaccines, during delta, which extended until the end of the year,
                                      protection was between 65% and 80% depending on how long it had
                                      been since a person was vaccinated. These are percent reduction in the
                                      risk of infection at the individual level. Throughout 2021, a vaccinated
                                      person had reduced risk of symptomatic infection compared to an
                                      unvaccinated person.
                                  ii. The study by Shrestha and colleagues demonstrated a 28% reduction
                                      in individuals who were “up-to-date” on vaccines compared to those
                                      who were not “up-to-date”. The vaccine that was studied was the
                                      bivalent vaccine and the circulating variant was in the omicron family.
                                      This vaccine was not available at the time of the implementation of the
                                      Proclamation and the City’s vaccine mandate.
                                 iii. The idea that the risk of COVID-19 increase with additional doses is
                                      false. The global scientific consensus is that repeat vaccination is
                                      associated with improvement in the level of protection to the
                                      individual.
                                 iv. The lead author of the paper, Dr. Nabin Shrestha, in response to this
                                      claim has stated, “Any claim that our study shows a causal relationship
                                      between getting more doses of the COVID-19 vaccine and higher risk
                                      of infection is false”.49
                                  v. The Nakatani paper was a survey of workers that had a very high risk
                                      of bias.
                                 vi. The Ioannou study did not find a “significant negative efficacy” among
                                      boosted individuals. Regardless, the study occurred between October
                                      2023 and January 2024 using a different vaccine and with a different
                                      circulating variant.

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                  71. Dr. Lynch’s original report statement, “Importantly, the choice to remain
                      unvaccinated impacts not only the health of the person making this decision, but
                      having more unvaccinated people in the population also increases the risk of infection
                      for all people, vaccinated and unvaccinated.”
                          a. Dr. Risch’s reply (Risch Rep. at pg. 19), “Here Dr. Lynch is explicitly
                               admitting that vaccinated people are at risk of being infected. His assertion is
                               referenced by a modeling study in CMAJ (and later, PLoSOne) by David
                               Fisman and colleagues at the University of Toronto. The study publication
                               caused a very large response of critical letters to the journal by numerous
                               public health scientists, and it was fully debunked in the book, Fisman's Fraud,
                               by PhD statistician Dr. Regina Watteel.” Dr. Lynch’s response:
                                    i. I have continuously stated that breakthrough infections occur.
                                   ii. I don’t see any references to “a very large response of critical letters to
                                       the journal by numerous public health scientists”. The CMAJ article
                                       had 2 letters, and I could not find any regarding the PLoSOne article.
                                       The fact the Dr. Fisman’s research was published in 2 excellent
                                       scientific journals supports the author’s methods and findings.
                                  iii. Dr. Watteel, another author with Dr. Risch on the “Canary in a COVID
                                       World”, wrote a book attacking Dr. Fisman based on these 2 articles.
                                       The full title is “Fisman’s Fraud: The Rise of Canadian Hate Science.”
                                       As a result of this book and associated misinformation, Dr. Fisman has
                                       receive numerous threats to his safety. He is a respected physician and
                                       epidemiologist with a long track record of research papers on COVID
                                       and other infectious disease across a spectrum of peer-reviewed
                                       research journals.79
                  72. Dr. Lynch’s original report statement, “It’s like refusing to wear one’s seatbelt just
                      because some people still get injured in car accidents even when they are wearing their
                      seatbelts.”
                          a. Dr. Risch’s reply (Risch Rep. at pg. 19), “This is a completely inappropriate
                               analogy. The correct analogy is whether I have to put large rubber bumpers on
                               the front and back of my car because 1 in 100,000 drivers (Blumenthal et al.,
                               2021 estimate of people with contraindications to the Covid-19 vaccines
                               according to CDC) doesn't or can't wear seatbelts and needs my protection. Dr.
                               Lynch’s response:
                                    i. I don’t understand Dr. Risch’s analogy. The number at risk is not how
                                       many people are contraindicated to get vaccinated. The relevant
                                       number is how many people are at risk for infection, severe disease,
                                       and death due to COVID-19.
                                   ii. My analogy was regarding how some individuals base their risk on
                                       personal experiences and anecdotes. To elaborate on the metaphor, if a
                                       person works only with vaccinated people and see occasional
                                       breakthrough infections, they could think that being vaccinated doesn’t
                                       provide meaningful protection. Conversely, if a person works with a
                                       small group of unvaccinated people who don’t get tested or don’t
                                       explicitly disclose COVID-19 infection, that person could believe that
                                       unvaccinated people are not at greater for infection compared to
                                       vaccinated people. It almost goes without saying that this is why

         79
              See https://pubmed.ncbi.nlm.nih.gov/?term=%22fisman+d%22&sort=date
                                                                 35
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                                     scientific studies are required to answer these questions.
                 73. Dr. Lynch’s original report statement, “both the vaccinated person and all of those
                     around them are at much lower risk of infection [because of the vaccinated person's
                     vaccination].”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 20), “If the people around the vaccinated
                            person desired to be at lower risk of infection, they were free (99,999 out of
                            100,000 of them anyway) to take the vaccination themselves. See previous
                            paragraph.” Dr. Lynch’s response:
                                  i. The fact is that many Americans decided not to get vaccinated despite
                                     the progression of the pandemic.
                                 ii. Government employees have, in my opinion, an ethical obligation not
                                     to increase the risk of harm to members of the public or to negatively
                                     affect governmental operations.
                               iii. Police officers take an oath to protect the public. Infecting members of
                                     the public goes against that oath.
                                iv. Vaccination reduces the risk of transmission and infection. The highest
                                     risk for vaccinated people is exposure to unvaccinated people.80
                 74. Dr. Lynch’s original report statement, “Dixson may have been infected and
                     asymptomatic in the past and may be in the future. She may have also had respiratory
                     symptoms and decided not to get tested.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 20), “This whole paragraph is
                            speculative and hypothetical and violates EEOC guidelines on that basis. It has
                            no place here.” Dr. Lynch’s response:
                                  i. My statement was not hypothetical, as it was based on the factual
                                     information provided to me that Plaintiff stated in her testimony.
                                 ii. This statement is based on the scientific data that demonstrates that (a)
                                     people who are shown to have been infected based on PCR tests may
                                     report no symptoms; and (b) that persons who contract COVID-19 but
                                     are not symptomatic may nevertheless transmit COVID-19. These facts
                                     would apply to the Plaintiff as well.
                               iii. Dr. Risch has no identified expertise as a legal or EEOC expert. To the
                                     extent that any such guidelines prohibit acting based on purely
                                     speculative or hypothetical risks, such guidelines would not be violated
                                     by acting based on public health guidance that is based on peer-
                                     reviewed scientific data available at the time. Understanding the risks
                                     associated with the possibility of an unvaccinated person being
                                     asymptomatic and/or untested, and thus unaware of their positive
                                     COVID-19 status is neither speculative nor hypothetical.
                 75. Dr. Lynch’s original report statement, “Dixson has also stated that she was “100%
                     safe during the entire pandemic,” which I understand to mean that she is asserting that
                     she never transmitted COVID to either co-workers or the public.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 20), “Dr. Lynch spends a long paragraph
                            discussing biological, medical and public health considerations as to whether the
                            Plaintiff could know that she was “100% safe.” This discussion is entirely
                            misplaced, because the Plaintiff's assertions, after the fact, are irrelevant for

         80
           See Fisman, D. N., Amoako, A., Simmons, A. & Tuite, A. R. Impact of immune evasion, waning and
         boosting on dynamics of population mixing between a vaccinated majority and unvaccinated minority. PLOS
         ONE 19, e0297093 (2024).
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                             considerations of her infection risk going forward at the time of her termination.”
                             Dr. Lynch’s response:
                                  i. The Plaintiff’s statement implied a very high level of confidence that
                                     was not based in fact. It goes to the Plaintiffs misunderstanding of her
                                     own risk of infection and transmission to other people.
                                 ii. In addition, the Plaintiff has no experience or expertise in infectious
                                     disease transmission or mitigations and cannot make this assessment.
                 76. Dr. Lynch’s original report statement, “by the end of 2022, COVID-19 vaccines
                     prevented 18.5 million COVID-19 hospitalizations and 3.2 million deaths in the U.S.
                     alone. Attached hereto as Exhibit B is a true and correct copy of the CDC’s Oct. 20,
                     2023, Morbidity and Mortality Weekly Report.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 21), “These modeling results are
                             controversial. Aside from that, 99,999 people out of 100,000 could have freely
                             chosen to take the vaccines themselves to try to prevent hospitalization and
                             mortality (Blumenthal et al., 2021). The state has no state interest in forcing a
                             medical treatment on people, only in preventing virus spread. This case is not
                             about hospitalization or mortality but about preventing workplace virus
                             transmission, so these observations are largely irrelevant.” Dr. Lynch’s
                             response:
                                  i. Data regarding the effectiveness of COVID-19 vaccines in preventing
                                     hospitalizations and death, by reducing both infection and
                                     transmission, are relevant to preventing hospitalizations and deaths
                                     among employees and those with whom they interact in the course of
                                     performing their jobs. I see only Dr. Risch’s opinion and no data or
                                     references challenging the validity of this CDC paper and the estimates
                                     quoted above. Moreover, Dr. Risch focuses on the “state” despite the
                                     fact that the mandate at issue in this case was issued by the City of
                                     Issaquah.
                 77. Dr. Lynch’s original report statement, “Notwithstanding anecdotal observations
                     from a workplace from late 2021 through April 2022, which may not be accurate based
                     on asymptomatic COVID infections, an unvaccinated person was still more likely than
                     a fully vaccinated person to contract and transmit COVID, and to experience serious
                     illness or death from COVID.”
                         a. Dr. Risch’s reply (Risch Rep. at pgs. 21-22), “This assertion is wrong for
                             multiple reasons. First, both CDC and Washington State Department of Health
                             have made public their large population datasets showing how great the
                             cumulative breakthrough infection risks were over 2021 through 2022 (cited
                             above). These are not “anecdotal observations from a workplace.” “Anecdotal”
                             refers to observations about a person or two. Thus, the term as used here is
                             derogatory and not scientific. Second, the risks individual-by-individual, to
                             which Dr. Lynch is referring, are not relevant because there were many more
                             vaccinated than unvaccinated individuals, and EEOC guidelines (of which Dr.
                             Lynch seems unaware) state explicitly that totalities of infection risk burdens
                             are involved in the evaluation of exemptions and accommodations, not
                             individual-level risks per se. Finally, whether infections are asymptomatic,
                             minimally symptomatic, fully symptomatic, etc. applies equally to recognition
                             of infection in both unvaccinated and vaccinated workers.” Dr. Lynch’s
                             response:
                                  i. Dr. Risch’s repetition does not make his arguments any more correct.

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                                     My comment was about how an individual’s perceptions of COVID-
                                     19 transmission in the workplace can lead to an incorrect understanding
                                     of risk.
                                 ii. Regarding breakthrough cases, if 100% of a population is vaccinated,
                                     then only vaccinated people can get infected. That doesn’t mean that
                                     the vaccine doesn’t work. Dr. Risch continues to focus on numbers and
                                     not rates. Rates convey risk.
                                iii. There were not and are not any calculations or known thresholds that
                                     could be used to determine the “totalities of infection risk burden”. If
                                     one person infects another person, that second person could have any
                                     COVID-19 outcome up to and including death. Having an
                                     unvaccinated person in the workplace, in the jail, and working with
                                     members of the public could not be accommodated to the same level
                                     of reduced risk compared to having a vaccinated person.
                 78. Dr. Lynch’s original report statement, “I am aware that some people have expressed
                     opposition to receiving the COVID-19 vaccines based on the use of HEK293 cells in
                     the development or testing of the Pfizer and Moderna vaccines.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 22), “For some reason, Dr. Lynch has
                            omitted the salient point that that this immortalized cell line was grown from
                            tissue taken from an aborted fetus. Apparently, there has been some recent—
                            though uncertain—claim that the original source may not have been an aborted
                            fetus but a miscarried one, however the traditional understanding was an
                            abortion as the source. This has religious implications for some people. The
                            whole point of Dr. Lynch writing this paragraph about HEK293 cells, without
                            stating that the reason for the opposition is religious in nature, shows that he is
                            not being forthright in characterizing this point.” Dr. Lynch’s response:
                                  i. I am being perfectly forthright. I referenced “HEK293 cells” as that is
                                     the commonly used and accurate abbreviation for human embryonic
                                     kidney 293 cells. It is important for a person to have all the facts when
                                     making a medical decision. I have no objection to a person’s right to
                                     refuse vaccination, for any reason, including any religious reason.
                                 ii. If the reason not to get vaccinated is based on facts about what cell lines
                                     were used in the development and/or testing of the vaccine product, we
                                     should be clear and transparent about what was used and how.
                                iii. The fact is that we do not know if this immortalized cell line used cells
                                     from a spontaneous abortion (a miscarriage) or an elective abortion.
                                     That difference may be important to the person who wants to get
                                     vaccinated otherwise.
                 79. Dr. Lynch’s original report statement, “I understand that the City’s assessment of
                     the burden on the City included the following considerations:
                            In making its determination, the City considered:
                             Ms. Dixson’s direct contact with the public on a daily basis.
                             The contact Ms. Dixson had with other City employees.
                             Developments in COVID-19 that increased the chances of contracting and spreading the
                                 virus.
                             The cost of continued testing, both from a work efficiency and financial
                                 perspective.
                             The City’s plan to reopen offices to both staff and the public beginning November 1,
                                 2021.”

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                         a. Dr. Risch’s reply (Risch Rep. at pgs. 22-23, “As I discussed above for
                             paragraph 75, there is no consideration here of the basic public health principle
                             of evaluating the risks posed by each direction of the potential decision
                             outcome, termination or accommodation. The considerations enumerated in
                             this paragraph have no quantitative risk evaluation. That violates the EEOC
                             guidelines about evidence for determining undue hardship. As well, “the cost
                             of continued testing, both from a work efficiency and financial perspective” is
                             a red herring, because even regular testing did not provide material efficacy
                             for reducing infection spread…” Dr. Lynch’s response:
                                   i. The quantitative consideration of risk informed the City’s vaccine
                                      mandate and the Governor’s Proclamation. The evaluation at the level
                                      of the City was whether an accommodation could be made for the
                                      Plaintiff that would approximate the same level of safety for her and
                                      for those around her compared to a vaccinated police officer with the
                                      same duties. The City was unable to modify her position to achieve this
                                      goal, thus an accommodation was unable to be made.
                                  ii. As Dr. Risch wrote, he agrees that testing is not a mitigation tool that
                                      provided a similar layer of safety as vaccination.
                                 iii. Dr. Risch again implies that his questionable assessment of the
                                      population risk should stand in for the risk associated with the
                                      Plaintiff’s vaccination status and the risk to those she would interact
                                      with. The Plaintiff’s risk of infection was ~14 times that of a vaccinated
                                      police officer. And that risk would recur, assuming she survived a
                                      COVID-19 infection and was able to return to work, as infection-
                                      mediated immunity eventually wore off.
                 80. Dr. Lynch’s original report statement, regarding “Discussion of Plaintiff's job
                     duties.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 23), “My understanding is that Dr. Lynch
                             is not an industrial hygienist and thus not qualified to make assertions on these
                             points. Further, the discussion is completely irrelevant, because the 37
                             vaccinated officers, doing these same jobs and duties, conveyed much greater
                             infection risks in toto as calculated above, than what Plaintiff would have
                             done.” Dr. Lynch’s response:
                                   i. As the medical director of the Infection Prevention and Employee
                                      Health programs of a large, urban, teaching hospital for the last 15
                                      years, I have extensive experience in evaluating the risk for not only
                                      infectious diseases but also overall harm for a very large number of
                                      positions, ranging from security officers to nurses to nutrition and food
                                      service personnel.
                                  ii. When considering an exemption request or need for accommodation, I
                                      evaluate an employee’s job description, job environment, other
                                      information about job duties, co-workers, and other individuals who
                                      the employee may interact with. For example, an employee may need
                                      to interact with pregnant people or with neonates, 2 groups that have
                                      different risks for infection and disease progression. The evaluation for
                                      accommodation for that individual does not rely on the risk of infection
                                      for the entire population, only on that employee.
                                 iii. The Plaintiff’s job duties involved working with other police officers,
                                      other employees, members of the public, and people who are being

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                                     arrested, detained, or incarcerated. The risk of COVID-19 for an
                                     unvaccinated police officer is much greater than for a vaccinated police
                                     officer. As a result, the risk to co-workers, members of the public, and
                                     people being detained, arrested, or incarcerated is greater when
                                     exposed to an unvaccinated police officer compared to a vaccinated
                                     police officer.
                 81. Dr. Lynch’s original report statement, “As explained above, at the time the
                     vaccination policy was announced, COVID-19 cases were spiking due to the Delta
                     variant despite other strategies in place. This was followed by the Omicron waves,
                     which continued in this area into 2022.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 24), “These infection waves occurred in
                             spite of the fact that some 65% of the population had already been vaccinated,
                             and another 25% had post-infection immunity. The vaccines were failing to
                             control the spiking that Dr. Lynch describes, yet he is asserting that even more
                             of the same failed recipe is needed. The September 2021 vaccine booster
                             rollout did not prevent the large January 2022 Omicron wave. CDC in August
                             2022 (Massetti et al., 2022) acknowledged that the 2-dose vaccines had failed,
                             and that booster doses had had very short-lived benefits against infection. Yet
                             Dr. Lynch is still flogging this horse. This whole paragraph deals with
                             unvaccinated people but ignores the greater risks posed by the much larger
                             numbers of breakthrough infections in vaccinated people. It is a complete
                             misrepresentation of the public health circumstances of the period.” Dr.
                             Lynch’s response:
                                  i. My statement refences the facts that cases, hospitalizations, and deaths
                                     during the delta phase were disproportionately occurring in
                                     unvaccinated people. This whole paragraph deals with unvaccinated
                                     people but ignores the greater risks posed by the much larger numbers
                                     of breakthrough infections in vaccinated people. It is a complete
                                     misrepresentation of the public health circumstances of the period.
                                 ii. The spike in cases due to the delta variant that I referred to above
                                     occurred at the end of August 2021. At the same time, just over 50%
                                     of Americans were fully vaccinated. The explosive number of
                                     infections, hospitalizations, and deaths due to COVID-19 in the
                                     summer and early fall of 2021 catalyzed the need to improve
                                     vaccination rates in all sectors of U.S. society.
                                iii. Dr. Risch mentions “flogging this horse” yet persists in using data from
                                     research that was not remotely available to policy makers or public
                                     health experts in 2021. The paper by Massetti in August of 2022 is a
                                     summary document that described a strategy to reduce human suffering
                                     and harm due to COVID at that time in the pandemic.81 Those
                                     recommendations were not applicable in the fall of 2021. For example,
                                     the drug Paxlovid was not available in the fall of 2021 but is part of the
                                     recommendations presented in this document.
                                iv. Of note, on page 2 of Dr. Risch’s report, he wrote that he co-authored
                                     2 papers that “explicate the standard understanding of early outpatient

         81
           See Massetti, G. M. et al. Summary of Guidance for Minimizing the Impact of COVID-19 on Individual
         Persons, Communities, and Health Care Systems — United States, August 2022. Morb. Mortal. Wkly. Rep. 71,
         1057–1064 (2022).
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                                       COVID-19 management”. Those papers recommend the use of
                                       hydroxychloroquine, azithromycin or doxycycline, favipiravir, and
                                       zinc products for COVID-19. In the medication section of this
                                       summary from the CDC COVID-19 Emergency Response Team there
                                       is no mention of any of these medications for COVID-19. All of these
                                       medications have been shown to have no effect on COVID-19. I would
                                       argue that this is a better example of futility (“flogging this horse”) than
                                       Dr. Risch’s objections to the data that I present.
                  82. Dr. Lynch’s original report statement, “If an unvaccinated employee enters a work
                      site, office, or public area, there is a greater risk of COVID transmission, leading to
                      infection of co-workers, employees, or members of the public and carrying a
                      significant risk of a super-spreader event.”
                          a. Dr. Risch’s reply (Risch Rep. at pg. 24), “I show above, page 6, that in fall
                               2021, some 90% of the general public had vaccine or post- infection Covid-19
                               immunity or both. While infection transmission was still possible, this large
                               degree of population immunity makes superspreading events very unlikely to
                               happen. Also, Dr. Lynch’s statement is speculative and hypothetical which
                               violates the EEOC guidelines.” Dr. Lynch’s response:
                                    i. If Dr. Risch’s hypothesis was correct, why did the number of COVID-
                                       19 cases continue to increase through the end of 2021 and increase
                                       dramatically in January 2022?82 And why did hospitalizations reach the
                                       highest levels of the pandemic in January 2022?83 These data do not
                                       support the assertion that “population immunity makes superspreading
                                       events unlikely to happen.”
                                   ii. The data cited about support the very high level of concern that health
                                       policy makers, researchers, infectious diseases physicians, and public
                                       health professionals had in the summer and fall of 2021 regarding the
                                       future of the pandemic. What Dr. Risch disparagingly refers to as
                                       “speculative and hypothetical” is what experts are asked to do in global
                                       disasters like the COVID-19 pandemic: to take steps to reduce risks of
                                       infection and death based on the best scientific data available.
                                  iii. Based on available information it does not appear that Dr. Risch, during
                                       the pandemic, never had to care for a single patient with COVID-19,
                                       never had to go into a clinic or hospital overflowing with ill patients,
                                       and was never responsible for ensuring the continuation of vital public
                                       services like a police force, a town/city, or a health system. That may
                                       explain his lack of appreciation for the responsibilities public employer
                                       faces in trying to reduce pandemic infectious disease risks for
                                       employees and the public with whom they interact.
                                  iv. Dr. Risch, a cancer epidemiologist, provides his interpretation of
                                       EEOC guidelines for unknown reasons.
                  83. Dr. Lynch’s original report statement, “While transmitting COVID-19 to a co-
                      worker implicates serious issues, including the outcomes of infection in that person,
                      and the transmission from that person to other people in their lives (including
                      potentially higher risk family members), transmitting COVID-19 to an unsuspecting
                      child, member of the community, or a person who has been arrested ... implicates

         82
              See https://www.statista.com/statistics/1103185/cumulative-coronavirus-covid19-cases-number-us-by-day/
         83
              See https://ourworldindata.org/covid-hospitalizations
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                     potentially even greater issues.”
                         a. Dr. Risch’s reply (Risch Rep. at pg.24), “Essentially everyone could have
                             gotten vaccinated if they had chosen to. The implication of “serious issues” is
                             a nonsensical claim because 99,999 out of 100,000 people could have freely
                             chosen to try to protect themselves by getting vaccinated (Blumenthal et al.,
                             2021). This whole statement is speculative and hypothetical, which is
                             prohibited by the EEOC guidelines.” Dr. Lynch’s response:
                                  i. Dr. Risch’s statement supports my expert report statements regarding
                                     the safety of the COVID-19 vaccinations.
                                 ii. Dr. Risch’s statements suggest that he does not think that COVID-19
                                     is a potentially serious infectious disease. For example, in paragraph
                                     8, page 12 of his report, he wrote that the fact that at least 1.2 million
                                     people died due to COVID-19 was a “bland evasion” because more
                                     older people than younger people died, suggesting that extremely high
                                     numbers of premature death of such persons is not of concern because
                                     of their advanced age. The City and the State used the available data to
                                     develop and to implement the City’s vaccine mandate and the
                                     Proclamation in order to reduce COVID-19 infections, and by doing so
                                     reduce human harm and suffering, while maintaining critical
                                     governmental functions.
                 84. Dr. Lynch’s original report statement, “Based on recommendations from the CDC,
                     the Washington Department of Health, Public Health – Seattle & King County, and
                     my own research and understanding, it is my opinion that vaccination was and is the
                     single best tool available for stemming the spread of COVID-19 and its variants. No
                     other public health strategy could effectively meet the City’s goals of safely providing
                     City services while also protecting the health, safety, and well-being of employees and
                     the public at large.”
                         a. Dr. Risch’s reply (Risch Rep. at pgs. 24-25), “With regard to stemming the
                             infection spread, the CDC Q4 2023 data (top of page 3) show that all of the
                             vaccination and boosters taken by the US population still allowed more than
                             87% of the population to have gotten Covid-19 anyway. That is a pretty failing
                             grade. The vaccines began failing in mid-2021 and even with boosters still
                             did not prevent almost the whole public from getting infected. But Dr. Lynch
                             is extolling the supposed virtues of “the vaccines” without clarifying that the
                             2-dose vaccine regimen, the regimen required under the mandates in this case,
                             totally failed as of 2022. As to other possible measures that could have been
                             taken, the question is not vaccination but mandate. See above, paragraph 90.
                             Dr. Lynch has only justified vaccination as a tool of public health but has
                             provided no evidence that the addition of mandating vaccination as opposed to
                             requesting or incentivizing vaccination would not have met the same goal.
                             Furthermore, even with the City's mandate, Dr. Lynch does not address the fact
                             that the separated employee, by her small number, would not have created an
                             undue infection fraction compared to the degree of infection risk burden
                             tolerated in stride by the whole police force, in spite of the availability of
                             vaccine booster doses that could have been mandated to reduce this burden.”
                             Dr. Lynch’s response:
                                 i. Dr. Risch continues to cite infection data from 2023, which is not
                                      relevant to the Proclamation or the City of Issaquah’s order. Primary
                                      series vaccination rates for adults only got to around 60% by the end of

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                                    2021 and between 20% and 30% of people decided to get a booster
                                    vaccine. The level of immune evasion by variants in 2022 that were
                                    unknown and unpredictable could not have been part of the
                                    accommodation discussion up to and including the Plaintiff’s
                                    separation.
                               ii. Dr. Risch’s statements speak not to vaccine effectiveness but to our
                                    failure as a society to prioritize vaccination for every eligible person
                                    in the United States. Not supporting people to get vaccinated was the
                                    “failing grade”, not the vaccine itself.
                              iii. Vaccine mandates are ethical and effective tools to increase vaccination
                                    rates especially when combined with reduced cost or free vaccines,
                                    education regarding the benefits of vaccination, and reduced barriers to
                                    access.84,85,86,87,88,89,90
                 85. Dr. Lynch original report statement, regarding “Discussion of masking, distancing and testing.”
                        a. Dr. Risch’s reply (Risch Rep. at pg.25), “Not really relevant given the discussions I've
                           written, above. None of these were necessary to be particularly effective in order that
                           Plaintiff's expected risk would still be dramatically lower than the breakthrough infection
                           risks posed by the large body of vaccinated staff.” Dr. Lynch’s response:
                                 i. Dr. Risch does not advocate for any single or combination of non-
                                    pharmaceutical interventions for unvaccinated individuals. As
                                    explained in my report, non-pharmaceutical interventions (such as
                                    masking, testing, and social distancing) are, in themselves, insufficient
                                    to reduce the risk of infection and transmission in the workplace
                                    compared to vaccination combined with non-pharmaceutical
                                    interventions.
                                ii. Dr. Risch continues to focus on a hypothetical population risk, while
                                    ignoring the fact is that being unvaccinated posed a clearly high risk of
                                    infection compared to being vaccinated. As an unvaccinated person,
                                    Plaintiff had a higher risk of being infected. Being infected put the
                                    Plaintiff and everyone around her, including people at higher risk of
                                    infection and for disease progression. Being vaccinated could have
                                    reduced her risk of infection by 65% to 91% compared to the risk of
                                    infection if she remained unvaccinated. If she was vaccinated and

         84
            See Wang, Y., Stoecker, C., Callison, K. & Hernandez, J. H. State COVID-19 Vaccine Mandates and Uptake
         Among Health Care Workers in the US. JAMA Netw. Open 7, e2426847 (2024).
         85
            See Wang, Y., Callison, K., Hernandez, J. H. & Stoecker, C. Impacts of State COVID-19 Vaccine Mandates
         for Health Care Workers on Health Sector Employment in the United States. Am. J. Public Heal. 115, 344–348
         (2025).
         86
            See Largent, E. A. & Miller, F. G. The Legality and Ethics of Mandating COVID-19 Vaccination. Perspect.
         Biol. Med. 64, 479–493 (2021).
         87
            See Lynch, J. B. Vaccine Mandates for Health Care Workers—An Effective Policy Tool for Past and Future
         Pandemics. JAMA Netw. Open 7, e2426820 (2024).
         88
            See McGarry, B. E. et al. Association of State COVID-19 Vaccine Mandates With Staff Vaccination
         Coverage and Staffing Shortages in US Nursing Homes. JAMA Heal. Forum 3, e222363 (2022).
         89
            See Rao, R., Koehler, A., Beckett, K. & Sengupta, S. COVID-19 Vaccine Mandates for Healthcare
         Professionals in the United States. Vaccines 10, (2022).
         90
            See Juarez, R., Siegal, N. & Maunakea, A. K. The Effects of COVID-19 Vaccine Mandates in
         Hawaii. Vaccines 10, 773 (2022).
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                                     happened to have a breakthrough infection, her risk of transmitting to
                                     other people would have also been reduced. Lastly, by being
                                     vaccinated, the risk that she would be hospitalized or die due to
                                     COVID-19 would be reduced to nearly zero, which would support the
                                     operations of an essential City of Issaquah services.
                                iii. Dr. Risch continues to avoid responding to the fact that infection-
                                     mediated immunity wanes and the only way to restore that level of
                                     protection would be to either get vaccinated or to get infected again. If
                                     a person declines vaccination, they would be at risk for being infected
                                     repeatedly over time, not just once.
                 86. Dr. Lynch original report statement, “It is my opinion that the City’s undue
                     hardship conclusion was supported by the scientific evidence and public health data
                     available from August 2021 to February 2022 and today. Given above-mentioned
                     evidence and Plaintiff’s job duties, ... it is my opinion that, had the City allowed
                     Plaintiff to continue her employment unvaccinated, it would have significantly
                     increased the risk that Plaintiff would infect co-workers and members of the public
                     with COVID-19 or contract the virus herself.” “an unvaccinated person posed
                     materially higher risks of transmitting COVID-19.”
                         a. Dr. Risch’s reply (Risch Rep. at pg. 25), “Dr. Lynch did not do an absolute
                             risk calculation. Therefore, he has no grounds to assert that Plaintiff's higher
                             infection risk would have created undue hardship. A higher risk by itself is not
                             actionable without an estimate of the absolute risk. Dr. Lynch did not do this
                             calculation and the City did not do this calculation. Further, Dr. Lynch is not
                             an attorney and thus has no training or expertise on which to judge the presence
                             of undue hardship. Finally, neither “significantly” nor “materially” are
                             quantitative amounts and they have no statistical meaning denoting any aspect
                             of magnitude of amount. Dr. Lynch is using these terms to appear to bolster
                             the validity of his assertions, when in fact his assertions are not based on
                             scientific epidemiologic or public health grounds, as I have thoroughly
                             documented above.” Dr. Lynch’s response:
                                  i. During a pandemic involving a deadly virus, an employer is confronted
                                     with trying to reduce the risk of serious illness or death as much as
                                     possible, while disrupting vital public services as little as possible. For
                                     example, if an employer required that every employee worked
                                     remotely, the risk of transmission between co-workers would be near
                                     zero, assuming no other contact. But the reality is that many employers,
                                     including those providing police department services, have to work in-
                                     person, with co-workers, and with members of the public. Based on
                                     scientific data available at the time, an unvaccinated person was
                                     significantly more likely to contract and transmit COVID-19, as well
                                     as to become seriously ill or die, as compared to a vaccinated person in
                                     the same position.
                                 ii. When comparing the situation of a vaccinated versus an unvaccinated
                                     person in the middle of a pandemic, there is no equivalent
                                     accommodation for an unvaccinated police officer who has to interact
                                     with co-workers (police officers and other employees), incarcerated
                                     people (who are at greater risk of infection and disease progression and
                                     may not be able to don PPE), and member so the public who may have
                                     no choice but to interact with a police officer.

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                                 iii. In addition, it is in the City’s interest to maintain a healthy and
                                      functional police force to provide essential services.
                                  iv. In Dr. Risch’s comments on the EEOC definition, he provided his
                                      interpretation of that language even though he is not a lawyer, nor does
                                      he have any expertise in occupation health.
                                   v. Dr. Risch has no experience in clinical infectious disease, vaccines,
                                      healthcare operations, occupational health, or the accommodations
                                      process. He co-authors papers and books with well-known spreaders of
                                      misinformation and considers himself an expert in the field despite
                                      having research papers retracted and having none of his therapeutic
                                      recommendations included in any national or international treatment
                                      guidelines. Dr. Risch is on record as stating that the pandemic was the
                                      result of a bioweapon that was suppressed by the U.S. Department of
                                      Defense. He is currently the “Chief Epidemiology Officer” for a
                                      supplement company where he recommends “Spike Support”, “Peak
                                      Metabolism”, and “Natural Immunity” supplements for $60 a bottle
                                      and a “Contagion Emergency Kit” that contains hydroxychloroquine,
                                      ivermectin, azithromycin, and oseltamivir for $324.99.91 Selling
                                      supplements like “Spike Support” that purport to “break down spike”
                                      from COVID-19 vaccination using selenium, Irish sea moss, green tea,
                                      black seeds, nattokinase, and dandelion root.
                                  vi. As an infectious disease physician who has responded to the COVID-
                                      19 pandemic since January 2020, the medical director of a large,
                                      academic medical center’s employee health and infection prevention
                                      programs, and the lead clinician on UW Medicine’s COVID-19
                                      Emergency Response, I have extensive experience in operations and
                                      employee vaccination programs. As described throughout my expert
                                      report and in this response, I used the available public health, scientific,
                                      and professional experience to make the above statements.
                                 vii. At the time of the City of Issaquah’s vaccine mandate and Plaintiff’s
                                      separation, it was not possible for the City of Issaquah to provide an
                                      accommodation that would have provided a similar level of safety for
                                      the Plaintiff and for her co-workers (not only police officers),
                                      individuals who would be interviewed, arrested, or incarcerated, or
                                      members of the public compared to a vaccinated officer doing the same
                                      job.




         91
           See https://www.twc.health/pages/dr-harvey-risch?srsltid=AfmBOoqbIfUrL-
         L8xfRbsB_VKPJ97JZNQH7Q4TA3OeQnm7ZIp32CEajR
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